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                      Exhibit B
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          1                       FEDERAL TRADE COMMISSION

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          6                           Public Workshop:

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         10                     THE INFORMATION MARKETPLACE:

         11              MERGING AND EXCHANGING CONSUMER DATA

         12

         13

         14

         15                             March 13, 2001

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         18

         19                       Federal Trade Commission

         20                  6th and Pennsylvania Avenue, N.W.

         21                           Washington, D.C.

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          1                                 I N D E X

          2

          3     SESSION:                                                   PAGE:

          4     Opening Remarks

          5       By Chairman Pitofsky                                       3

          6       By Commissioner Swindle                                    6

          7       By Commissioner Thompson (video)                          14

          8     One:       Merger & Exchange of Consumer

          9                Data:   An Overview                              18

         10     Two:       Consumer Data:      What is it?

         11                Where does it come from?                         51

         12     Three:     What are the business purposes

         13                for merging and exchanging

         14                consumer data?                                  117

         15     Four:      How do merger and exchange

         16                affect consumers and

         17                businesses?                                     166

         18     Five:      Emerging Technologies and

         19                Industry Initiatives:        What

         20                does the future hold?                           259

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          1                       P R O C E E D I N G S

          2                       -    -     -     -      -     -

          3                MR. WINSTON:     Let me introduce myself, I'm

          4     Joel Winston, Acting Associate Director for

          5     Financial Practices at the FTC, and I want to

          6     welcome all of you to the Federal Trade Commission,

          7     and give a special greeting to those people who are

          8     listening in on our audiocast on the website,

          9     ftc.gov.

         10                Now, there are several members of the

         11     Commission who are going to be giving some opening

         12     remarks this morning, and I would like to introduce

         13     first Chairman Robert Pitofsky.               Chairman Pitofsky

         14     has served as chairman of the FTC since April of

         15     1995, and he will be beginning the proceedings.

         16     Mr. Chairman?

         17                CHAIRMAN PITOFSKY:          Good morning, everyone,

         18     and welcome to another of the Federal Trade

         19     Commission's workshops.          This one, we have entitled

         20     The Information Marketplace:             Merger and Exchange

         21     of Consumer Data.

         22                I don't think I have to belabor the point

         23     with this audience that privacy, especially privacy

         24     in the commercial marketplace, is and remains a

         25     very important issue.


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          1              If you take polls, you find today, just as

          2     you did three and four years ago, that somewhere

          3     between 88 and 92 percent of consumers when asked

          4     what their concerns were about doing business,

          5     buying online, will say that they have

          6     reservations, and think it's not a secure

          7     marketplace.     They're not giving their credit card

          8     online without having some knowledge of how it's

          9     going to be used.

         10              As a result, you now have, I think, just

         11     since Congress reconvened, something like a dozen

         12     bills addressing various issues relating to privacy

         13     in the commercial context.

         14              But let me position this workshop.              We are

         15     not looking for enforcement targets for companies

         16     that may be invading unfairly or deceptively

         17     consumer rights, and we're not looking for

         18     legislative proposals.

         19              This is another kind of workshop, and it's

         20     like many that we've conducted in the past five or

         21     six years.     We're trying to find out in a new area,

         22     a fast-changing dynamic area, what's going on, so

         23     that we are informed about the kind of issues that

         24     eventually we'll be called upon to address.

         25              We did that with our earliest privacy


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          1     workshops, just to find out how personally

          2     identifiable information was collected and whether

          3     or not it was being sold.        We did it with

          4     profiling, more recently B2B commerce on the

          5     Internet, and wireless technologies.

          6                In this instance, we would like to be able

          7     to take the measure of the extent and the ways in

          8     which firms exchange information and data that

          9     create consumer profiles; not necessarily only the

         10     information the firm collects itself, but

         11     information that someone else collects that then

         12     becomes merged into a firm's database.

         13                How is that information used commercially?

         14     Is it used commercially?        And if so, in what

         15     fashion?     What is the source of the data?             Is it

         16     mostly online, is it offline, is it a combination

         17     of the two?     Does it come from public records,

         18     private records, a combination of the two?

         19                We know that the ability of firms to

         20     collect data has been enhanced dramatically over

         21     the last five to ten years, and what we want to

         22     find out is how it's being used so that down the

         23     road we can spot issues.        It is an

         24     information-gathering enterprise.            It is not

         25     designed at the end of the day, at the end of these


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          1     sessions, to come up with policy proposals.

          2              We have no predisposition on this.              My own

          3     view, as some of you have heard me say before, is

          4     that this kind of enterprise is what Congress had

          5     in mind in 1914 when it created a Federal Trade

          6     Commission.    Not just law enforcement, but a group

          7     that would try to work with the business community,

          8     with consumers, and others, to understand new and

          9     emerging dynamic trends in the economy.

         10              That is what we've been about over the last

         11     five or six years.      We've tried to restore that

         12     tradition, and I certainly feel that this workshop

         13     moves in that direction.

         14              We have a wide variety of people here today

         15     who represent the business community, the consumer

         16     community, academics, and others, and if history is

         17     any guide, we will at the end of the day have

         18     learned a good deal from each other.

         19              With that, we'll receive some words on

         20     video from my colleague, Mozelle Thompson, but

         21     while that's being set up, let me introduce my

         22     colleague and friend, Commissioner Orson Swindle.

         23              COMMISSIONER SWINDLE:         Thank you very much,

         24     Chairman Pitofsky.      I would like to welcome you all

         25     here, and before I forget it, the last couple of


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          1     days in preparation for this, Bruce Jennings and

          2     his crew of youngsters around here have been

          3     scurrying in about 9,000 different directions

          4     making all this come together.          Wires have been

          5     dragged all over the building and I think we've got

          6     a good set-up here, and this will be recorded for

          7     posterity and hopefully there won't be too much

          8     blood on the floor when it's all over, but it's a

          9     delight to see you all.

         10              I know so many of the organizations that

         11     are represented here, you have a vital interest in

         12     this, certainly from a personal perspective of your

         13     business, but we are all, as the chairman says,

         14     grasping to understand.       And I would hope that we

         15     would view this process here today, as we have in

         16     previous workshops, as the Chairman mentioned, as a

         17     learning process in which we listen and offer our

         18     suggestions from time to time, but mostly we listen

         19     to you, the practitioners, and try to get a better

         20     understanding of what we're all about and what

         21     we're doing here with this very controversial -- is

         22     that a good word to describe it -- but the issue of

         23     information flow and its effects and the concerns

         24     that various and sundry people have today in the

         25     consumer population or in business population.


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          1              I do want to welcome you all here today.

          2     The use of third party information from public

          3     records, information aggregators and even

          4     competitors for marketing has become a major

          5     facilitator of our retail economy.

          6              Even Chairman Greenspan suggested here some

          7     time ago that it's something on the order of the

          8     life blood, the free flow of information.                This was

          9     made even more clearly by a new study released

         10     yesterday by the Privacy Leadership Initiative and

         11     the ISEC Council of the DMA.

         12              The study made it clear that consumer

         13     prices would increase if public policy

         14     significantly limited the flow of data into catalog

         15     marketing and sales.        At the same time, the digital

         16     revolution, both online and offline, has given an

         17     enormous capacity to the acts of collecting and

         18     transmitting and flowing of information, unlike

         19     anything we've ever seen in our lifetimes.

         20              Obviously the debate has been furious over

         21     the appropriateness of these data flows, this

         22     passage of information from one entity to another.

         23              The perceived harm that this data flow

         24     causes and what the appropriate remedies might be.

         25     As we all know, we've had a heavy debate on privacy


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          1     going on now for at least three years, I've been

          2     here three years, and it was going on even before I

          3     arrived.

          4                  I believe that issues related to the real

          5     harm that might be caused are well addressed by

          6     existing laws, but now we need to explore issues

          7     related to customer or consumer and business

          8     entities or the seller and the buyer, if you will.

          9                  It is also useful to note that the digital

         10     revolution has revolutionized the knowledge that

         11     the buyer has about the marketplace.              Buyers today

         12     are more informed than they have ever been ever

         13     before.       The information age and information

         14     technology is literally changing the way every one

         15     of us does business, the way we conduct our lives,

         16     how we pick and choose, and certainly this

         17     information flow has made the buyer far more

         18     informed.

         19                  It is crystal clear that there have been

         20     quantitative and qualitative changes in the

         21     marketplace, and the manner in which information is

         22     made available and used.

         23                  There are real benefits in this for both

         24     consumers and businesses, from these changes.

         25     There are also changes in the way we all interact


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          1     with each other.        More of the interaction is being

          2     defined by data and less by each of us based on

          3     what we reveal about ourselves.

          4                  The FTC has traditionally dealt with harm

          5     that comes from bad actors and market failures.

          6     The issues being raised today don't necessarily

          7     fall easily into either of those categories.                Such

          8     as the challenge that we face.

          9                  Productivity gains are well documented and

         10     the new technology, as I said earlier, is changing

         11     the way we do everything.           However, there is a

         12     great trust deficit in existence out there now.

         13     The public has concerns about the private sector's

         14     ability to govern information use, or manage that

         15     information that they happen to have on people.                 At

         16     the same time, the same observations will tell you

         17     that the public has great concern as to what the

         18     government does with the information it has.

         19                  And I would contend that we might ought to

         20     be a little bit more concerned about what the

         21     government is doing than the private sector, but

         22     nevertheless, we've got a great distrust going here

         23     between the consumers who more and more today

         24     understand the value of their information, and what

         25     goes on around them.


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          1                  We therefore have a dilemma.         The use of

          2     information drives our economy, I think that's

          3     pretty well established.          That includes information

          4     to make sales, marketing and customer service more

          5     efficient, and more effective.             The information

          6     flow allows businesses to build the right product,

          7     deliver it at the right time, to the right place,

          8     to the right address, and meet the demands, unique

          9     as they are, among all consumers, carefully

         10     tailored to them.        That I would suggest most

         11     consumers would say not a bad deal.

         12                  However, this increased use of information

         13     about people creates consumer concerns.               The public

         14     is concerned about the potential misuse of the

         15     information, and individuals are concerned about

         16     being defined by the existing data on themselves.

         17                  This is a huge misunderstanding deficit

         18     that parallels and matches the trust deficit.

         19     Consumer education has lagged market changes driven

         20     by new technology.        Government is behind the new

         21     technology changes, too, as we've all noted.

         22                  Consumers struggle to understand the

         23     technology itself, not just in the ways in which a

         24     technology is used in the marketplace, I'm still

         25     wrestling with my ISP, I was about to use a name


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          1     there, but I won't.           I'm having so much trouble

          2     with it, I don't want to defame the country at this

          3     point in time, but I'm having trouble with the

          4     technology itself, not to mention the information

          5     flow.

          6                  Today's workshop is a great opportunity to

          7     begin to bridge this learning gap and this trust

          8     and misunderstanding or untrust and understanding

          9     deficit.       We're here today to gather facts and

         10     begin to understand the flows of data that support

         11     marketing and customer service.

         12                  This should increase our understanding of

         13     the benefits of the free flow of information, and

         14     to begin to understand the level of real harm, to

         15     whatever degree it might exist, related to

         16     information use.

         17                  And perhaps we have an opportunity to ease

         18     the fears that are related to that emotion of fear

         19     of the unknown.        I would suggest, plead with,

         20     counsel all participants to please leave your

         21     emotions at the doorway.

         22                  This session today, folks, please, is not

         23     about sound bites, it's not about exposing people

         24     in public, it is about learning and sharing what we

         25     each know and how we go about doing what we are


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          1     concerned with, and understanding how to balance

          2     legitimate privacy concerns and economic and social

          3     benefits.

          4                  Remember, today's objective is to learn, to

          5     explore, and perhaps start to identify so we can

          6     put our hands on it, some policy approaches that

          7     are balanced in their -- they're balanced in a

          8     sense that they balance the consumer's interest in

          9     choice and economic opportunity, they balance the

         10     consumer's interest in not being harmed by security

         11     breaches and data misuse, they're balanced in the

         12     sense that they respect the consumer's interest in

         13     choosing when to not participate in a market, and

         14     also the other side of the coin, so to speak, is

         15     business interest in serving all markets in a most

         16     effective and efficient and, quite frankly,

         17     profitable way that they can. That's what you are

         18     our free enterprise system is all about.

         19                  I thank you again for joining us.             This is

         20     an important session.         Perhaps it's the first of

         21     several important sessions on the very subject,

         22     because I think we have a lot to learn and we

         23     appreciate you coming here and being a part of our

         24     family and helping us learn more, learn faster, and

         25     hopefully, as I always say, helping us to look


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          1     before we leap.        Thank you very much.

          2                  (Applause.)

          3                  COMMISSIONER THOMPSON:        Good morning.     I

          4     would like to join the Chairman in welcoming you to

          5     the FTC for this important workshop on the

          6     Information Market Place.

          7                  As he mentioned, today we will all be

          8     sharing what we know about the topic of Merging and

          9     Exchanging Consumer Data.           It's no secret, for

         10     example, that the Federal Trade Commission has been

         11     long talking about issues dealing with personal

         12     data and privacy.

         13                  I think that today we will be talking about

         14     how the issues raised with data collection converge

         15     when we're talking about an online and offline

         16     environment.

         17                  At present, there are some real reasons to

         18     distinguish those two classes of information, in

         19     light of the speed and the manner in which

         20     information is collected.           But I also recognize

         21     that, as a practical matter, it doesn't make sense

         22     for consumers and businesses to view separate

         23     protocols for online and offline data collection.

         24                  So, I would encourage industry and

         25     consumers to work together to formulate practical


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          1     solutions that foster consumer confidence.

          2                  But there will also be some important other

          3     questions that you'll be dealing with today about

          4     issues like legacy data, information that was

          5     collected before there was an online environment,

          6     and, also, how information changes -- does the

          7     character really change when you have offline data,

          8     including public information that's merged with

          9     online data and made available in a mode like on

         10     the internet.

         11                  I look forward to hearing your

         12     presentations and hope that you'll enjoy the day.

         13                  Thank you very much for coming.

         14                  MR. WINSTON:     Before we get started, I have

         15     a few ground rules and announcements to make.                The

         16     first one I approach a little bit gingerly, but I

         17     have been asked to ask all of you to turn off your

         18     cell phones.       I'm just the bearer of bad tidings

         19     here.   Apparently there's some feedback between the

         20     cell phones and our equipment, and it's messing

         21     everything up, so if you could please turn off your

         22     cell phones.

         23                  Also, I would like to remind our panelists

         24     that because we have so much ground to cover today,

         25     we're going to try to hold you to the time limits


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          1     that we've discussed with you previously.                  We're

          2     going to give you a one-minute warning before your

          3     time elapses, and then when your time is up, we're

          4     going to gently encourage you to conclude your

          5     remarks.       If that doesn't work, we have someone

          6     with a hook who's going to come out and kind of

          7     pull you away, but if you could try to stay within

          8     the time limits.

          9                  Also, it's our practice in our workshops to

         10     invite the audience to ask questions of the

         11     panelists, if time permits, at the end of each

         12     panel.       But, again, because we have so much ground

         13     to cover, I'm going to ask the questioners to limit

         14     themselves to asking questions and not to make any

         15     statements for the record.

         16                  Which brings me to my last announcement,

         17     and that is that the record of this workshop is

         18     going to remain open for 30 days, until April 13th,

         19     so that anyone who wants to file something, a

         20     comment or other materials, for the record, and for

         21     the Commission's consideration, can do so.                  The

         22     instructions for filing these post workshop

         23     comments are available on our website at

         24     www.ftc.org.       So, I encourage you all of you to

         25     participate in that process.            Dotgov, I'm sorry,


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          1     somebody gave me the wrong web address here, okay.

          2     Anyway, I encourage you all to submit comments if

          3     you like.

          4                  Now we're ready for our first panel, in

          5     which Professor Mary Culnan of Bentley College will

          6     lead a discussion designed to provide an overview

          7     of the flow of data through the information

          8     marketplace.       Professor Culnan is the Slade

          9     Professor of Management and Information Technology

         10     at Bentley College in Waltham, Massachusetts, where

         11     she teaches and conducts research on information

         12     privacy.       She is the author of the 1999 Georgetown

         13     Internet Privacy Policy Survey, and was a member of

         14     the FTC's Advisory Committee on Access and

         15     Security.       And Professor Culnan will introduce the

         16     members of her panel.

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          1                                SESSION ONE:

          2                  MERGER & EXCHANGE OF CONSUMER DATA:

          3                                 AN OVERVIEW

          4                    -    -       -      -      -      -     -

          5                   MS. CULNAN:       Thank you, Joel, and thank

          6     you to the FTC for inviting me to participate in

          7     this workshop.          It's going to be a terrific day.

          8                  One comment about our session.            We were

          9     instructed we're not going to have Q&A at the end

         10     of our session, because we're just providing an

         11     overview, so I didn't want you to think that we're

         12     cutting off the flow of discussion arbitrarily.

         13                  What we are going to do today is we're

         14     going to talk you through a slide, which I'm going

         15     to put up here, and which you also have in your

         16     packet.       Because the other two people are going to

         17     be having their own slides.

         18                  We're going to talk you through this 30,000

         19     foot view of profiling to set up the rest of the

         20     day's sessions.          And so, if we skim over a topic

         21     that you think we should have gone into in more

         22     detail, you will hear about this in more detail in

         23     the other sessions later on today.

         24                  We're going to focus primarily on the

         25     compilers, the third party organizations that


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          1     collect, slice and dice and then resell consumer

          2     data (but these firms do not have a direct

          3     relationship with consumers), rather than focusing

          4     on the profiling that's done by individual firms

          5     with their own customer data.

          6                  And for the purpose of simplicity, we're

          7     also not going to talk about co-op databases, which

          8     fall into the category of third party organizations

          9     that collect information on customers, because

         10     there's such a small number of these systems, but

         11     for some of the things that we're going to talk

         12     about, they also fall into our slide.

         13                  So, let me first introduce our two

         14     panelists.       First is Johnny Anderson, who is the

         15     president and CEO of Hot Data, Incorporated.                He

         16     has over 30 years of technology industry

         17     experience, holding executive and management

         18     positions at e2 Software Corporation, Saber

         19     Software Corporation, Novell, Excelan and Digital

         20     Equipment.

         21                  Our second speaker is Lynn Wunderman, who

         22     is the President and CEO of I-Behavior,

         23     Incorporated.       Prior to founding I-Behavior, she

         24     was the founding partner of Wunderman, Sadh &

         25     Associates, which is a consulting firm specializing


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          1     in information-based marketing services for both

          2     consumers and B2B marketers in the financial

          3     services, high-tech graphic arts, non-profit and

          4     Internet industries, and President and Chief

          5     Operating Officer of Marketing Information

          6     Technologies, a company providing database services

          7     for major Internet and Fortune 100 companies.                 She

          8     currently serves on the Internet committee of the

          9     board of directors of the Direct Marketing

         10     Association.

         11                  So, what we've done, we've divided the

         12     slides into thirds.           I'm going to discuss the first

         13     part which is on the left, this is the consumer

         14     part where consumers generate information in our

         15     daily lives that ends up in a compiler's database.

         16     Johnny Anderson is going to discuss the middle part

         17     of what goes on in the compiler's black box, and

         18     Lynn is going to discuss the third part on the

         19     right, how compiled data is used to generate offers

         20     to consumers, both prospects and consumers.

         21                  And then as you can see, our picture begins

         22     and ends with the consumer, which is an important

         23     point I think.

         24                  After I attended my first DMA convention

         25     and went through the exhibits, I came away


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          1     convinced that anything anybody does puts you on

          2     somebody's mailing list or you end up as a record

          3     in somebody's database.          And the slide shows some

          4     of the main ways that this can happen.

          5                  First of all, all of us generate a number

          6     of public records, depending on the kinds of

          7     activities we engage in.          Some of these include

          8     personally identifiable information such as

          9     property records, which do have our name and

         10     address attached to them, or telephone directories

         11     or other directories, and then there's public

         12     records that have nonpersonally identifiable

         13     information in them such as census records.

         14                  And compilers can acquire this information

         15     in two ways.       First they can acquire it directly

         16     from the source, so they could buy the records from

         17     the state or local government.             Or they may acquire

         18     the information from a second firm, such as

         19     Claritas, that acquires this information and does

         20     some analytics on it and then generates geographic

         21     and demographic profiles that do not include

         22     personally identifiable information but can be

         23     overlaid on top of a record that does have an

         24     address.

         25                  And in fact there was an example of this


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          1     information in yesterday's Washington Post, if you

          2     happened to see this, of talking about Fairfax

          3     County, Virginia that has the highest average

          4     family income in the United States.              And inside the

          5     article, they talked about the different lifestyle

          6     segmentation profiles that are represented by the

          7     people who live in Fairfax County.

          8                  For example, they said 22 percent of the

          9     people who live in Fairfax County are in The

         10     Winner's Circle, that's the name of the profile, or

         11     Executive Suburban Families, age 35 to 64,

         12     household income is $90,700 a year, and these

         13     people are most likely to have a passport, shop at

         14     Ann Taylor and read Epicurean Magazine.

         15                  So, this will give you a flavor of how this

         16     information is used to, again, help companies

         17     understand who their customers or their prospective

         18     customers are.

         19                  A second source of information is surveys,

         20     such as warranty cards or marketing surveys that

         21     could include questions about what people's product

         22     preferences are across a whole range of different

         23     kinds of products, their life styles, their

         24     hobbies, and their demographics.

         25                  The third way that the information can end


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          1     up in a compiler's database is that people sign up

          2     for mailing lists, and I was thinking about this as

          3     I read the Sunday paper and, you know, there are

          4     cards that fall out of the Sunday magazine where

          5     you can request information on various topics.

          6                  Or people who order things by mail, or you

          7     request information, call an 800 number, sign up

          8     for something online, enter a sweepstakes or a

          9     contest, and these types of things will put you on

         10     a mailing list.

         11                  Well, mailing lists may be made available

         12     directly, without going through a compiler, either

         13     by the firm itself or more likely through a list

         14     broker who is going to manage the mailing list on

         15     behalf of the firm that owns the list.               And that

         16     can end up with targeted offers to prospective

         17     customers.

         18                  Or some of the information may end up in

         19     the compiler's database, and go into subsequent

         20     uses that we'll hear about.

         21                  And then, finally, down at the bottom, we

         22     see the customer database, and when consumers

         23     establish a customer relationship with an

         24     organization, with a business, they end up in the

         25     customer database.        And I think this is not a big


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          1     surprise to everybody.

          2                  And then that firm can generate new

          3     targeted offers to its current customers.                  I think

          4     people expect this to happen, but we're also going

          5     to hear how compilers can help these firms generate

          6     new offers to their customers, better target these

          7     offers and help these firms do cross marketing of

          8     new products and services.

          9                  So now Johnny will talk about what goes on

         10     in the middle of the picture.

         11                  MR. ANDERSON:    Good morning.       My name is

         12     Johnny Anderson, I'm Chief Executive at Hot Data.

         13     How Data is an infomediary that connects customer

         14     relationship management marketing automation

         15     systems to sources of both household information on

         16     consumers, and business information about

         17     businesses, and provides a complete set of data

         18     quality and standardization services for both

         19     small, medium and large-sized businesses.

         20                  I'm going to spend a little time and talk

         21     about the kinds of information that's collected,

         22     how it gets compiled into a database, and then gets

         23     delivered into a marketer's, end user's, database.

         24                  But first I want to kind of digress.             I've

         25     looked at some of the other slide shows, and a lot


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          1     of the topics are going to be hit.               I really want

          2     to digress and talk about why people are -- why

          3     marketers are interested in this kind of

          4     information to begin with.

          5                  Building a data warehouse and collecting

          6     this kind of information is a massive undertaking,

          7     and very expensive.           What's the payback, and what

          8     are businesses looking for out of taking third

          9     party information and merging that in with their

         10     in-house information?

         11                  If you think about commerce, if you think

         12     back, all the way back to the middle ages when

         13     commerce really first started.              The buyers and

         14     sellers knew each other.           There was a one-to-one

         15     relationship.       Even up into the beginning of the

         16     last century, people knew -- the storekeepers knew

         17     who their customers were.

         18                  After World War II and the mobilization of

         19     America, and the move from urban centers into

         20     suburban centers, and the creation of the now

         21     shopping mall, merchants now lost track of who

         22     their customers are.           They don't know who buys

         23     products anymore.

         24                  So, merchants really spend a lot of time

         25     doing product level analysis to figure out who


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          1     bought the stinky cheese, and what stinky cheese

          2     purchases drove what other kind of purchases.

          3                  The change in the new economy, and the

          4     evolution of the Internet now has really empowered

          5     consumers with information, and has broken down a

          6     lot of the geographic boundaries in terms of, I

          7     have to travel to a mall to purchase something.

          8                  This has already been broken down quite a

          9     bit with the direct marketing and catalog

         10     industries, but now with the Internet, people now

         11     have a lot of information.

         12                  So, it is now dependent on -- a business'

         13     dependence on success is now leveraged by what kind

         14     of service they can deliver.            And to deliver that

         15     service, they again have to know who their

         16     customers are.

         17                  So, you really look at all of the kinds of

         18     information that's available so that businesses can

         19     get a complete 360-degree view of their customers

         20     to be able to understand them not only in the

         21     context of their own transaction that may have

         22     taken place, but also what the likes and dislikes

         23     of that customer are.

         24                  So, when you really look at the kind of

         25     information that's available, it really falls down


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          1     into three categories.          There's the geographic

          2     information, or where you live, and that kind of

          3     information is really address data, quality of the

          4     address, standardized to the Post Office's

          5     standards, what's the bar code for the address, but

          6     also includes information like what MSA that

          7     address is in, what census tract that address is

          8     in, and important things like latitude, longitude

          9     and geocoding, which are really used by businesses

         10     to do things like drive time analysis, and trade

         11     area analysis.

         12                  But one of the first segmentations, at

         13     least in the retail industries, and now in the

         14     telecom industries, is where do you -- where do

         15     people live and how far are they likely to travel

         16     to get to one of my retail locations.

         17                  The second is really the demographic

         18     information, and the collection and the detail of

         19     this will really be talked about a lot in panel

         20     number 2, but that's things like name, address and

         21     phone number, at a very basic level, but also

         22     reported and modeled information around a person's

         23     income level, what their marital status is, whether

         24     they buy by mail, whether they're a credit card

         25     user, whether they own their own home or not,


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          1     information about what you're like.

          2                  And then the third piece is really the

          3     psychographic information, and that's really what

          4     you like, what your life style indicators are, and

          5     that's where a lot of the compiled information

          6     comes in from, lists and surveys, to determine what

          7     somebody's propensity to buy a specific kind of

          8     product is.       And those are indicators that could be

          9     that you're an outdoors enthusiast, a gardening

         10     book reader, dot, dot, dot, there are a number of

         11     different life style indicators.

         12                  So, how is that information merged into one

         13     particular database?          Data compilers really look to

         14     those three sources and do a very complex job of

         15     extraction, transformation and loading of that

         16     data.   And that data is bought from public sources,

         17     and that could be things like tax records, home

         18     owner information, up until recently motor vehicle

         19     information was used, and in some states, even

         20     driver's license information.

         21                  But that information is reported

         22     information that's public record that's brought

         23     into the database.        Self reported data really

         24     drives a lot of the demographic and psychographics,

         25     and that's information from surveys and warranty


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          1     cards and registrations.

          2                  And then information from mail lists, and

          3     that is I'm -- I have a wooden boat, I subscribe to

          4     Wooden Boat Magazine.         If I subscribe to Wooden

          5     Boat Magazine, there is a great likelihood that I

          6     am likely to buy products for wooden boats.

          7                  So, affinity modeling and propensity

          8     scoring is really driven by the self-reported data

          9     from both subscriptions and product registrations.

         10                  That information is matched based on name

         11     and address, so that there's really a view of a

         12     consumer that takes into account all of those

         13     different kinds of data sources.               And then there's

         14     some additional modeling that's done on top of

         15     that, based on scientific samples and surveys,

         16     different kinds of models are put into place for

         17     specific vertical industries.

         18                  Not every industry is interested in the

         19     same kind of consumer information.               A telecom

         20     merchant is not interested in the same kind of

         21     information that a retailer is interested in.

         22                  So, modeling is done based on a set of

         23     attributes that's been collected to be able to put

         24     together things for financial services and other

         25     industries.       And then the output of that


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          1     information really goes to two sources.

          2                  One is the data enhancement source, in that

          3     I have a customer database of people that have come

          4     to my company from a number of different sources,

          5     could be a customer that signed up for a frequent

          6     buyer program at a retail location, could be a

          7     customer that's come to me at a trade show or sent

          8     back a business reply card, or a customer that's

          9     walked into one of my retail locations.

         10                  The customer that's in my database, so I'm

         11     really looking for information that's outside my

         12     organization so I can understand that customer

         13     better.

         14                  And the second is the targeted lists, and

         15     that is really if I've done some analysis in terms

         16     of what my best customer looks like, give me some

         17     more prospects that I can market that look just

         18     like those folks.        I don't know who they are yet,

         19     and in most cases those targeted lists are going to

         20     go to a mail house who is going to get a mail drop,

         21     and I won't know who they are, until they respond

         22     to that direct mail campaign and come back into my

         23     database.

         24                  And then they'll go into the normal process

         25     of my selling process inside my customer database.


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          1                  So, there will be a lot of detailed talk

          2     about both the collection of data in the second

          3     panel, and then the use and kind of how the

          4     technology drives some of the business models for

          5     the use of that data in the third panel a little

          6     bit later on.

          7                  So, with that, let me turn it over to Lynn,

          8     and let her talk about some of the internal uses of

          9     data.

         10                  MS. CULNAN:      Thank you, Johnny.

         11                  MS. WUNDERMAN:      Bear with me just one

         12     second here.       Thank you.

         13                  Well, I've been asked to spend the next 15

         14     minutes talking to you about the end user

         15     applications that have evolved really over the last

         16     two to three decades, so it might be a little

         17     tight, but we're going to do the best we can.

         18                  I'm going to start where Johnny left off,

         19     which is to help you understand how this kind of

         20     compiled data really brings a name and address

         21     record to life for a marketer.

         22                  Now, this is a real, live consumer record

         23     off of a compiled database.             I can attest to it

         24     because it's me, it's the Wunderman household at 94

         25     Mercer Avenue in Hartsdale, New York.                I have


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          1     signed a release so that my data can be made public

          2     here today.       But just from that information, we can

          3     now geocode this record and find out its census

          4     block group, attach all the geographic information

          5     available for the census, as well as we can now

          6     construct a match code, which you see here on the

          7     right side of the screen.           That match code is the

          8     link to the compiled database by which we overlay

          9     the demographic and the psychographic information

         10     that Johnny was just earlier describing to you.

         11                  Now, what happens when we do that?            This is

         12     pretty much what you get, on the Wunderman

         13     household, a fairly distinct profile of a

         14     relatively affluent middle-aged, suburban couple,

         15     dotes on their dog, is extremely mail responsive,

         16     somewhat techno savvy and lives pretty much a

         17     high-end, fairly active life style.

         18                  Now, I can tell you this is a pretty

         19     accurate record.        There are two things they missed

         20     here.   They missed the registration on my husband's

         21     antique motorcycle, okay.           They are off by one

         22     category on our income; that's okay with me if it's

         23     okay with the IRS.

         24                  But why do we want this data?          Why do we

         25     want this information?          As Johnny said before, it's


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          1     not because we're being nosy, it's because we're

          2     looking to establish and build a relationship with

          3     a consumer.

          4                  Now, Webster defines a relationship as a

          5     connection, a bonding or a contract, and the way we

          6     build relationships for marketing purposes is

          7     really no different than the way we establish and

          8     nurture relationships in real life.              I mean, we do

          9     it through data, whether it's by factual

         10     information or observation, we're looking to

         11     establish some common ground by which we can create

         12     a meaningful, relevant communication to gain that

         13     connection.

         14                  Now, I will tell you that the way it's done

         15     by general advertisers is different from the way we

         16     do it as direct marketers.           In fact, it's the exact

         17     opposite.

         18                  As a general advertiser, I'm looking for

         19     large numbers of people with something in common.

         20     Maybe I'm targeting women, 25 to 49, maybe some

         21     broad-based income qualifier.            I'm going to talk to

         22     them based on what it is these women have in

         23     common.       Or at least I think they have in common.

         24                  Now, the issue is just because these are

         25     women largely of child-bearing age doesn't


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          1     necessarily mean they have kids, but when I'm

          2     spending $7 to $10 a thousand to reach them on TV

          3     or maybe $20 to $30 a thousand to reach them in

          4     print, I can afford to have a certain amount of

          5     misses there.

          6                  But it's very different when you're a

          7     direct marketer.        I may be spending $500 or $1,000

          8     a thousand to reach somebody at an individual or at

          9     a household level.

         10                  So, I'm going to be much more stringent and

         11     rigorous when I look at and evaluate the success of

         12     that communication.           I'm not looking for soft

         13     measures like awareness or reach and frequency, I'm

         14     looking for that household to take a specific

         15     action, and I'm going to valuate the cost

         16     efficiency of that action based on return on

         17     investment.

         18                  So, I've got to be much more precise in my

         19     ability to target that household and develop a

         20     meaningful, relevant communication so I can capture

         21     their attention and do it quickly.

         22                  So, we've learned over the years as direct

         23     marketers a very important principle over the

         24     years, and that is that people's differences are

         25     more important than their similarities.


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          1                  Now, what do I mean by that concept?           I

          2     mean that what it is when you're studying a group

          3     that sets them apart from everybody else is more

          4     important than what it is that the people in that

          5     group have in common with each other.

          6                  So, the differences are more important than

          7     their similarities, and they respond better when

          8     those differences are recognized.

          9                  Now, here's what I mean by differences.

         10     It's all the data we've been talking about.                It

         11     might be geographic, could be climate, market size,

         12     it might be demographic, life stage or life stage

         13     change, you know, maybe I just got a new spouse,

         14     got a new house, got a new baby, preferably in that

         15     order.

         16                  It could be psychographic information,

         17     hobbies and interests we've been talking about, or

         18     it could be your purchase history.              Now, we haven't

         19     talked a lot about that, but that purchase history

         20     could be self reported that I got off of some kind

         21     of a survey, or it could be the purchase history

         22     that a marketer captures and utilizes in their own

         23     database.

         24                  And normally when we talk about this, we

         25     talk about the recency, the frequency, the monetary


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          1     value segments as a marketer.            And I will tell you

          2     this is incredibly powerful information from a

          3     segmentation standpoint.

          4                  So, I might talk to you differently if

          5     you're a new customer versus a tenured customer.

          6     I'll not only talk to you differently, but I'll

          7     invest differentially if you're a high-value versus

          8     a low-value customer, and I'll have an entirely

          9     different contact strategy, frequency of the kind

         10     of offers I'm going to send you, if I happen to

         11     know that you're a loyal customer as opposed to a

         12     competitive switcher.

         13                  Now, as I said, this behavioral information

         14     is incredibly important to marketers, and it works

         15     terrificly, if you have it.            But you don't always

         16     have it.       I mean, it's great if I'm talking to a

         17     group of customers that have been with me a long

         18     time and I have a lot of data on those people, it's

         19     an established product, it's a proven offer, but

         20     what do I do in a situation when I'm trying to

         21     attract new prospects into the base?              I don't have

         22     a lot of data about their purchase behavior,

         23     particularly about what they're buying from my

         24     competitors.

         25                  What about if I'm trying to spend on my new


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          1     customers based on their potential to become

          2     high-value customers every time.                 Not much there in

          3     my database about these people.                 Or if I've got

          4     some test market results that I've done with new

          5     offers, new products, I know in aggregate how

          6     people are likely to respond, but I've got to think

          7     about who do I target with those offers because I

          8     don't have that response information on everybody

          9     in my database.

         10                  So, what do we do?       We use surrogate data.

         11     We use surrogate data as a bridge to help us be

         12     able to apply that behavioral information to

         13     another universe.

         14                  Now, the most important data that we tend

         15     to use as surrogates is this compiled information

         16     we're talking about today, because there's a very

         17     important criterion that data has to be as

         18     available on the target audience that I'm studying

         19     as the application universe that I'm applying it

         20     to.   And the compiled data is virtually available

         21     on just about every household in the U.S.

         22                  So, what I am going to do is I am going to

         23     use my behavioral data in my own customer database

         24     to define a target.           I'm then going to use the

         25     bridge data, the compiled data to describe the


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          1     target and create a profile, and then I'm going to

          2     use that profile to help me find lookalikes in some

          3     larger application base.

          4                  So, let me show you schematically how this

          5     works.       I'm a marketer and I have defined a target

          6     as my high-value customers, however I define it,

          7     profits, revenues, purchase frequency, et cetera.

          8     And my goal is that I'm looking to identify

          9     prospects in the population who have a high

         10     potential to become high-value customers every

         11     time, I want to track them into my base.

         12                  So what do I do?     I'm going to study how do

         13     these high-value buyers look different from

         14     everybody else in the U.S.?            And the data I'm going

         15     to use to do that is all the demographic

         16     information, the psychographic information, and I

         17     will tell you the coverage on the psychographics

         18     does not tend to be as large as some of the other

         19     data, so it doesn't often enter these statistical

         20     analyses, but we use it and we see if it's

         21     predictive.       The geographic data and the census

         22     information, all to help me understand what is it

         23     about this group that makes it look different from

         24     everybody else.

         25                  I'm going to overlay statistical tools so


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          1     that I can really quantify which of these

          2     differences are statistically significant in

          3     identifying this target.          I'm going to look at the

          4     interaction and the relative weight or strength of

          5     those variables, and I'm going to apply it back to

          6     a broader universe, in this case, the U.S.

          7     population.

          8                  Every household gets this -- every

          9     household gets a score, excuse me, and the highest

         10     scores are the most likely to generate and to

         11     exhibit that target behavior.            Those at the bottom

         12     are least likely to become your high-value

         13     customer, and this is nothing more than a planning

         14     tool.   Okay, I'm going to penetrate that universe

         15     of U.S. population based on my volume objectives,

         16     my budget limitations, whatever.

         17                  Now, I think it's important for you to

         18     understand as we talk about these concepts, where

         19     the predictive value of that data comes from.

         20     Okay, and I promise, no formulas, you don't need to

         21     be -- have a degree in applied statistics, it's a

         22     very simplistic example.

         23                  I'm just going to use marital status and

         24     I'm only going to give it two values.               So, here I

         25     am studying my high value-customers, all right, and


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          1     I'm looking at them and I see well, big deal,

          2     they're just as likely to be married as they are to

          3     be single, that doesn't tell me much of anything,

          4     does it?       How do I target anything based on this

          5     information, how do I talk to them based on this

          6     data?

          7                  Well, guess what?      I compared them to the

          8     U.S. population, and they're twice as likely to be

          9     single as the rest of the population at large.

         10     Now, take this predictive value, multiply it times

         11     another half dozen to a dozen variables, you start

         12     to see where the power of these statistical tools

         13     comes from.

         14                  So, how do we use these tools?          Well, we

         15     use them to help drive differential contact

         16     strategies.       Who do we target, when do we target

         17     them, how do we target them so that we're more

         18     efficiently reaching them with more relevant

         19     communications across the entire life cycle of the

         20     customer.       From acquisition to value stimulation,

         21     all the way to eventual retention and

         22     re-activation.

         23                  So, for instance, I'm going to rank my

         24     customer database based on this information, and

         25     I'm going to spend differentially based on the


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          1     probability of these people being high-value

          2     customers, the repeat sales, cost sale, up sale,

          3     I'm also going to apply it as well to my customer

          4     information applications.           Maybe I'm even going to

          5     develop new services for high priority customers.

          6                  I can overlay this data on any vertical or

          7     apply it out from a compiled database, I can use

          8     this for direct sale or regeneration offers.                Also

          9     remember, that because this tool is developed at an

         10     individual household level, I can aggregate it back

         11     up to any level of geography.

         12                  So, for local support programs where

         13     there's a retail trading area or there's a sales

         14     territory, it become a very useful tool to

         15     prioritize differential media and households for

         16     these purposes.

         17                  It's easy to apply them to any form of

         18     addressable media, those that are available today,

         19     such as selective binding, addressable cable and

         20     satellite, some of the Internet applications you

         21     can hear about later this afternoon, and those

         22     that, you know, we've hardly thought about in the

         23     future, wireless, interactive television and things

         24     that haven't even been invented yet today.

         25                  And these tools can also be used as a


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          1     planning template, we can bridge them into

          2     syndicated research bases, such as Scarborough,

          3     MRI, Simmons, Nielsen, and help us optimize the

          4     value of our mass media, of our print and our

          5     broadcast spending.

          6                  So, all of this is based on our study of a

          7     high potential end user.

          8                  So, what does this do for us in the end?             I

          9     mean, basically it helps marketers invest their

         10     marketing dollars smarter, more efficiently

         11     reaching customers across virtually every channel,

         12     and for consumers, it means hopefully you receive

         13     more of the offers you want, and fewer of the

         14     offers that you don't.           And that to us is a win-win

         15     for everybody.       Thank you.

         16                  MS. CULNAN:      We've got a lot of time left,

         17     we've got about 25 minutes.             What would you like us

         18     to do?

         19                  MS. ALLISON BROWN:       Do you want to take

         20     questions?

         21                  MS. CULNAN:      Sure, we'll take questions.

         22     We changed our minds, we'll take some questions.

         23     And there's a microphone over here, so I think

         24     Jason Catlett has a question.

         25                  And then if you would address your question


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          1     to one of the panelists, if that's your preference,

          2     please do so.

          3                  MR. CATLETT:      May I address it to you,

          4     ma'am?

          5                  MS. CULNAN:      You may.

          6                  MR. CATLIN:      Hello, this is called the

          7     bleeding edge of technology.             Well, I don't think

          8     it's doing anything, but I'm going to hold it here

          9     anyway.

         10                  Mary, you said that you were not going to

         11     address co-op databases on the basis that there are

         12     so few of them.        And I think that's like saying

         13     we're not going to address suppliers of Windows

         14     operating systems because there are so few of them.

         15     The dominant co-op database, Abacus Direct, really

         16     has enormous influence, and I think it's a model

         17     different to but very relevant here.

         18                  So, could you take a minute to describe

         19     what co-op databases do?

         20                  MS. CULNAN:      I may punt this to one of the

         21     panelists who have more experience.               I will say one

         22     thing, for those people that are interested in

         23     co-op databases, and particularly in Abacus Direct,

         24     their data dictionary is on the DoubleClick

         25     website, so if you go to doubleclick.com and you


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          1     click on Abacus, you can see exactly what kind of

          2     information they have acquired, and I think

          3     probably it's a really good example of

          4     transparency, assuming you know to go there and

          5     look for the data.

          6                  So, because Lynn is actually running a

          7     co-op database, and again, it's not that we didn't

          8     want to talk about these because we didn't want to

          9     hide anything, but because we were doing the broad

         10     overview, we decided as a panel it would confuse

         11     things, thinking our talks would take longer if we

         12     went off and then couldn't fit it all into the

         13     slide.

         14                  MS. WUNDERMAN:     I do promise that we will

         15     spend some time this afternoon talking about the

         16     co-op database model, and specifically about my

         17     company, I-Behavior, unless there's something

         18     specific to these applications that you would like

         19     to talk about now.

         20                  I mean, I could go into the concept of

         21     co-op database, it's going to be a little redundant

         22     this afternoon.

         23                  MR. CATLETT:     Why don't you spend 30

         24     seconds describing a co-op database.

         25                  MS. WUNDERMAN:     A co-op database is formed


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          1     when marketers share their customer names and

          2     related buying information in order to gain access

          3     to names of qualified prospects as well as

          4     additional data on their customers that might

          5     otherwise be unavailable for them to market and to

          6     build their business.

          7                  So, if we had, I don't know, Mary, if you

          8     could put back your first slide.

          9                  MS. CULNAN:      Sure.

         10                  MS. WUNDERMAN:      I mean, basically with a

         11     co-op database, if we move the consumer aside to

         12     the right and we were to create another box, what

         13     you would see is the customer databases, the

         14     compiled data would all come into a co-op database

         15     and we would have a consolidation of many customer

         16     files from marketers, publishers, catalogers,

         17     e-tailers, et cetera, all going into one database

         18     as well as it would be overlaid with the

         19     demographic or the psychographic as well as the

         20     census data we've been talking about earlier, all

         21     to form a positive record.            And that is the rich

         22     behavioral and demographic base upon which

         23     marketers would be able to do selections from that

         24     file.

         25                  MR. CATLETT:      Thank you.


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          1                  MS. CULNAN:      One difference I think it's

          2     important to point out, you have to be a partner in

          3     the co-op database.

          4                  MS. WUNDERMAN:      Yes, you do.

          5                  MS. CULNAN:      You have to put data in in

          6     order to take advantage of the data that's there,

          7     as opposed to the compiled databases where

          8     basically there's no relationship between

          9     contributing data to the database and being able to

         10     acquire data from the compiler.

         11                  MS. WUNDERMAN:      Yes, and I will also say

         12     that generally that there's notification to the

         13     consumer about sharing data with trusted third

         14     parties as well as the online component, there are

         15     privacy protections as well.

         16                  MS. CULNAN:      Anybody else?      There's a

         17     question toward the back.

         18                  MR. TUROW:    Would you talk just a little

         19     bit about the way databases get purged, based not

         20     just on what consumers want, but also recency and

         21     the decision that certain things become obsolete

         22     and how those criteria are determined?

         23                  MS. WUNDERMAN:      I want to make sure that I

         24     understand your question.            You're asking, you know,

         25     I think on -- in terms of if I have information in


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          1     a customer database about an individual's purchase

          2     behavior and over time that that data is no longer

          3     relevant?       Is that --

          4                  MR. TUROW:   Yeah, how do you decide -- how

          5     do you decide at what point you purge those

          6     particular data like your sports car.               Maybe you

          7     decided to get more conservative about the car and

          8     somebody has not picked it up, do you have any kind

          9     of criteria to which to purge certain kinds of data

         10     after a certain amount of time, based on certain

         11     other criteria?

         12                  MS. WUNDERMAN:     Let me say something about

         13     the compiled data and its value, because they're

         14     not going to be always 100 percent accurate.                I

         15     mean, you saw even my income on my own personal

         16     record was not accurate.          What's of greatest value

         17     with the compiled data beyond its coverage is its

         18     consistency, and when you're looking for predictive

         19     value, consistency can be even more important than

         20     sheer accuracy.

         21                  So, the procedures that are in place to

         22     replace that information, the models that are done

         23     to calculate data such as income, it's consistently

         24     done even if it's inconsistent across households.

         25     So that as that data is predictive, it may be


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          1     predictive, even though it's not 100 percent

          2     accurate, but if it is predictive, it will rise to

          3     the top, and then virtually it's a numbers game.

          4                  You will never be 100 percent on any

          5     particular individual or household.              What you're

          6     trying to do is increase the probability of

          7     identifying a high potential consumer.

          8                  So, for one or two or, you know, any number

          9     of people, that data will still not be 100 percent

         10     accurate, it ages over time, and it's the compilers

         11     that capture that information from the various and

         12     sundry public resources or surveys that gets

         13     supplied back to us, it's accurate, it's not

         14     accurate.       But if it's still predictive, we will

         15     still work with that information.

         16                  MR. SMITH:   Richard Smith with Privacy

         17     Foundation.       I have a question for Lynn.          How do I

         18     get my compiled record, just like you got yours, on

         19     the screen?

         20                  MS. WUNDERMAN:     Call me.

         21                  MR. SMITH:   Can everybody call you if they

         22     want to see, every consumer if they want to see

         23     this?

         24                  MS. WUNDERMAN:     I'm sorry, you're asking

         25     you as a consumer, how would you get access to


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          1     information?       Well, I am not a data compiler, per

          2     se, I mean we get our data from Equifax, there are

          3     others, Experian, and First USA through their

          4     Donelly unit and Acxiom through their InFobase that

          5     supply this information, but if you as a consumer

          6     are interested in seeing your record on our

          7     database, you can request a copy of your profile

          8     and we'll supply it.

          9                  MR. SMITH:     Do these companies, compiler

         10     companies generally allow consumers to look at this

         11     kind of data?

         12                  MS. WUNDERMAN:      You know, I --

         13     not being a compiler.           I would have to say in

         14     today's marketing environment, they should, but I

         15     cannot tell you.          Certainly the data that comes,

         16     for instance, from a credit bureau, and the credit

         17     bureau information gets channeled as part of

         18     Equifax and that gets channeled into the Polk

         19     Database, as a credit bureau, you need to be able

         20     to provide consumers with access to that data, but

         21     I'm not familiar with the policies of each and

         22     every compiler.

         23                  MR. SMITH:     Thank you.

         24                  MS. CULNAN:      Okay, I think we're going to

         25     take a break and you want to break for -- you're


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          1     going to let the people running this set the rules.

          2     Thank you.

          3                  MR. WINSTON:     This is kind of a unique

          4     situation, we're actually ending a little early,

          5     but that gives us a little more time for lunch.

          6     So, if we could break until about 10:15, and I want

          7     to thank the panelists and the Magazine Publishers

          8     of America.

          9                  (Applause.)

         10                  MR. WINSTON:     Also, thank you to the

         11     Magazine Publishers of America for supplying our

         12     repast out there.

         13                  (Pause in the proceedings.)

         14

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          1                                   SESSION TWO

          2                      CONSUMER DATA:        WHAT IS IT?

          3                           WHERE DOES IT COME FROM?

          4                       -       -      -     -         -      -

          5                  MS. ALLISON BROWN:        Hi, I'm Allison Brown,

          6     I'm an attorney in the FTC's Bureau of Consumer

          7     Protection, and I'll be the moderator for Session

          8     2, entitled Consumer Data:             What Is It?          Where Does

          9     It Come From?

         10                  The overview that we just heard has

         11     provided us with a brief look at data merger and

         12     exchange.       Now we will begin a series of in-depth

         13     panel discussions about these practices.

         14                  This panel discussion will focus on the

         15     original sources of consumer information, and we

         16     have five very experienced and knowledgable

         17     panelists with us today for the discussion.                      We

         18     will also have about ten minutes at the end of the

         19     panel for the audience to ask questions.

         20                  If you're sitting in an overflow room and

         21     you want to ask a question, please come up to the

         22     doorway on the main room here on the fourth floor

         23     at about 11:20 and we'll have a wireless microphone

         24     here so that you will be able to ask the panelists

         25     your questions.


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          1                  I will now introduce each person on the

          2     panel and ask the panelist to spend about three

          3     minutes to provide a brief introduction to the

          4     sources of consumer data that businesses use.

          5                  C. Win Billingsley is the Chief Privacy

          6     Officer of Naviant, Inc.          Naviant is a provider of

          7     marketing tools and integration methodology for

          8     online and offline environments.

          9                  Win, please go ahead with your introductory

         10     remarks now and I'll introduce the other panelists

         11     in turn.

         12                  MR. BILLINGSLEY:     Okay.        Naviant is a

         13     leading provider of integrated precision marketing

         14     tools, for both online and offline environments.

         15     So, we really integrate the virtual world with the

         16     physical world.

         17                  This capability enables marketers to

         18     identify, reach and build relationships with online

         19     consumers.       So, to probably state that in a form

         20     that is more meaningful to you, Naviant has a

         21     database of about 30 million households that are

         22     Internet-enabled.

         23                  So, our niche is a database of people who

         24     have the capability to buy products and services on

         25     the Internet.       This data is collected primarily


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          1     through product registration data, and we'll talk a

          2     little bit more about that in the session on how

          3     this actually occurs.

          4                  The data is fully permissioned.          We only

          5     want people in our marketing database that

          6     permission us to do so.          You know, an individual or

          7     an Internet user that does not want to participate

          8     in Naviant's database is not included in the

          9     database.

         10                  And then there are other processes that we

         11     have in place to make sure that our data is

         12     accurate and as useful as possible.

         13                  MS. ALLISON BROWN:      Okay, Elisabeth Brown

         14     is Senior Vice President of Product Strategy for

         15     Claritas.       Ms. Brown oversees the development of

         16     new data products and services, including

         17     demographic, cartographic and segmentation systems,

         18     and the management of the software and applications

         19     that are delivered to Claritas clients.

         20                  Ms. Brown?

         21                  MS. ELISABETH BROWN:       Thank you.     One

         22     comment, too, I have actually been not only am I a

         23     member of the club, but I have been a client, so I

         24     was actually a client of the Claritas marketing

         25     products and services before I joined the company.


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          1     So, I do have a little bit of perspective on how it

          2     can be used and how we used it when I was at the

          3     Prudential Insurance Company.

          4                  Claritas is a marketing information company

          5     that has been in business for over 30 years, which

          6     makes us one of the more mature companies in this

          7     industry -- as evidenced by a recent Wall Street

          8     Journal article that referred to Claritas as the

          9     granddaddy of demographic providers.

         10                  Claritas serves companies in financial

         11     services, telecommunications, energy, automotive,

         12     retail, restaurant and real estate industries, and

         13     we have clients ranging from the top Fortune 500

         14     companies to small, independent consultants.

         15                  I'll just give you a little bit of

         16     background.       Over 30 years ago, Claritas' founder,

         17     Jonathan Robbin, who was a Harvard social

         18     scientist, was analyzing U.S. Census data and

         19     settlement patterns.          He hypothesized that American

         20     neighborhoods reflected the old adage that birds of

         21     a feather flock together, and therefore, the

         22     products and services that Americans consumed could

         23     be predicted simply by knowing summary level

         24     demographic information about the area, or "you are

         25     where you live."


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          1                  This was referred to in the first slide as

          2     geodemography.       Thirty years later, our models have

          3     become more sophisticated and are able to dissect

          4     markets at a much lower level of geography, but

          5     that same old basic premise still holds true that

          6     by knowing some small amount of demographic

          7     information, you can infer or predict the

          8     likelihood that a household will be interested in

          9     the products and services that you're offering.

         10                  So, we provide demographics and other

         11     consumer and business data on multiple levels of

         12     geography, delivered through our various mapping

         13     and marketing application software platforms.

         14                  We are probably most well known for our

         15     consumer segmentation systems, for example, Prism,

         16     which was also identified earlier when Mary was

         17     speaking about Winner's Circle and what some of the

         18     attributes of a neighborhood would be that would be

         19     tagged as Winner's Circle across the country.                Our

         20     consumer product demand estimates that our clients

         21     use to more efficiently market their targeted

         22     customers and prospects, which you could refer to

         23     as surrogate or inferred data.

         24                  Claritas data and services are used for

         25     broad marketing functions such as tracking new


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          1     customers, retaining current customers, determining

          2     site locations and appropriate sales and marketing

          3     distribution channels, and we help with more

          4     efficient reach strategies and media planning.

          5                  So, basically, Claritas marketing

          6     information helps our clients offer the right

          7     products and services in the most appealing way to

          8     the consumers and prospects.            We provide basically

          9     the benchmark information or the total universe

         10     data that our customers can use to compare their

         11     current customers and markets against so that they

         12     can make better marketing decisions.              Thank you.

         13                  MS. ALLISON BROWN:      Next we have Paula

         14     Bruening who is Staff Counsel for the Center for

         15     Democracy and Technology.           The Center for Democracy

         16     and Technology is a non-profit public interest

         17     organization that seeks practical solutions for

         18     enhanced free expression and privacy in global

         19     communications technologies.

         20                  MS. BRUENING:    Thank you.

         21                  CDT has been asked today to discuss the

         22     issue of public records as a source of information

         23     about individuals from a factual basis, and as many

         24     of you know, CDT generally has a specific viewpoint

         25     on this issue.       I will talk today about the factual


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          1     basis in my opening remarks and then any other

          2     comments will be reserved for the Q&A, but I would

          3     like to encourage the FTC to go to the state level

          4     and to some other resources and some organizations

          5     that are doing work on this issue, because I think

          6     some of the really difficult work on how the

          7     information is collected and how it is being used

          8     specifically is being done at the state level.                 And

          9     I'm happy to give the FTC that information.

         10                  Public records maintained by government

         11     agencies disclose a vast array of detail about an

         12     individual's life, activities and personal

         13     characteristics.        At the federal level, most

         14     personal information is not available to the

         15     public, because of the privacy exemption in the

         16     Freedom of Information Act and the Privacy Act of

         17     1974.

         18                  However, bankruptcy records are an

         19     important exception to this rule and are maintained

         20     by the federal courts.          These records are a source

         21     of detailed financial information, and the

         22     sensitivity of that information has been recognized

         23     by the Office of Management and Budget, which has

         24     produced a study on this issue called Financial

         25     Privacy in Bankruptcy:          A Case Study on Privacy in


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          1     Public and Judicial Records.

          2                  At the state and local level, however, the

          3     types of records that are maintained are different,

          4     and the laws and policies governing records yield

          5     disparate acts and disclosure practices, but it is

          6     possible to construct a detailed profile about an

          7     individual from public records.

          8                  And while I will spare all of you the

          9     exhaustive list of all the sources of information,

         10     I'll name a few:        Name and address information come

         11     from voting records; land titles are a source of

         12     home ownership information; property taxes can give

         13     you assessed value of homes; birth and death

         14     records give you information about an individual's

         15     parents.

         16                  The list goes on, there are occupational

         17     license records, motor vehicle records that can

         18     tell you about an individual's make and model of an

         19     automobile, voter registration gives you party

         20     political affiliation, and hunting and fishing

         21     licenses, boat and airplane licenses can give you

         22     information about how a person likes to spend their

         23     leisure time.

         24                  There may be considerably more information

         25     available in public records about an individual who


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          1     has interacted with the courts as a criminal

          2     defendant, as a plaintiff or defendant in a civil

          3     litigation, in a divorce proceeding, as a juror, as

          4     the beneficiary of a will.

          5                  Public access to government records serves

          6     several important goals.          Individuals need

          7     government information to make political decisions

          8     about government programs, legislative and

          9     regulatory options, and candidates running for

         10     office.

         11                  Government records also assure the

         12     accountability of individuals as in the case of

         13     business and real estate transactions.               However,

         14     it's important that public record information be

         15     used for the reasons it was collected.               This

         16     information was not meant to be searchable in a

         17     database, nor was it intended to be used in

         18     marketing.       And simply because there is a tradition

         19     of collection of information, important decisions

         20     need to be made on a case-by-case basis about the

         21     appropriateness of access to public records and the

         22     role of consumer choice.

         23                  MS. ALLISON BROWN:      Thank you.

         24                  Michael Pashby is Executive Vice President

         25     and General Manager for Magazine Publishers of


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          1     America where he has also served as Executive Vice

          2     President of Consumer Marketing.                 Before joining

          3     the MPA, Mr. Pashby was president and publisher of

          4     Art and Antiques Magazine, vice president of

          5     circulation and new product development for Gruner

          6     + Jahr USA, and Managing Director of U.S.

          7     Operations for Marshall Cavendish.

          8                  Michael?

          9                  MR. PASHBY:      Thank you.        That sounded

         10     impressive.

         11                  MPA represents about 85 percent of the

         12     consumer magazine -- dollar volume of the consumer

         13     magazine industry in this country, and about 85

         14     percent of all magazines are sold through the

         15     mails, using direct mailing techniques or direct

         16     marketing techniques of extremely varying

         17     sophistication.

         18                  The use of credit cards in our industry is

         19     extremely small, but is now growing.                 Our members

         20     strongly agree that we must protect the privacy of

         21     our readers, and I think our industry has done a

         22     very good job over the years in balancing our

         23     legitimate business interests and our consumers'

         24     reasonable expectations of privacy.

         25                  Obviously we value our readers and we


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          1     wouldn't be in business without them, so our

          2     industry is constantly looking for ways to improve

          3     that service to our readers.

          4                  It's important to note that when our

          5     readers ask us not to share information about them,

          6     we don't.       In the information section of most

          7     magazines, the publisher discloses that the

          8     subscription list may be rented to appropriate

          9     businesses.

         10                  The magazine offers an address or toll free

         11     number so that the reader can opt out.               And many

         12     magazines are taking advantage of the Internet to

         13     inform consumers of their privacy policies, and

         14     give consumers an additional opportunity to opt

         15     out.

         16                  We're very careful with respect to the

         17     customers, to the wishes of the customers who

         18     choose to opt out.        Generally when a consumer

         19     requests that publishers not share information,

         20     that publisher will not only remove the consumer

         21     from their own internal rental lists, but will

         22     refer the consumer to the DMA so that the consumer

         23     can request to be on their nation-wide do-not-mail

         24     list.

         25                  That said, magazines are very good sources


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          1     for consumer data.        And the reason is very simple.

          2     More than any other medium, the choice of which

          3     magazines a consumer reads can tell a lot about a

          4     person, what a person likes, and his or her

          5     interests.

          6                  In enabling our readers to get information

          7     about products and services that are of interest to

          8     them, it is advantageous to everyone.               Our readers

          9     are given more choices, they get information about

         10     products of their interest and life styles, and

         11     most importantly they're not inundated with

         12     advertisements for products they have no interest

         13     in.

         14                  Businesses benefit because they can target

         15     their advertising to consumers who are most likely

         16     to be interested in their products, saving them

         17     time and money.        And for magazines, with a cost of

         18     mailing now between 65 cents and a dollar per

         19     piece, and that's before the Post Office applies

         20     for its newest rate increase this June, the cost of

         21     acquiring a consumer, when the response rates are

         22     in the low single digits, and in a very competitive

         23     market, is extremely expensive.

         24                  But sharing information only works if it's

         25     beneficial to everyone.          Our magazine subscriber


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          1     lists are our most important and valuable assets,

          2     our readers do not want to get advertisements for

          3     products they don't care about, so the magazine

          4     industry is selective about letting advertisers use

          5     their lists.

          6                  If a business intends to mail a

          7     solicitation to a consumer, magazine staff review

          8     that promotion to ensure its use is appropriate.

          9     Most magazine publishers will not rent their list

         10     to telemarketers because they have little control

         11     over how the list is used, but if lists are rented,

         12     we expect magazine staff to review the

         13     telemarketing script.

         14                  And very importantly, the list is rented,

         15     it's not sold.       That means the advertiser can use

         16     it only one time.        And publishers, as a general

         17     course, see their lists and track how that list is

         18     used.

         19                  Thank you for inviting us again.

         20                  MS. ALLISON BROWN:      Thank you.

         21                  Our final panelist is Ted Wham.          Ted is the

         22     President of Database Marketing for the Internet, a

         23     sole proprietorship consulting practice.               His

         24     career has been concentrated in the direct and

         25     database marketing industries, focusing most


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          1     recently on Internet-enabled marketing

          2     applications.

          3                  Ted?

          4                  MR. WHAM:   The benefit of having the last

          5     name of Wham is that although I am always at the

          6     end of the line, I always get to hear what

          7     everybody says before me and tailor my comments to

          8     help amplify on those areas as well.

          9                  Database Marketing is an independent

         10     consultancy that consists of myself as an

         11     independent business person working out of my home,

         12     and billing my cat at very low billable rates, I

         13     have had an opportunity to work with organizations

         14     such as Viacom Division, Curriculum Corporation,

         15     Hewlett Packard, I have worked with Cisco Systems

         16     here recently, NCR and so forth, helping them

         17     formulate Internet privacy strategies and also how

         18     to use information about consumers for part of

         19     their contact strategies.

         20                  In general, the information which is

         21     available about consumers in the United States

         22     starts from very gross aggregate levels, compiled

         23     information which is largely demographic

         24     information, and as Ms. Wunderman explained in the

         25     session immediately before this one, to a lesser


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          1     extent psychographic information.

          2                  You move from that into information which

          3     is available from a wide range of public records,

          4     such as the ones that Ms. Bruening referred to, and

          5     ones that I have personal experience with as being

          6     on the receiving side of some of the solicitations

          7     for there.

          8                  That's important because those public

          9     records the consumer doesn't have much choice in

         10     terms of their participation in those lists, it's

         11     an obligatory process.          If I want to vote, I have

         12     to register to vote, and if I register to vote,

         13     those public records are then going to be available

         14     for purposes unrelated to my voting, and, you know,

         15     that's kind of the way it is.

         16                  There is then a second tier, and that is

         17     government supported monopolies, and those

         18     monopolies are, because they're either a natural

         19     monopoly such as the provision of your gas service

         20     or your telephone service, and for instance white

         21     pages, telephone white pages are a major source of

         22     compiled list information, but there's also

         23     government supported monopolies in the form of

         24     patent protection and copyright protection, which

         25     gives a form of a unique ability to sell a product.


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          1                  So, for instance, if I want to operate with

          2     a computer operating system called Windows, I have

          3     to support the patent and copyright protections

          4     available from Microsoft until those patents run

          5     out, and I have to use that information and

          6     Microsoft has that and has the opportunity to share

          7     that information, if that is their business

          8     practice to do so.

          9                  There is a whole range of different

         10     products from drugs that you have to take to the

         11     type of services that you buy and so forth, where

         12     that government-mandated protection is there.                 For

         13     monopolistic practice it serves a public good in

         14     terms of inspiring innovation.

         15                  The last area is information which is in a

         16     much more competitive area.             I can go to any of a

         17     number of different retailers to buy clothing, for

         18     instance, and the retailers when I make that

         19     purchase are going to collect various amounts of

         20     information.

         21                  So, if I buy at Sears, that may be a

         22     largely anonymous transaction, especially if I make

         23     it in a cash basis.           If I do it through a credit

         24     card, they may have more information, and some

         25     retailers through a traditional retail environment


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          1     such as Radio Shack actually will ask you for

          2     information about your name and address, and

          3     collect that information online.

          4                  Other businesses who run their business

          5     model through a mail order process such as Lands

          6     End and J. Crew and so forth become much, much more

          7     adept at collecting very specific information about

          8     you because what you've bought in the past becomes

          9     most predictive about what you will buy in the

         10     future.       It's dramatically better than demographic

         11     information, dramatically better than any

         12     information you're going to get from public

         13     records.

         14                  If I bought something from J. Crew in the

         15     past, I will be better than any prospect that they

         16     can find to buy stuff from them in the future.

         17                  But there's an opportunity for a consumer

         18     to make a choice in those purchases on whether

         19     they're going to choose retailer A versus retailer

         20     B, and so there's an opportunity for control there.

         21                  So, in looking at this, I think it's

         22     important to look at the spectrum of how that

         23     information is collected in terms of the consumer's

         24     ability to control the use of that information

         25     downstream.


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          1                  MS. ALLISON BROWN:      Now that you've heard a

          2     brief introduction to the sources of consumer data

          3     that businesses use, I'm going to ask our panelists

          4     some questions so that we can learn some more

          5     specifics.

          6                  Win, what data elements does your business

          7     collect about consumers and how do you collect the

          8     information?

          9                  MR. BILLINGSLEY:     Most of us have done a

         10     product registration or a software application

         11     registration, and it's very important for the

         12     manufacturer of that product to get to know who

         13     their end user customers are, because all of them

         14     distribute their products and services through some

         15     intermediary.       So, they're really isolated from who

         16     their end user customers are.

         17                  The way they try to solve that problem, and

         18     also to provide customer support and service, is

         19     through a registration process.                So, Naviant

         20     provides software that is used by companies that

         21     manufacture computer hardware and software products

         22     to facilitate that registration.

         23                  So, the data that we collect for the

         24     company includes all the information that we've all

         25     seen on those product registration forms, but the


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          1     only data that Naviant really uses that goes

          2     forward into a marketing database is the name and

          3     the address, and the fact that this is an

          4     Internet-enabled household.

          5                  And that's really what we focus on and what

          6     we collect.       The other information is analyzed

          7     statistically and then passed back to the

          8     manufacturer, and they can use it for various

          9     business purposes to know who their customers are.

         10                  So, name and address, and the fact that

         11     this individual is Internet-enabled is key to

         12     our -- that's where the cycle starts with Naviant.

         13                  MS. ALLISON BROWN:      What other data

         14     elements do businesses collect about consumers and

         15     how are they collected?          Anybody?      You can just

         16     either raise your hand or put your tent card on its

         17     side?     Ted?

         18                  MR. WHAM:   Yeah, I forgot the tent card on

         19     its side, I don't live in Washington, D.C.                 That's

         20     a rule.

         21                  Businesses often times have an insatiable

         22     demand for information.          They would collect as much

         23     information as the consumer will spend time to

         24     provide for them.        In fact, one of the services

         25     that I provide to my consulting clients is that I


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           1     will get the question, How much can we ask on a

           2     registration process or in a survey process or

           3     through a purchasing application before the

           4     consumer is finally going to go Aye, "I don't want

           5     to do this anymore" and will bottom out of that,

           6     and they will test that very aggressively and try

           7     several different formats.          If we ask this extra

           8     question, what's going to happen here?             If I format

           9     this as a drop-down question instead of a radio

          10     button, what happens here and so forth.             They will

          11     collect as much information as they can until they

          12     reach a point where the collection of that

          13     information degrades completion of the desired

          14     task.

          15                 MS. ALLISON BROWN:      Betsy?

          16                 MS. ELISABETH BROWN:       One of the things

          17     that I didn't go over specifically is that there

          18     are lots of sources of public information out

          19     there, including the U.S. Census data, which is

          20     pretty hot right now since it's been recently

          21     updated.

          22                 Many companies are trying to get at this

          23     information because it's a very good source for

          24     benchmark information to understand sort of the lay

          25     of the land.      And when we talk about benchmark


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           1     information, there's a lot of other domain

           2     information, public domain information that is also

           3     collected and used by businesses.

           4                 Just from my experience at Claritas and my

           5     experience with some of these customers, they

           6     really do use a variety of information for

           7     different business purposes, and from what we've

           8     seen, we -- at Claritas, we try to assist them by

           9     updating the demographic information annually so

          10     they do have these benchmarks and we use lots of

          11     different input sources, including consumer surveys

          12     that are out there, you may have heard of people

          13     like Simmons Market Research Bureau, Mediamark,

          14     Nielsen Net Ratings, Scarborough, all of these are

          15     collected with consumer consent, they're pretty

          16     much anonymized in terms of you never really know

          17     who these individual consumers are.             Basically that

          18     data is used and compiled and turned into models

          19     that really say if the person is in this

          20     demographic characteristic, they have a higher

          21     likelihood than average to do these behaviors.

          22                 Some of the magazine data is used that way

          23     as well.      You can either use the individual

          24     registration data or pretty much the anonymized

          25     version which gives you the, quote, profile.


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           1                 So, there are many, many databases that

           2     Claritas and other companies produce and put out

           3     there, and the only way that information is linked

           4     back to a customer record is through an inferred

           5     modeling process, which either takes into account

           6     what we believe their demographics to be, or

           7     something as simple as the zip code or zip plus

           8     four in which they live.

           9                 MS. ALLISON BROWN:      And can you be a little

          10     more specific about the types of information that

          11     Claritas gets from surveys, you know, either

          12     through Simmons or through its own surveys?

          13                 MS. ELISABETH BROWN:       Depending on the

          14     panel, Simmons and Mediamark Research have various

          15     surveys that they put out there, some of them are

          16     books of information that ask everything from how

          17     much peanut butter do you eat a week, to what

          18     brands do you prefer, what media you like, how

          19     often do you spend in front of the television.

          20                 A.C. Nielsen actually captures specific

          21     readership and views of which television programs

          22     and what day parts in terms of which actual

          23     physical programs you're watching.             And a lot of

          24     that data, again, it's all consumers are signing up

          25     for these panels.      That's the panel type of


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           1     research.

           2                 In addition, there's other types of

           3     research which is more of the research where you're

           4     calling up people on the telephone or just sending

           5     them a direct mail package and asking them

           6     something more specific about the financial

           7     services that they're using, or the types of

           8     Internet services they have and that type of

           9     nature.

          10                 Once again, most of this data, what happens

          11     is that all the data is collected at a household

          12     level, but when it's modeled and analyzed, it's

          13     analyzed in terms of demographic characteristics or

          14     segmentation codes and not -- those people that

          15     participate in the panel, that data is never used

          16     for specific marketing purposes back to those

          17     individuals.

          18                 MS. ALLISON BROWN:      Thank you.     Paula?

          19                 MS. BRUENING:    Yes, I just wanted to talk a

          20     little bit about business use of public record

          21     information, and clearly the kinds of information

          22     that I talked about in my opening remarks are

          23     valuable to businesses in their marketing pursuits.

          24                 The problem comes with the fact that the

          25     information has been given up by the individual, is


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           1     given up so that they can participate, as Ted Wham

           2     said, in some very basic functions of life.               They

           3     want to drive a car, they want to buy a house.

           4     They've had a baby.         Someone's been born or died in

           5     the family.      Someone's received money in a will.

           6                 And I think that to say that Well, that's

           7     being used for other purposes, and that's just the

           8     way it is, I think is a -- is not a really very

           9     thorough analysis.         I think that if anything, what

          10     the information age, computerization, will allow us

          11     to do is give us an opportunity to re-examine those

          12     uses to decide whether those are appropriate,

          13     whether we can limit the access to that

          14     information, to the -- to something closer to what

          15     the initial collection was intended for.

          16                 MS. ALLISON BROWN:      Are there currently any

          17     restrictions on the use of public record data for

          18     marketing?      Anybody?

          19                 MR. WHAM:   There's one large restriction

          20     that I am familiar with and that is recently there

          21     was legislation passed at the federal level which

          22     gives consumers an opportunity to opt out of having

          23     their information about their automobile

          24     registration used for marketing purposes.

          25                 MS. BRUENING:     That's opt in.


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           1                 MR. WHAM:     Opt in, opt out, excuse me,

           2     okay.   So, but it was very, very significant,

           3     because prior to that legislation 46 of 50 states

           4     made their consumer automobile registration

           5     information available to the list rental

           6     marketplace, and what type of car you own and drive

           7     is extremely predictive of your household income.

           8     It's one of the most predictive items.

           9                 And so if I wanted to drive a car in the

          10     state of California, I didn't have any choice, that

          11     information was going to make it into R. L. Polk's

          12     database.

          13                 That's an example where there have been

          14     some restrictions recently.

          15                 MS. ALLISON BROWN:      Michael, I think you've

          16     been wanting to say something?

          17                 MR. PASHBY:     I was just going to say the

          18     magazines themselves collect a relatively small

          19     amount of information about their consumers.               The

          20     sort of information that they have is the date of

          21     purchase, the source of purchase, whether it's by

          22     the telephone or from a magazine previously bought,

          23     whether it's through direct mail.            The number of

          24     times they've purchased, the value of the purchase.

          25                 That's the basic information that a single


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           1     magazine would have, that information can become

           2     more valuable if you're a multimagazine publisher

           3     or you have other lines of publishing so you can

           4     then create a broader profile of the person if

           5     they're also buying books or magazines in different

           6     interests.

           7                 But the interesting thing about magazines,

           8     is that on a -- say a broad interest magazine, one

           9     of the seven sisters, when a publisher is trying to

          10     promote to the consumer, probably the most useful

          11     type of information that the publisher will have is

          12     cluster information.        If a person is of a certain

          13     age and lives in a certain area, that their

          14     neighbors may be likely to buy the same magazine.

          15                 The more specialized you get in a magazine,

          16     let's take a woodworking magazine, just because a

          17     person lives next door to someone who buys a

          18     woodworking magazine, there is absolutely no reason

          19     to suppose that the other person would want to buy

          20     one.

          21                 So, the use of the use of data for the

          22     small -- the small publisher, the small business,

          23     is becoming far more important.              We used to have

          24     something, until a couple of years ago, called

          25     Publishers Clearinghouse and American Family


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           1     Publishers, which mailed into every household in

           2     the country, and the consumer could self select

           3     their magazines.

           4                 Nowadays, those mailings are a thing of the

           5     past.   And information to a publisher has become

           6     far more important, to be able to target their

           7     consumers.

           8                 MS. ALLISON BROWN:      Betsy?

           9                 MS. ELISABETH BROWN:       There are fairly

          10     significant restrictions on credit card information

          11     and data that's used to actually make specific

          12     financial offers, from the list compiler companies,

          13     like Equifax and Experian.          And although I don't

          14     represent those companies, I'm not well versed in

          15     specifically what those criteria are, the financial

          16     services companies that we've worked with, they can

          17     only use certain information if they're actually

          18     making a credit offer, where they are willing to do

          19     a pre-approved credit offer, which means that they

          20     are going to say because I have pulled this

          21     information on you, I'm willing to say that I will

          22     guarantee that if I make this offer, you can have

          23     this product.

          24                 And that data cannot be used by another

          25     portion of the bank to make another type of offer,


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           1     whether or not extending credit.             So, those

           2     protections are in place, I don't have all the

           3     details about all the specifics, but it's important

           4     to know that they're out there.

           5                 MS. ALLISON BROWN:      Right, and the FTC is

           6     very familiar with the Fair Credit Reporting Act

           7     and the restrictions on credit data, so that's

           8     useful to know, although we are focusing here on

           9     data that's not being used for credit decisions.

          10                 Paula?

          11                 MS. BRUENING:    Yes, I just wanted to go

          12     back to the Driver's Privacy Protection Act.               I

          13     think that that piece of legislation really

          14     reflects heightened consumer concern about the

          15     incompatible use of this public record information,

          16     and it is a response to that.

          17                 And I think what it does is really offer to

          18     individuals who are participating in these basic

          19     life experiences, the same kinds of choice that we

          20     have come to expect in the commercial realm.               We

          21     require notice and choice when we're doing business

          22     now with a website, or with an organization, and

          23     something -- legislation like the Driver's Privacy

          24     Protection Act offers that same kind of consumer

          25     choice, which I think is critical here.


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           1                 MS. ALLISON BROWN:      Ted?

           2                 MR. WHAM:   Just a couple of concepts I

           3     would like to throw out there, and I would like to

           4     pierce a couple of notions about what's happening

           5     with data out there.

           6                 There is certainly data just being

           7     collected in a permissioned basis.             There is also

           8     certainly information which is being collected

           9     which is not personally identifiable and is going

          10     through a more of an aggregation, a blending type

          11     of a process.

          12                 Ms. Brown talked about some of the

          13     practices of Claritas, and Claritas uses largely,

          14     if not exclusively, nonpersonally identifiable

          15     information available from census tract records

          16     from U.S. Government surveys through the census

          17     process, but there's an immense amount of data

          18     which is collected which is not permissioned in any

          19     way, so the consumer is not being asked whether it

          20     is okay for that information to be shared with

          21     third parties, and there's an immense amount of

          22     information which is available that is, you know,

          23     personally identifiable and shared with third

          24     parties quite readily.

          25                 So, I would have you think, we have an


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           1     especially erudite audience in terms of knowing how

           2     this process works, although we're all here in this

           3     workshop, I think a lot of us have an understanding

           4     walking in the door how this process works.               But if

           5     you thought back to your five most recent

           6     purchases, I would suspect that there are very few

           7     of us in this room who would know whether the

           8     companies with whom they did that transaction have

           9     a process of sharing that information with third

          10     parties, okay?

          11                 So, you know, think about what you've

          12     purchased most recently, and there are many, many

          13     companies who the difference between profit and

          14     loss for those companies is made by selling their

          15     customer information to noncompetitive businesses

          16     who are going to be targeting the same type of

          17     business.

          18                 So, if I'm buying a computer peripheral and

          19     it's for an obscure, you know, system, other

          20     customers that sell computer peripherals to that

          21     same obscure system in a noncompetitive way, can

          22     almost invariably buy that information.

          23                 And the best example that I can give of

          24     that is the Bible for mailing lists in the United

          25     States, the Standard Rates and Data System, SRDS.


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           1     I have a friend who is a list compiler, and before

           2     this session, I called her and I said, How many

           3     pages is that book these days?             And the current

           4     volume exceeds 3,500 pages.          Something on the order

           5     of 100,000 distinct mailing lists are available for

           6     rental in the United States.           Most of those, the

           7     majority of those, with distinct personally

           8     identifiable information in them.

           9                 MS. ALLISON BROWN:      Win?

          10                 MR. BILLINGSLEY:     I would just like to make

          11     one other point and discuss an anomaly that we face

          12     in our data collection process, in processing

          13     warranty information.        Some of that data is

          14     collected via a web browser technology, fully

          15     Internet-based, and clearly when you collect data

          16     using that methodology, it comes under the fair

          17     information principles of notice, choice, access,

          18     security and enforcement, but there is also a large

          19     portion of that data that's not collected using

          20     browser-based technology.         It's collected using a

          21     dial-up, a synchronous modem capability with an

          22     application that is loaded in the PC.

          23                 So, some people would make the contention

          24     that since you're not on the Internet, that is

          25     offline data.      Now, you know, we have struggled


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           1     with how to deal with that issue, and the way we

           2     resolve it in Naviant is we treat data collected by

           3     either one of those two methods by the more

           4     rigorous online marketing data collection rules,

           5     but it is an anomaly that I think should be

           6     addressed so that there is clarity provided in how

           7     people that try to collect data in an ethical and

           8     permissioned way, how they really should operate

           9     when they face these kinds of dilemmas.

          10                 MS. ALLISON BROWN:      I do want to go back to

          11     some of the specifics about the data that are being

          12     collected here.      Betsy, you've talked a little bit

          13     about census blocks, zip code information, and zip

          14     plus four information.        Can you give us a sense of

          15     how many households are in a census block, versus a

          16     zip code block, versus a zip plus four?

          17                 MS. ELISABETH BROWN:       Yes, a zip plus four

          18     would probably be the lowest level of geography,

          19     not even geography, because there aren't

          20     boundaries, but the lowest level at which you can

          21     compile information that's not at household level.

          22     And generally a zip plus four can have anywhere

          23     from four to ten households in it.

          24                 Most of the zip plus four data that gets

          25     compiled, they have factors in there whereas if


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           1     there isn't enough information for a particular

           2     variable, that is data-filled so that you don't

           3     have any privacy issues.

           4                 The next level up, a block or block group

           5     tends to have anywhere from 250 to 350 households.

           6     Zip codes can have anywhere from a few thousand to

           7     25,000.      They're not really cohesive types of

           8     geographies.      And census tracks are anywhere from

           9     1,200 and up.

          10                 So, low enough levels of geography so that

          11     if you're a broad, when you're looking at some of

          12     the broad applications that we're talking about,

          13     when companies are just trying to understand the

          14     lay of the land, for example, generally zip codes,

          15     counties, census tracts are a good way for them to

          16     really understand what's going on in a marketplace,

          17     if they want to enter the marketplace or not.

          18                 And what we see is that there's different

          19     levels of using some of these data.             A lot of the

          20     clients that we deal with will use a lot of this

          21     information for more of their strategic marketing

          22     purposes, and when they go out to actually

          23     implement a program, they will buy a direct mail

          24     list.

          25                 The attributes that they use to understand


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           1     their total marketplace may be different than they

           2     actually use on the implemented direct mail list.

           3     And I think Lynn went over that a little bit, which

           4     is that what you'll find is that just because they

           5     know that a certain demographic characteristic is

           6     currently their, quote, best customer, when they

           7     actually go to pull the mailing list, there are

           8     many different market -- let's say environments

           9     that will cause them to maybe change a specific

          10     type of demographic that they're going after, or

          11     they'll look at a list and they'll find that the

          12     people that they most want to attract, let's say

          13     for private banking, are not direct marketing type

          14     of customers, that they really aren't going to

          15     reach them through a direct marketing list.               They

          16     don't exist much on the list, there isn't enough

          17     data on them and they're not really responsive to

          18     the list.

          19                 So, I think that sometimes people believe

          20     that these companies have an enormous amount of

          21     information, which they do, but in their practice

          22     of actually rolling out marketing programs, it's

          23     not as succinct as you might think it is, that they

          24     know exactly who their targets are and they can

          25     then implement against those targets.             They have to


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           1     really use a lot of strategy and analysis to just

           2     try to reach the right person.

           3                 I don't know if that's a -- there's just a

           4     lot of different ways you can use that type of

           5     information.       So, you can move from these

           6     geographic levels down to the household level, but

           7     you may not have an exact fit when you do that.

           8                 MS. ALLISON BROWN:      And we heard a little

           9     bit in the overview about how businesses append

          10     data from third party databases.             Can anybody give

          11     any specific examples of what types of data

          12     businesses append to their in-house customer files?

          13                 Win?

          14                 MR. BILLINGSLEY:     Well, just having a name

          15     and address and a flag that says you're an Internet

          16     household is not a very effective product in terms

          17     of providing marketing lists.

          18                 So, that base core of information is used

          19     to do a match with various data compilers and

          20     aggregators of information, and then we ingest

          21     certain attributes that are associated with that

          22     name and address.       And some of those attributes --

          23     and there's many -- but it would be things like

          24     income range, age range, gender, hobbies,

          25     interests, things of that nature, that we use to


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           1     embellish the marketing file so that we can do

           2     selects and generate lists that are targeted for

           3     specific products and services.

           4                 MS. ALLISON BROWN:      Does anybody want to

           5     add to that?

           6                 Michael?

           7                 MR. PASHBY:     Generally magazines will

           8     append information slightly differently, depending

           9     on the type of magazine.         A general magazine will

          10     probably append more information or have the

          11     ability to append more information.

          12                 I mean, clearly, the very basic information

          13     of age, income, family size, gender, is generally

          14     available to be appended to the -- to that list,

          15     but the more general the magazine, probably the

          16     more selections that will be made available.

          17                 There are a number of companies which will

          18     take a magazine list and add information to it,

          19     creating that database, and the sort of information

          20     that can be appended is everything that's being

          21     talked about today.         Whether it be the types of

          22     cars that people own, when they bought a car, the

          23     type of house, the value of the house.

          24                 There's a lot of information that can be

          25     appended, but in general, magazines tend to be the


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           1     starting -- the starting place rather than the end,

           2     with all that information appended to it, because

           3     they start -- you're starting with the general

           4     interest area, and then it is merged and purged

           5     with other lists during the marketing process.

           6                 MS. ALLISON BROWN:      Thanks.     Ted?

           7                 MR. WHAM:   A very typical use of appended

           8     information is to take a large universe file of all

           9     your customers and presume you're a cataloguing

          10     business that has, you know, for conversation's

          11     sake, a million customers that have done business

          12     with you over time.

          13                 You take a statistically representative

          14     sample of that, of perhaps 10,000 individuals and

          15     you go and append absolutely everything to those

          16     10,000 people you can possibly get our your hands

          17     on, from income, age, whether they've got children,

          18     the age of those children, whether they're

          19     grandparents, the type of interests that they have,

          20     all of the psychographic information, everything

          21     you can get to that.

          22                 And then you run that against statistical

          23     processes and say, Okay, tell me of all of these

          24     different processes, which one of these are going

          25     to be predictive of the ones I care about most.


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           1                 And as Ms. Wunderman pointed out this

           2     morning, different businesses care about different

           3     things.      Some businesses want lots of transactions,

           4     some businesses need to be very concerned about

           5     turnover, loss of the customers, some long distance

           6     carriers and cellular phone carriers, for instance,

           7     are extremely interested to make certain that

           8     they're getting customers who are going to stick

           9     with them and are not switchers and so forth.                    And

          10     it varies by businesses.

          11                 Once they identify which of those

          12     characteristics are particularly predictive for the

          13     customers that they want, they will then go to the

          14     remaining universe, those 990,000 names that they

          15     never did anything with, and they'll go back to the

          16     original appending firm and say, Please append

          17     these two or three variables that I want.                 Much

          18     more cost effective than appending all 30 or 50 or

          19     150 variables to the entire universe if only three

          20     of those are going to be productive for what you're

          21     trying to do.

          22                 MS. ALLISON BROWN:      Betsy?

          23                 MS. ELISABETH BROWN:       Yeah, that's a very

          24     good point.      I think one of the reasons that

          25     Claritas has been in business for 30 years is that


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           1     one of the things that we have been able to do is

           2     boil down a lot of those characteristics into

           3     segment codes, which makes it a lot easier.

           4                 I mean, we have seen in the financial

           5     services arena about ten years ago, they were one

           6     of the first industries to really take customer

           7     file records that they have done, they have a very

           8     -- financial institutions tend to have a very

           9     strong relationship, we talked about what a

          10     relationship was, with their clients.             There's a

          11     lot of trust there that the clients are giving a

          12     lot of very in-depth financial information to these

          13     companies.

          14                 Financial services companies are fairly

          15     conservative from what we've seen with what they do

          16     with the collected information, but in addition,

          17     they didn't really have the databases and the

          18     software capability to manipulate these gigantic

          19     files with so much information that they collect,

          20     nor did they have a good way of updating them.

          21                 So, even with them collecting all of this

          22     very personal information, they tended to use

          23     companies like Claritas to help them boil it down

          24     and understand from a one code type of an aspect

          25     what can we know about these people quickly and


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           1     easily without having to look at 100 or 200

           2     different variables that we've collected over time.

           3                 So, that's sort of in essence what a

           4     cluster code is.      The basic information we really

           5     need there is just an address that will allow you

           6     to say the likelihood is that these people live in

           7     an upscale suburban neighborhood or an upscale

           8     urban neighborhood.         And a real quick example of

           9     how that would be used would be if you knew -- if

          10     you just had straight demographics on someone and

          11     you knew you had two males, 30 years old, and you

          12     figured out that they make about $50,000, do they

          13     need individual life insurance or not.

          14                 Not quite enough information for you to

          15     make a decision on that, one male might be single,

          16     doesn't own a home, doesn't really have any

          17     dependents, where the other male might have a

          18     family with three kids, a house, a mortgage, so

          19     having a little bit more rich information on that

          20     would make you look at these two similar

          21     demographics and say I'm going to offer insurance

          22     to the one because they are going to need it and

          23     not the other.

          24                 Or another quick use is if they're only

          25     using their internal data and they know that they


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           1     have got a thousand people who have $5,000 in their

           2     checking account and always have had $5,000 in

           3     their checking account, by overlaying some of these

           4     segment codes, you can get a quick idea that five

           5     of those people, that's all they're really ever

           6     going to have in demand deposits at a bank, that's

           7     really all they're qualified to have, and this

           8     segment code would be something like a number, 27,

           9     that would represent a string of demographics that

          10     would predict that that person is probably in that

          11     demographic.

          12                 And you might find out that half of these

          13     people have a very high likelihood for using a loan

          14     product.      So, if you wanted to offer them another

          15     service, you would be better off offering them a

          16     loan product than the other half who you would be

          17     better off offering an investment product.

          18                 So, without having to know a ton of

          19     personal information, you can at least make some

          20     good guesses as to what the next most likely

          21     product is to offer those people.

          22                 MS. ALLISON BROWN:      And can you give us a

          23     couple of more examples of the segments, I think

          24     that Mary in the overview gave us a couple from a

          25     newspaper article, I think people might be


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           1     interested to hear what some of the other ones are

           2     and how many there are as well.

           3                 MS. ELISABETH BROWN:       Well, we have --

           4     there are several different segmentation systems,

           5     and a segmentation system really starts off as just

           6     a predictive model.         So, as Ms. Wunderman was

           7     saying earlier in the session, different industries

           8     care about different data.

           9                 So, a very generic model would be something

          10     like our Prism segmentation system that's based on

          11     the demographics of where you've settled, where you

          12     live, there are several more like that out there in

          13     the public domain, and they have -- some of them

          14     have nicknames, they tend to be sort of upscale

          15     suburban, like Blueblood Estates, Urban Singles,

          16     Upscale Urban Singles, Midscale, you know, Urban

          17     Dense Areas.

          18                 So, there's lots of different ways that you

          19     can just get a quick snapshot of what the

          20     settlement patterns are in that neighborhood.

          21                 And one of the things that we've -- because

          22     these things, as everyone said, as I think Paula

          23     was saying earlier, there's different uses for

          24     that.   It's important to know that you're in a

          25     suburban market area if you're trying to sell lawn


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           1     mowers.      You certainly don't want to be offering

           2     that to urban upscale singles in high rises.

           3                 So, some of the data is critically

           4     important to some of the things you're trying to

           5     sell.     It may not be very important at all to

           6     somebody who is selling a very targeted niche

           7     magazine that could appeal to many different people

           8     and has no relationship in terms of a geographic

           9     reference.

          10                 So, there are 62 Prism clusters, which

          11     means that we have predicted 62 different

          12     neighborhood settlement patterns.

          13                 Another segmentation system is based more

          14     on predicting financial services behavior, or

          15     telecommunications behavior.           In those segments,

          16     there are about 42 of the financial patterns, and

          17     they are anything from upscale suburban families

          18     with children, upscale suburban singles, upscale

          19     urbanites, those type of cluster types or segment

          20     types, and that's more based on a specific range of

          21     income, asset prediction, age and presence of

          22     children.

          23                 So, those -- they're slightly different,

          24     but, you know, basically you can start with

          25     anything.      In our audit of the convergence data,


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           1     which is the telecommunications, I think we have

           2     about 57 different segments and they're based on

           3     patterns of usage that we have seen in terms of

           4     product usage, and then on the back end, we infer

           5     the demographic segment for that.

           6                 MS. ALLISON BROWN:      Ted?

           7                 MR. WHAM:   There's a distinction which

           8     might be valuable for the FTC in doing this,

           9     there's two major categories of lists that you can

          10     consider.      One would be compiled list information,

          11     the other being response list information.

          12                 Compiled list information tends to be very

          13     broad coverage, it's information about who you are,

          14     whereas response list is more information about

          15     what you've done, what type of products you've

          16     done.

          17                 So, if I want to buy something that has a

          18     very broad geographic coverage because I'm offering

          19     a service that has something which is primarily

          20     defined upon where people live and the types of

          21     birds of a feather flock together type of analogy

          22     that is the basis for Claritas' business, then I am

          23     going to want that type of a compiled list.

          24                 If I'm trying to find people who have

          25     interest in doing very specific types of activities


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           1     and so forth, I am going to want to buy lists from

           2     similar businesses or businesses that point to

           3     similar types of people.

           4                 Response lists tend to be very narrow.           I

           5     can't typically take a response list and very

           6     effectively use that as an overlay tool against my

           7     universe of customers, and say tell me additional

           8     things about this, because if I took my, you know,

           9     300,000 customers and matched them against somebody

          10     else's 300,000 customers, I might find, you know,

          11     700 that match between those two of them.

          12                 I would have a rich data set for those, but

          13     I wouldn't have enough to make it economically

          14     worthwhile to do that.

          15                 Right now it's very easy to go from the hub

          16     out to the spokes.      Go to a company that sells a

          17     specific product and tell me all of the customers

          18     for that product or set of products that they sell.

          19                 It's extremely difficult to say that I want

          20     to start at a spoke and tell me all of the hubs

          21     that they're attached to, so go to a specific

          22     customer and tell me all of the products that they

          23     have bought within a category, or perhaps even all

          24     the products they have bought.

          25                 I will say that although you can't do that


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           1     today, there's an enormous economic potential

           2     there, and I am certain that many, many very bright

           3     people have spent a lot of time trying to figure

           4     out how I can come up with a master universe of all

           5     of the computing products that somebody has bought,

           6     or all of the clothing purchases that somebody has

           7     bought, because if I can do that, and if I'm a

           8     marketer selling, you know, an upgrade to a

           9     particular type of computer, that's the golden

          10     list, and I will spend a lot of money to rent names

          11     from that list.

          12                 MS. ALLISON BROWN:      Michael?

          13                 MR. PASHBY:     Yeah.   I think in the magazine

          14     industry, one of the most important sets of data

          15     that can be added to a magazine list is catalog

          16     information, and the merging of catalog

          17     information, because it does add the recency,

          18     frequency and value component to the magazine list.

          19                 If you go back to the woodworking magazine,

          20     a person may buy a woodworking magazine noting that

          21     they're interested, but if you can match that with

          22     catalog information about the purchase of tools or

          23     the purchase of other supplies, and they're showing

          24     some frequency there, that separates out one group

          25     of people who are peripherally involved to


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           1     high-volume purchases within that area, and I

           2     suppose it also gives a greater degree of value to

           3     the broader lists, like a news magazine or a seven

           4     sisters magazine, those people may be then

           5     segmented into very specific interest areas.

           6                 So, you have a -- one of the seven sisters,

           7     but you can match that with kitchen and food

           8     catalogs to show a high interest in cooking.               So,

           9     it then becomes much more interesting for other

          10     marketers, and much more targeted to the consumer.

          11                 MS. ALLISON BROWN:      And what do businesses

          12     do to ensure that the data that you collect are as

          13     accurate as possible?

          14                 Win?

          15                 MR. BILLINGSLEY:     Well, we do several

          16     things.      Marketing data does not have to be 100

          17     percent accurate to be effective, but you want to

          18     make it as accurate as you possibly can, within the

          19     economic constraints that you have to deal with.

          20                 But an example of some of the things that

          21     we do to make sure our data are accurate, even if

          22     you permissioned us to use your data in a product

          23     registration effort, you say yes, I would like to

          24     receive offers from third party -- from third party

          25     marketers regarding products and services that


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           1     would be of interest to me.

           2                 You don't automatically go into Naviant's

           3     database just because you have permissioned us.                To

           4     make sure that we're doing that accurately, we

           5     match your name and address against a public data

           6     source to make sure that you really are who you say

           7     you are.      That helps us get out the Donald Ducks

           8     and the Roy Rogers and some people who like to play

           9     games, but we find the utilization of the public

          10     compiled data, a very meaningful tool to ensure

          11     that our file is as accurate as it possibly can be.

          12                 MS. ALLISON BROWN:      And can you just

          13     clarify what you mean when you say public sources

          14     of data and compiled sources of data?             Can you be

          15     more specific?

          16                 MR. BILLINGSLEY:     Well, I probably

          17     misspoke, I probably should have said compiled

          18     sources of data which originated from public

          19     sources of data.      But it's a very effective way to

          20     make sure that data is accurate.

          21                 The other advantage that it holds for us is

          22     that we're very sensitive in not collecting data on

          23     children, and so by matching the name and a

          24     registration with an aggregator's data or a

          25     compiler's data, kids don't buy real estate


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          1     property and cars and things of that nature.

          2                MR. WHAM:   You haven't met my brother.

          3                MR. BILLINGSLEY:     So, it gives us a

          4     reasonable check to make sure that we're not

          5     collecting data on children.

          6                The other thing that we do to make sure

          7     data is accurate is we use the DMA suppression

          8     file, and we find that a very effective way to make

          9     sure that we don't include data in marketing lists

         10     to the people who have gone to the trouble to go to

         11     DMA and sign up for either their direct mail

         12     suppression file or telemarketing suppression file,

         13     and a new product they started just a few months

         14     ago which is an email suppression file.

         15                So, that's another way to make sure that

         16     the data we provide a marketer is accurate.             And

         17     the third way is the good old U.S. Post Office.

         18     All marketers use the NCOA process, or should use

         19     the NCOA process.

         20                MS. ALLISON BROWN:     And what does NCOA

         21     stand for?

         22                MR. BILLINGSLEY:     National Change of

         23     Address.     And the way that basically works is if

         24     you move and you fill out a card at the Post Office

         25     so your mail will be forwarded to your new


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          1     location, that information is collected by the Post

          2     Office, and the Post Office has this very large

          3     file of people who have relocated that's utilized

          4     to redirect their mail.       And the Post Office

          5     authorizes some 20-something companies to take this

          6     data and do a match to make sure that if you have

          7     an old address in your file, and you match the old

          8     address, then you can substitute the new address.

          9              And that's something that's been in

         10     existence for a long time, it's been used in the

         11     direct marketing world for a number of years.           It's

         12     a very effective tool to make sure that if you're

         13     doing a direct mailing of a marketing list, that

         14     the marketing collateral that you're spending hard

         15     dollars for to be delivered by the Post Office is

         16     truly deliverable.

         17              MS. ALLISON BROWN:      Thanks.

         18              Michael?

         19              MR. PASHBY: Some information really has to

         20     be accurate.    Some years ago I marketed a magazine,

         21     which I won't name, but, well, let's say a parents'

         22     magazine, and our primary source of readers were

         23     parents of newborn children.

         24              We were extremely sensitive to the problems

         25     inherent in that.     Somebody's buying lists of


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          1     potential new births, and some births obviously are

          2     not live births, and you are mailing to people

          3     saying congratulations, and that can be extremely

          4     sensitive, obviously.

          5               So, correcting data is very, very

          6     important.     We spent an awful lot of time and

          7     energy making sure that the sources we were

          8     compiling that data from were accurate.          If we

          9     found that there was an incidence of inaccuracy, we

         10     would cut off from that source.        And we would not

         11     buy information from that source ever again.

         12     Because of the responsibility to the consumers that

         13     we had.

         14               MS. ALLISON BROWN:     And can you be a little

         15     more specific about what the sources of that type

         16     of data are?

         17               MR. PASHBY:    The sources of that data were

         18     from -- no, I can't, they were from compilers.             It

         19     would come from doctors' office visits, from

         20     insurance companies, from a lot of different

         21     sources, I believe.

         22               MS. ALLISON BROWN:     And what did you do to

         23     make sure it was accurate?       How did you gauge that?

         24               MR. PASHBY:    We would -- we would do it

         25     from the complaint level.       That was the difficulty.


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          1     You were doing it after the event, but if one found

          2     that there was a degree of inaccuracy there, then

          3     we would cut off from that source.

          4              MS. ALLISON BROWN:      Ted?

          5              MR. WHAM:    You talk about data quality

          6     issues, it's useful to look at it in two different

          7     ways.   There's the quality of the data at the time

          8     that it's collected, and there can be errors

          9     introduced through typographical errors, or to

         10     purposeful, you know, fraudulence, Mickey Mouse and

         11     so forth, but there's also a more significant issue

         12     of data decay.

         13              Like if I, you know, show up in a database

         14     that I'm 25 to 34 years old, how old am I tomorrow?

         15     Okay?   So, date range information is very

         16     inaccurate.    Births, deaths, marital status and so

         17     forth, and people moving all the time, but we have

         18     a very mobile society.      So, the statistic that I

         19     heard, I can't vouch, say, for this, but the

         20     average data in a data base decayed at a rate of

         21     about one and a half percent per month, that was

         22     the inaccuracy that built up over time.

         23              The marketer has an absolute vested

         24     economic interest in making sure that that

         25     information is as accurate as possible.          If it's


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          1     inaccurate, they can't use it for the goal that

          2     they have.    So the alignment of the market

          3     interest, the consumer's interest of having

          4     accurate information is absolutely, I mean,

          5     perfectly together.

          6              MS. ALLISON BROWN:      We have time for one

          7     more comment and then we will go to questions from

          8     the audience.

          9              Betsy?

         10              MS. ELISABETH BROWN:       One of the things

         11     that I wanted to talk about data accuracy is that

         12     from the Claritas standpoint, we've seen a lot of

         13     different types of data.       We not only use Census

         14     data and other public domain data, consumer

         15     surveys, which is really self-reported demographic

         16     information, but in order to -- as I was talking

         17     about implementing, in order to actually implement

         18     an actual marketing program, we will take our

         19     segmentation codes and place them on list files,

         20     such as Acxiom, InfoUSA, Experian and Equifax, and

         21     many other compiled lists.

         22              What we have found many times, especially

         23     when we're using the types of models that I

         24     discussed earlier that go down to a more specific

         25     household level, in terms of the demographic


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          1     variables that we say are predictive of the

          2     behavior that we're trying to help our customers

          3     use, what we find sometimes is that these list

          4     sources have, I guess, decay, some other

          5     information, missing information, fill-in models,

          6     and we will show them that the data that we have

          7     proves out that their list is not really

          8     distributing the way the U.S. population

          9     distributes down to a low level of geography, a zip

         10     code, a census tract, a block group.

         11              So that we can take a look at a list of

         12     data out there and say you're reporting that only

         13     two percent are in the income category, 50,000

         14     plus, and we expect to see more like 27 percent.

         15              So, we have actually created models that

         16     help some of these list sources to improve their

         17     models, their income models or whatever that might

         18     be, to base them more on sort of a benchmark of

         19     data.

         20              So, there's a lot of -- it's sort of a

         21     symbiotic relationship, back and forth with

         22     Claritas and the list providers, sometimes they

         23     actually do change some of their model information

         24     on their file based on our information, and other

         25     times we just use it to assign what we think is a


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          1     more appropriate segment code, then they don't

          2     necessarily change that source of data, it depends

          3     on how they prioritize their models, and they

          4     prioritize their input sources.

          5              MS. ALLISON BROWN:      And I believe that

          6     Claritas also updates Census data, how do you do

          7     that?

          8              MS. ELISABETH BROWN:       On an annual basis.

          9     We update census data, again, from a list of a lot

         10     of sources, some of the postal information, some of

         11     the moving information, NCOA.        There's a lot of

         12     intercensal data that is produced that's not

         13     produced on 100 percent factor.

         14              In other words, there are many, many

         15     counties, communities and states that do many

         16     updates of data and information, and we take really

         17     whatever we can get that's available and utilize

         18     that data.    There are also many models that we have

         19     perfected over time, and we've been doing this,

         20     this is our third census that we've been actually

         21     updating information where we just do projections

         22     and straight line information based on other data.

         23              So, there are many sources that we can use,

         24     both census-type sources that we think we can have

         25     a high degree, feel that we have a high degree of


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          1     accuracy in terms -- and relevance, and some of the

          2     consumer survey research that's out there just

          3     allows you to take a look at shifting data in terms

          4     of how people are self reporting where their

          5     incomes are.

          6              And in addition, we do use a lot of the

          7     list data just to try to get a handle on which

          8     areas are growing.      Postal drop rates, I think ADVO

          9     counts, which is another list source where they

         10     constantly are updating where the postal drops are

         11     going.

         12              MS. ALLISON BROWN:      One thing that becomes

         13     clear pretty quickly is how integrated the

         14     aggregators are with the sources and how the data

         15     sort of rotate in and out of the different

         16     databases.

         17              I know when I open up the discussion for

         18     questions from the audience, if you have a question

         19     you would like to ask, please raise your hand and I

         20     will recognize you after one of our staffers comes

         21     over with the wireless microphone.         Please speak

         22     into the microphone while asking your question and

         23     state your name and organization before you begin

         24     your question so the court reporters can get an

         25     accurate transcript of today's proceedings.


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          1              MR. CATLETT:     Thank you, I'm Jason Catlett

          2     from Junkbusters.     I have a question for Mr.

          3     Billingsley.     I have an advertisement in a trade

          4     magazine from Naviant, it's quite amusing, it shows

          5     a biker with tattoos and a beard, and it makes

          6     light of the fact that he likes roses, and when

          7     you're going online, you might want to -- I infer

          8     from this advertisement -- you might want to pitch

          9     a banner advertisement for roses.

         10              Could you please tell us the process by

         11     which when this biker goes online and visits a

         12     website the website would know that he likes roses?

         13              MR. BILLINGSLEY:      Well, I'll talk a little

         14     bit more about that this afternoon, if you would

         15     like, because we'll talk about how the data is used

         16     to administer marketing programs, but basically, we

         17     would have business relationships with some of the

         18     ad serving companies that collect data anonymously.

         19              We would pass data attributes to those ad

         20     serving companies anonymously, so that they could

         21     then target a banner ad that was appropriate for

         22     that particular person, without ever knowing the

         23     person's name.

         24              MR. CATLETT:     Thank you.

         25              MS. ALLISON BROWN:      Don't forget to say


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          1     your name and affiliation for the record.

          2              MR. HENDRICKS:     Thank you, Evan Hendricks,

          3     Privacy Times.     I had one question, but first I

          4     wanted to follow up on what you said about the

          5     babies, because we always wondered about that, a

          6     lot of us.

          7              So, is it the doctor's offices would sell

          8     that information, or the insurance companies were

          9     some of the sources for people who are about to

         10     have babies?

         11              MR. PASHBY:     I am not absolutely certain, I

         12     believe that was, and this was some time ago.

         13              MR. HENDRICKS:     But I also wanted to

         14     comment, hospitals and birthing classes, and do

         15     they sell it to a compiler, is that how it would

         16     work?

         17              MR. PASHBY:     It's my belief that that's how

         18     the information was compiled.

         19              MR. HENDRICKS:     Okay.    The other thing is

         20     you said that the magazines, I think correctly, are

         21     at the front end of this process, much more so than

         22     some of the others who are at the back end, and in

         23     the UK, on a subscription form, the little cards

         24     that you get in your magazine, you have a check-off

         25     box, it says if you don't want your name shared,


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          1     check here, and send it in with your subscription,

          2     and one of the big problems in the U.S. is that at

          3     the point of the collection of data from

          4     individuals, people are not notified what could

          5     happen or given the chance to even opt out.

          6              And so, do you think that makes sense from

          7     a data practices point of view, and do you think

          8     that your association is ready to sort of endorse

          9     that and recommend it, you know, considering the

         10     growing strong feelings about privacy?

         11              MR. PASHBY:     I think from the standpoint of

         12     having to fill in, check a box on a card, what we

         13     found in any promotional activity, having the

         14     consumer take actions in a promotional activity

         15     reduces the response.      Therefore, we have cards

         16     which are prechecked, and yes I want this magazine,

         17     and then all they have to do is tear the card out

         18     and put it in the mail.

         19              But as I mentioned, we also do publish in

         20     the magazine the privacy policies and the ability

         21     to -- and the ability to call an 800 number or send

         22     to the magazine fulfillment house to be taken off

         23     the list.

         24              MR. HENDRICKS:     And of course what I'm

         25     describing wouldn't even, I mean someone could


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          1     still take the card and just throw it in the mail.

          2     It's only those people that took the time to look

          3     and see that there was a check-off box, and could

          4     check off they didn't want their name sold.

          5              So, what I'm saying is would it interfere

          6     with, you know, with what you're saying?          I mean,

          7     it wouldn't require the individual to check the box

          8     to say I don't want my name sold, it would only be

          9     for those individuals that cared enough.          And if

         10     this is practice -- am I confusing you?          You look

         11     like you're not following me.

         12              MR. PASHBY:     I'm saying that any time there

         13     is -- you give people the option in a promotion,

         14     the response declines.      And as we mentioned before,

         15     the whole use of information has been more

         16     effective and more efficient when we are spending

         17     or when businesses are spending 65 cents to a

         18     dollar to put a piece of promotion into the mail

         19     and you're getting single digit responses, you're

         20     trying to be as efficient as possible.

         21              MS. ALLISON BROWN:      Ted, do you want to

         22     comment on that?

         23              MR. WHAM:     Yeah, I absolutely would.        The

         24     basic fundamental question is if I -- if consumer X

         25     chooses to do business with Business Y, should


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          1     consumer X have the opportunity to say Business Y,

          2     don't contact me.     That's question A.

          3              And question B is, Business Y, don't

          4     share my information with company Z and Z sub

          5     one and Z sub two and so forth.        I fundamentally

          6     reject the notion that a consumer should be able

          7     to say I want to do business with a particular

          8     company Y, but that company can't follow on and

          9     make money out of that relationship.          I think

         10     that that has terribly negative consequences

         11     for the efficiency of economic transactions in

         12     this country.

         13              The reason we don't have mom and pop stores

         14     in the United States very successfully anymore and

         15     the reason we have Wal-Marts in this country is

         16     because they provided a very economically efficient

         17     way of delivering low-priced goods in the United

         18     States, for better or for worse, but the wheels of

         19     that continue to turn by having the businesses be

         20     able to use that information in the most effective

         21     way possible.

         22              MS. ALLISON BROWN:      We are trying to stay

         23     on a factual level here and stay away from policy

         24     discussions.

         25              MR. WHAM:    I couldn't help myself.


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          1              MS. ALLISON BROWN:      Does anybody else have

          2     a question?

          3              MR. DIXON:     Tim Dixon from Baker McKenzie.

          4     A question, just to pick up on that point to take

          5     it a little bit further.       When we talked,

          6     particularly when you mentioned the 30 million

          7     permissioned people or households in the database

          8     that you've got, what proportion do you know is

          9     that people who have done the sort of check box as

         10     opposed to the kind of I guess you could call it

         11     permission by inertia where they would need to read

         12     a privacy policy and then go through an active

         13     process of say opting out if they wished to opt

         14     out?

         15              MR. BILLINGSLEY:      I don't know the

         16     percentage.    We use in collecting the data, and

         17     this is primarily a decision that's made between us

         18     and the client that we're providing registration

         19     services for, we use three different kinds of

         20     permissioning processes.       I'll try to get through

         21     this without confusing myself and the audience, but

         22     we use the opt-in process, which we define as a

         23     permissioning question with either yes or no, not

         24     preselected.

         25              We also use the opt-out permissioning


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          1     process, which is a permission question with

          2     yes preselected, and in certain situations,

          3     not a lot, we use the explicit process, which

          4     basically is a bold statement that says, Do

          5     not provide us your marketing information unless

          6     you're willing to receive, you know, marketing

          7     offers.

          8               So, we utilize all three of those,

          9     depending upon the circumstance.           We do flag how

         10     the permissioning process worked for that

         11     particular consumer, and we are sensitive based

         12      on the permissioning process, how that

         13     information is used when it is -- when a

         14     marketing program is generated based on that

         15     permissioning.

         16               But the percentage, I don't know the number

         17     to be very specific about your question.

         18               MS. WOODWARD:    My name is Gwendolyn Woodard

         19     with Worldwide Educational Consultants.           I'm

         20     consumer A, and I decide that I'm going to attend a

         21     conference, so I go online and complete the form.

         22     The site that I'm going to complete the form on has

         23     a third party advertising network associated with

         24     it, okay?    As I complete the form, I notice in the

         25     URL the information that I put in the form is


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          1     reflected up there.

          2              So, as a consumer, how would I know how

          3     that information is going to be used, what

          4     databases will it be going to, especially if this

          5     third party advertising network uses a push and

          6     pull technology to disseminate that information to

          7     different databases?

          8              MS. ALLISON BROWN:      Does anybody want to

          9     take that on?

         10              MR. WHAM:    It's very useful if you're

         11     omniscient.

         12              MR. BILLINGSLEY:      I'll respond a little

         13     more.   The --

         14              MR. WHAM:    Comprehensively, perhaps.

         15              MR. BILLINGSLEY:      Yeah.   The way it should

         16     work, in my opinion, is if you're in that kind of

         17     situation where a redirect is occurring, without

         18     your knowledge, then the privacy policy should be

         19     very explicit in saying -- in discussing the

         20     redirect to another website, why that is occurring,

         21     what your choices are to either participate in that

         22     or not participate in that.       And disclosure, in my

         23     opinion, is the key for the consumer in

         24     understanding what is or is not happening to

         25     their data, particularly when you see it in the


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          1     URL.

          2              MS. ALLISON BROWN:      And let me just say

          3     that that's really a question that should be

          4     directed to network advertisers, and none of the

          5     panelists up here represent any network

          6     advertisers, and it's really a separate issue that

          7     we're not addressing today.       But, you know, that's

          8     a question for other people.

          9              We are running out of time.        Paula, did you

         10     want to comment on that issue?

         11              MS. BRUENING:     No, thanks.

         12              MS. ALLISON BROWN:      So, I think we are

         13     going to break for lunch now, and we would like to

         14     see everybody back at 1:00, and I want to thank the

         15     panelists for a very informative discussion.            We

         16     really learned a lot.

         17              (Applause.)

         18              (Whereupon, at 11:30 a.m., a lunch recess

         19     was taken.)

         20

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          1                               AFTERNOON SESSION

          2                           -    -    -    -     -   -

          3

          4     SESSION 3:    WHAT ARE THE BUSINESS PURPOSES FOR

          5     MERGING AND EXCHANGING CONSUMER DATA?

          6

          7     MARTHA LANDESBERG, Attorney, FTC, Moderator

          8

          9     PANELISTS:

         10

         11     MARTY ABRAMS, Executive Director, Center for

         12     Information Policy Leadership

         13     JOHNNY ANDERSON, Chief Executive Officer, Hot Data,

         14     Inc.

         15     C. WIN BILLINGSLEY, Chief Privacy Officer, Naviant,

         16     Inc.

         17     JERRY CERASALE, Senior Vice President, Government

         18     Affairs, Direct Marketing Association

         19     PETER CORRAO, Chief Executive Officer, Cogit

         20     Corporation

         21     LYNN WUNDERMAN, President/Chief Executive Officer,

         22     I-Behavior, Inc.

         23

         24

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          1                               SESSION THREE

          2          WHAT ARE THE BUSINESS PURPOSES FOR MERGING

          3                   AND EXCHANGING CONSUMER DATA

          4                    -      -       -      -      -      -

          5              MS. LANDESBERG:          If everyone would please

          6     take a seat, we would like to get started.                   We have

          7     a very full afternoon.

          8              Good afternoon.          My name is Martha

          9     Landesberg.    I'm an attorney in the Division of

         10     Financial Practices here at the Federal Trade

         11     Commission.    Let me just state, before we get

         12     going, we have a couple of announcements to make.

         13     I want to reiterate for everyone our ground rules.

         14              We request that you turn off your cell

         15     phones, please.      Once again we are going to very

         16     gently but firmly hold our speakers to the time

         17     limits we've discussed with them.               My colleague,

         18     Allison Brown, will be your timer.               She's right

         19     here, so just look for a sign from her that you're

         20     coming toward the end of your time, if you would.

         21              We will as time permits again have a

         22     question and answer session.             I'll ask again that

         23     you please identify yourself for the court

         24     reporters before asking your question.

         25              And finally, the record of the workshop


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          1     will be open until April 13 for submission of any

          2     comments or materials you want the Commission to

          3     consider, and we invite you to participate in that

          4     process.

          5                And also a fond welcome for those of you

          6     listening on the audiocast.       We apologize and

          7     understand there was some trouble this morning.            We

          8     hope things are up and running, and we're happy to

          9     have you with us.

         10                One last comment,    Michael Pashby in our

         11     prior panel has submitted a written statement

         12     regarding his comments on the use of medical

         13     records to identify new prospects, and that

         14     statement, as others, will be posted in the

         15     workshop record for everyone to have a look at and

         16     comment upon.

         17                Now, it's my pleasure to begin session 3 of

         18     our workshop, and this is where we really get to

         19     the meat and potatoes of what it is that businesses

         20     do with all the information we've been hearing

         21     about all morning, and what we're going to do here

         22     is have presentations from each of our panelists

         23     one by one.     I'll introduce them one at a time, and

         24     we'll take it from there, and as time permits have

         25     some questions too.


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          1                We'll begin with Marty Abrams.       Marty is

          2     the Executive Director of the Center for

          3     Information Policy and leadership at Hunton &

          4     Williams.     Before joining Hunton & Williams Mr.

          5     Abrams, or Marty, spent 12 years as Experian

          6     leading their information policy and privacy

          7     efforts.

          8                Marty?

          9                MR. ABRAMS:    Thank you very much.     As we go

         10     through this technical process of keying up my

         11     presentation, I would first like to thank the FTC

         12     staff for inviting me here this afternoon, and I

         13     would also like to thank them for the excellent

         14     program this morning.       I found it incredibly

         15     worthwhile and very informative, and hopefully we,

         16     this afternoon, can be just as informative.

         17                And we are talking about the uses and

         18     purposes for third-party data, and I think that the

         19     best place to start with understanding third-party

         20     data is understanding that it matches with in-house

         21     data, and it begins with the in-house data because

         22     that's what marketers begin with, their own

         23     customer base, understanding their own customer

         24     base.

         25                And that data comes from multiple sources.


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          1     The most important of those sources is directly

          2     from their customer, and the second is their

          3     relationship with their customer, and this is the

          4     majority of the data that the organizations,

          5     marketers, have in their databases and their files.

          6              And to understand that data, to make the

          7     best use of that data, they have to match that up

          8     with third-party data, and I'm going to be talking

          9     about purposes and not processes.          I have

         10     colleagues on this panel who I think are going to

         11     get more into the processes, but I would like to

         12     really put the emphasis on why the data is used.

         13              And there's a paper that really goes in to

         14     how this works that was released yesterday by the

         15     Privacy Leadership Initiative and ISEC Council of

         16     the DMA, and that paper is available on the DMA web

         17     site I believe.

         18              The first process, the first purpose, the

         19     first reason for using third-party data is just to

         20     make sure that your file is clean.          20 percent of

         21     the American population moves each year.            People

         22     use variations of their names.        They use variations

         23     of spellings of their name.       I'm Marty Abrams.          I'm

         24     Martin Abrams.     I'm Martin E. Abrams.       I've lived

         25     in California.     I've lived in Ohio.       I've lived in


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          1     Texas.     I sometimes buy from my office.

          2                So one of the purposes is to merge all of

          3     those Marty Abrams that are sitting on a company's

          4     file into one Marty Abrams so that I can market

          5     that to me in a unified fashion.

          6                The second is to have a deliverable

          7     address.     We often have multiple addresses,

          8     multiple variations of our addresses.          We

          9     abbreviate our address.       We move, and one of the

         10     purposes of using third-party data is to put that

         11     data together to have an address that is

         12     deliverable.

         13                And having a deliverable address means that

         14     you can deliver up to 15 percent more of the mail

         15     that you mail on a regular basis, and that has

         16     really cost implications for an organization.

         17                The second purpose is to truly understand

         18     your own customers, and I think Lynn Wunderman did

         19     a great job of describing that this morning.

         20     You're trying to understand what is similar about

         21     your customers and what is different, and one of

         22     the ways you do that is overlay your file with

         23     demographic information from a third-party.

         24                Examples of the type of data that you might

         25     overlay is age because age is very predictive of


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          1     where you are in your life-style, what you might

          2     buy and also inferred or modeled income, and again

          3     we have no exact income on any files other than the

          4     IRS's files, and those, of course, are not

          5     available, so we model income to be able to try to

          6     figure out how individuals are similar or

          7     different.

          8              And that information helps us understand

          9     who to market to, how to market to them, what type

         10     of products we should offer them in the future.            We

         11     begin to understand what is predictive of who's a

         12     buyer and what is just really a red herring, not

         13     very predictive.

         14              And then based on what we understand about

         15     our own customers, we can go out in to the

         16     marketplace and find individuals who are very

         17     similar to our own customers, folks who have very

         18     similar demographics, very similar psychographics,

         19     so we can begin to build our customer base with new

         20     customers who are similar to the folks that we are

         21     marketing to at the moment.

         22              And those sources include competitors,

         23     because organizations do exchange lists,

         24     noncompetitive marketers, and lastly aggregators or

         25     compilers, organizations that put together files of


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          1     individuals for other organizations to use who

          2     create mailing lists, and the results are more

          3     effective communication with existing customers.

          4              We can put together the right message for

          5     the right consumer at the right time to maximize

          6     that relationship with the customer.

          7              We also find prospects who we have the

          8     greatest probability of reaching, folks who are

          9     most similar to our existing customers, and more

         10     important, in this modern age, is we begin to

         11     understand how our customers are changing so we can

         12     begin to develop the products and services that are

         13     responsive to where our customers are going over

         14     time.

         15              Martha asked me to talk a little about the

         16     differences between marketers and aggregators in

         17     terms of the type of data they have and the type of

         18     processes.    When you think about marketers, the

         19     folks who actually market to you and I, first their

         20     data primarily comes from their own customers.

         21              Even if I overlay with data from third

         22     parties, if I'm a marketer, most of the data I have

         23     is from my own customers.       Most of that data is

         24     either self reported, I give you my name and

         25     address, I volunteer information with you, or comes


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          1     from my own experiences with you as a customer.

          2                And lastly, I as a marketer typically have

          3     regular contact with my customer and can

          4     communicate with you as my customer about both what

          5     I'm selling and my processes and the choices that

          6     you have.

          7                Aggregators have data on a broader

          8     population.     Some aggregators have most of the U.S.

          9     population.     The data comes from many, many

         10     sources.     As we discussed, some of them are public

         11     record sources.     Some of them are surveys.           Some of

         12     them are purchase data, but the data comes from

         13     many sources, not a single source.

         14                Typically the data that is held by an

         15     aggregator is not experiential data.          It tends to

         16     be demographic or psychographic data, and, last,

         17     typically the aggregator does not have regular

         18     contact with the customer, the consumer, but rather

         19     relies on the party that collected the data to have

         20     had that contact with the consumer, and most

         21     aggregators build systems to make sure they only

         22     get data from reliable sources.

         23                Thank you very much.

         24                (Applause.)

         25                MS. LANDESBERG:    Thank you, Marty.


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          1              Next we'll hear from Win Billingsley, the

          2     Chief Privacy Officer of Naviant.          Win?

          3              MR. BILLINGSLEY:      As we talked this

          4     morning, Naviant's key value that they bring to the

          5     marketplace is that we provide a database of

          6     consumers that are Internet enabled, and we sort of

          7     phrase our mission statement as Naviant is a

          8     leading provider of integrated, precision marketing

          9     tools for online and offline environments, so we

         10     can send marketing messages or marketing campaigns

         11     to consumers either through direct mail or through

         12     Email or through banner ads, so we work in both of

         13     those worlds and actually try to integrate those

         14     two worlds together.

         15              So we enable marketers to reach and build

         16     relationships with online consumers, and that's

         17     really Naviant's key sole business purpose.

         18              It's always tough to get a business model

         19     on one slide, so I tried to simplify this as much

         20     as I possibly can but still make it meaningful for

         21     you, and for Naviant the world begins with

         22     electronic registrations.

         23              We work with manufacturers that build

         24     computer hardware, computer software, and we

         25     facilitate the registering of their products and


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          1     services via the Internet.       Most of that data, once

          2     it's captured, is passed back to the original

          3     manufacturer.     We keep the name and address and

          4     designate a flag that this individual, since they

          5     registered their product or service via the

          6     Internet, is an Internet enabled household.

          7              So the data point for us begins with the

          8     name and address and an Internet household.              That

          9     begins the database processing, and there's data

         10     hygiene work that's applied to that database.              I

         11     talked about it a little bit this morning.              We use

         12     the compiler's information to make sure the names

         13     that we have are accurate in our database.

         14              We also append to that from the compilers

         15     various data attributes that enrich the data and

         16     make it meaningful and store and maintain the data.

         17     We also use the DMA's file suppression list to make

         18     sure that no one is in our database that has

         19     expressed an interest not to be.

         20              And I should have mentioned back in the

         21     registration process that there is a permissioning

         22     process that we go through before you ever really

         23     enter into this diagram.

         24              So once the data is there with an

         25     enrichment of data attributes, then we have the


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          1     ability to deliver this data for marketing purposes

          2     in a variety of channels in a variety of ways, so

          3     the data can be used to administer direct mail or

          4     Email campaigns.     It be used to deliver direct mail

          5     campaigns, telemarketing and targeted banner ads.

          6              And we analyze the data to determine counts

          7     based on criteria.      A client will come to Naviant

          8     and say, I'm looking for these kind of people, tell

          9     me how many you have in your database so we can

         10     analyze the data and determine how many people we

         11     have that fulfills that particular requirement, so

         12     that in essence is Naviant's business model.

         13              Now, why do we do all this?        What purpose

         14     does it serve the business community?          There are

         15     many.   I've just noted three here that I thought

         16     might be meaningful to you.

         17              One is we provide the data back to the

         18     registration client with the enhancement of the

         19     data attributes that we've associated so the

         20     registration client has some view of who is buying

         21     their products and services.

         22              That's very important to the manufacturer

         23     to know that because they -- since they distribute

         24     through some intermediary, they are not in direct

         25     contact with their customers.


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          1              So we would provide that back to the

          2     registration client, and the registration client

          3     would say, Gee, we have this kind of person buying

          4     this model of computer, how can we find more of

          5     those kinds of customers and launch marketing

          6     campaigns to increase and enhance our business.            So

          7     that's the way a registration client would tend to

          8     use this data is to find more like customers.

          9              Another way they would use the data is say,

         10     This particular product is being bought by

         11     individuals that have these demographic

         12     characteristics, so how can we fine tune our

         13     advertising so that we are visible, more visible to

         14     individuals with these kind of characteristics, so

         15     it's used for a variety of purposes by a

         16     registration client in order to improve the

         17     efficiency of their marketing effort.

         18              Another example would be a bank.         Banks

         19     love to promote their Internet banking packages and

         20     capability because they can provide enhanced

         21     service to their customers at a reduced cost for

         22     those of us who sign up for Internet banking.

         23              So a bank will come to Naviant and say, We

         24     really would like to promote our Internet banking

         25     capability, but we have a problem, we have no idea


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          1     in our customer base who is on the Internet and who

          2     is not on the Internet, and really rather than do a

          3     mass mailing to all of our customers, we would like

          4     to do some selection.

          5              So they would come to Naviant and say, If

          6     we give you a list of our customers, can you match

          7     those names against the names in your database and

          8     tell us which ones of those are Internet enabled,

          9     and we provide that service.

         10              And then the bank can then target or

         11     deliver a marketing campaign only to those

         12     customers who are Internet enabled, and they might

         13     even refine that further.       They might refine it by

         14     an age group or income level, but the primary key

         15     for the bank, if they're promoting their Internet

         16     banking package, is to only target to those that

         17     can actually use that product or service.

         18              A third example would be a retail dot com.

         19     A retail dot com wants to drive traffic to their

         20     web site, and you know you can always buy a

         21     billboard on Highway 1 or you can by an ad for the

         22     Super Bowl, but what they would want to do is to

         23     work with Naviant looking for a particular type of

         24     customer or individual that meets the selection

         25     criteria and then do a direct mail campaign to


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          1     those customers with some kind of marketing offer

          2     that would drive them to their web site so they

          3     could offer a product or service.

          4                Thank you.

          5                MS. LANDESBERG:     Thanks very much, Win.

          6     Our next speaker is Peter Corrao.          Peter is the CEO

          7     of Cogit Corporation.        Before joining Cogit.com, he

          8     was Division President of National Accounts

          9     Marketing for ADVO and the owner and operator of

         10     Sports USA.

         11                Peter?

         12                MR. CORRAO:    Well, thank you very much for

         13     inviting me here today.        Even though I come from

         14     one of the largest direct marketing firms in the

         15     country in ADVO, my comments today will mostly be

         16     related to online marketing and its applications.

         17                So I would like to talk to you today about

         18     the developing science of visitor relationship

         19     management and how it's applied on the web.

         20                Before I do that, though, let me tell you a

         21     little bit about the dilemma in commerce today on

         22     the Internet.       My company, like many other dot

         23     coms, is a highly capitalized, venture capitalized

         24     company.     We've taken around $50 million in

         25     investment to date and have yet to turn a profit


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          1     with our company.     We look similar to others that

          2     are out there.

          3              The Internet commerce dilemma can be

          4     summarized pretty much on the slide that I've shown

          5     you here.    There's two ways in a B-to-C environment

          6     that companies are making money or trying to make

          7     money on businesses on the Internet today.

          8              One is content sites, and they're heavily

          9     required or exclusively required, excuse me, to

         10     bring advertising in, so their model is all about

         11     advertising.     They deliver free content to

         12     consumers.     They put advertising up for sale.        They

         13     sell that advertising, and their business model is

         14     developed around that.

         15              The other side of that is the commerce

         16     sites, who are the E-tailers or retailers that are

         17     trying to sell their goods and services online, and

         18     theirs is a simpler model in that they're trying to

         19     gather customers, turn those customers into

         20     repeatable revenue.

         21              Here's the dilemma.      The Internet today

         22     isn't very efficient, even with the tools that are

         23     being applied to it.      Imagine that you bought

         24     133,000 banner ads, and you paid around $15 a

         25     thousand for it, which would be the current going


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          1     rate if you had a media buying firm dealing with

          2     either direct companies or with providers of those

          3     services.

          4              Of those ads that you bought out there,

          5     around $15 a thousand, you would have earned

          6     probably in the range of 300 visitors or so, so ads

          7     saying 300 visitors clicked through from those ads

          8     and came to your site to look.

          9              Of those only five took action, so you're

         10     getting started with the 133.        Now you're left with

         11     five that took action, and if they did take action,

         12     only 20 percent of those, or one, would return

         13     within the next year to buy anything from your site

         14     again.

         15              So just think of it from its most simplest

         16     format -- and you're only dealing with the

         17     advertising and attention components of being an

         18     Internet company, your acquisition cost for a loyal

         19     customer in this model is $2,000.

         20              So the imperative here is that the Internet

         21     has got to learn to be better and more focused on

         22     how it brings -- on how it brings its clients in.

         23              Let me show you a little bit about visitor

         24     relationship management and why it's important.

         25     Merchants want to increase desired action and get


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          1     consumers to buy things and services from their

          2     site.   Consumers want meaningful things to be shown

          3     to them.

          4                Merchants again want to display relevant

          5     content to their customers.       Consumers are

          6     demanding instantaneous and ever faster access to

          7     relevant content.     Doing that is expensive.

          8                Merchants want to optimize customer visits

          9     and generate sustainable profits.          Consumers expect

         10     free Internet, other than access, or inexpensive

         11     services at significantly discounted prices often.

         12     We think that visitor conversion is critical to

         13     making this model sustainable on the Internet.

         14                What Cogit does is capture registration

         15     information, I'm giving an example of what we do

         16     here, with and amongst our customers.          We match

         17     that registration information then to available

         18     data in the offline.

         19                We have two data sources primarily.          One is

         20     Equifax Corporation, which we use their own bulk

         21     data, and the other as of March 31 will be Claritas

         22     data, which will be entered in our file at the end

         23     of this month.

         24                When that information is matched, we

         25     irreversibly discard any personally identifiable


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          1     information that we found on the consumer, so if

          2     you registered by name, we get rid of the name,

          3     replace that with a random ID, and that random ID,

          4     we can't go backwards and reengineer to find out

          5     who that consumer is.

          6              We generate then an anonymous profile on

          7     that particular consumer, and then we allow our

          8     customers to, one, know who's visiting their site

          9     if they're not a customer yet, and, two, target

         10     them with relevant content that will then incent

         11     them to want to buy.

         12              We think privacy is a big piece of doing

         13     this.   Consequently our profiles are 100 percent

         14     anonymous.    We think consumer PII shouldn't be

         15     stored and used for further personalization.            We

         16     don't -- our visitors in the Cogit model are never

         17     tracked across sites, so we only know what you're

         18     doing on a specific site that you're dealing with.

         19              Information from one client is never shared

         20     with another.     Behavior information is

         21     never appended to our profiles, so the fact that

         22     you bought something on one of our customers' sites

         23     isn't appended to further your profile.

         24              Clients aren't allowed to store Cogit's

         25     returned data, and we semiannually have our web


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          1     site audited to validate that everything that we've

          2     got in our web site is, in fact -- in our policy

          3     is, in fact, what we do.       Ernst & Young does that

          4     audit.   We were the first cyber audit that they did

          5     and first audit attestation that they did.

          6              So the notion is from a visitor

          7     relationship management standpoint or knowing who

          8     comes to your site so you can do something about

          9     it, we think that that's critical to being able to

         10     sustain the Internet commerce that's having trouble

         11     sustaining itself today.

         12              We think that convenient and relevant

         13     information for consumers is what they demand and

         14     what they want.     Most of that information is given

         15     to the consumer free today, although it's given

         16     free against a model that is not panning out from a

         17     general business model standpoint, and we think

         18     that there's an optimum balance between

         19     personalization and privacy.

         20              We think we've come up with a method of

         21     doing that and one that doesn't offend the consumer

         22     and their ability to do it but yet does give the

         23     tools needed to the sites so that they can continue

         24     to make money in their commerce sites and/or money

         25     in their content sites.


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          1              So thank you.

          2              MS. LANDESBERG:      Thank you, Peter.         Our

          3     next speaker is Johnny Anderson, President and CEO

          4     of Hot Data doing double duty for us today.

          5              MR. ANDERSON:     Thanks, Martha.      I wanted to

          6     take a second and kind of look at a higher level on

          7     how companies interact with customers and what are

          8     the analytic and customer relationship management

          9     applications that are driving a lot of the demand

         10     for third-party information.

         11              This really depicts a pretty typical

         12     architecture of a CRM application that any marketer

         13     would use one or more components of.          At the bottom

         14     what you see is customer touch points.          That's how

         15     businesses will either get information from their

         16     customers and prospects or communicate with them.

         17              So on the left-hand side you see kind of

         18     the outbound communications media that a business

         19     will use to communicate directly with the customer.

         20     This is not TV and radio ads and so forth, but

         21     they'll really use kind of Email, direct mail and

         22     maybe some telemarketing either from an in-house

         23     organization where they have their own telesales

         24     organization or a contracted organization.

         25              And on the right, what you will see is


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          1     really the way that people get information and then

          2     sometimes communicate with their customers, and

          3     that would be kiosks, which is kind of a new

          4     emerging way to communicate with customers.             You're

          5     starting to see kiosks in, of all places, baseball

          6     parks where the San Diego Padres have a customer

          7     loyalty program.

          8              And a customer puts in their preferences

          9     when they sign up for the customer loyalty program.

         10     When they visit the ball park they'll get the 10

         11     percent off coupon for a specific restaurant that

         12     happens to be in the area.

         13              In-house or in-store communications, and

         14     we're now starting to see companies even like food

         15     chains implement customer loyalty programs where

         16     transactions are tracked so that customized offers

         17     and customized coupons can now be delivered to a

         18     specific consumer.

         19              Call center being somebody is calling an

         20     800 number and talking to a customer service

         21     representative, either a sales rep or a support

         22     representative, and then obviously the web as one

         23     of the major ways that customers are getting

         24     information about products and services that a

         25     company may offer.


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          1              It is a web visit where they may fill out a

          2     form that says, "Send me more information," and so

          3     that companies are getting some explicit

          4     personalization type information that says, If I'm

          5     going to a dot com or another sports kind of web

          6     site, I'm going to check that I'm interested in

          7     golf, so send me some golf information.

          8              That's really stored in an operational data

          9     store that's used for day-to-day kind of activity.

         10     That's the data store that a CRM system may use so

         11     that sales reps and a call center get access to a

         12     customer record when an inbound call comes in.

         13     They may have some transaction information, maybe

         14     used for actually back-end processing where order

         15     fulfillment takes place, but it's the data store

         16     that's being used on a day-to-day basis.

         17              Some companies actually will have a

         18     separate data store that is used for data

         19     warehousing and the analytics, and that information

         20     is transferred back and forth with some

         21     synchronization, extraction, transformating and

         22     loading where a lot of information is both

         23     rationalized, and that is, Bill Smith is also

         24     William Smith and Bill Smith came in through the

         25     Web and William Smith called in on a call, and that


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          1     information is rationalized.

          2              And then the analytical tools at the top

          3     are the things that are really driving a lot of the

          4     marketing automation pieces, and that's things like

          5     campaign management.      If I understand who my target

          6     audience is and who my best customers are, let me

          7     generate a campaign and plan that campaign and

          8     implement that campaign and then manage the results

          9     from that campaign.

         10              RFM analysis has been talked about already.

         11     That's really understanding recency, frequency and

         12     monetary transactions on a per customer basis,

         13     really to understand who my best customer is, and

         14     then to clone that customer and find more that just

         15     look like them or be able to recognize them when

         16     one of those comes into one of my touch points.

         17              Category management's driven from that, and

         18     that's really driving product synergies so if

         19     somebody buys a particular product, they know,

         20     through doing some category management analysis,

         21     retail analytics, that a customer is likely to

         22     purchase an additional product.

         23              And then that starts to drive a lot of the

         24     tools that marketing managers use to understand

         25     their business, and those are things like data


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          1     visualization, being able to look at customer maps

          2     for drive time analysis and trade area analysis;

          3     reporting, so aggregate reporting on a per product

          4     or per customer segment or per campaign

          5     performance, and then other kinds of data mining,

          6     being able to mine data that's transactional and

          7     maybe inventory management type applications and

          8     merging that kind of piece together.

          9              Where Hot Data fits is really on the left

         10     side of the equation, and that is we provide a set

         11     of services that offer data quality and enhancement

         12     of those databases, whether that's an operational

         13     database or a data warehouse database.

         14              The business models that are really in that

         15     kind of space, and not just Hot Data related but

         16     kind of industry wide, are really geared around

         17     four sets of services.      Marty mentioned address

         18     data quality, and that's a big part, not only in

         19     the real world, but also on the electronic commerce

         20     side of being able to verify that an address is a

         21     deliverable address, that it is standardized to

         22     Post Office standards so I get a better postal

         23     rate, that I can manage the consumer's change of

         24     address, i.e., the 20 percent of consumers that

         25     move every year, that that can be tracked in a


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          1     database, and then geo-coding addresses so that

          2     addresses can be looked at in terms of where people

          3     live.

          4                Data rationalization and standardizing,

          5     that's understanding Bill Smith is William Smith.

          6     Consumer data enhancement is enhancement of

          7     demographic, psychographic, and business data

          8     enhancement.     The flipside for us is that we also

          9     deal with business to business marketers.

         10                In a broad sense this is the architecture

         11     that we use.     We house consumer household

         12     information.     We house carrier route information.

         13     We have services that house standardization, area

         14     code update changes and U.S. national change of

         15     address.

         16                We provide customer data integration

         17     technology to our customer, to our customers who

         18     are contractually bound to the privacy use

         19     restrictions and viewing restrictions that we pass

         20     along to them, and that really from one click of a

         21     button they can profile a subset or their entire

         22     database and do things like address standardization

         23     and profiling.

         24                This is kind of a bright real world example

         25     of what one of our customers uses, and they're


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          1     really a wireless broadband provider that was

          2     really looking for -- to really target market.                I'm

          3     sure a lot of DSL, everybody has probably got DSL

          4     things in the mail, and when I did, I went to try

          5     to sign up for it, and I was out of range, and I

          6     couldn't sign up.

          7               So they got me to respond, but they got me

          8     to be hostile because I was outside the range, so

          9     our customer really wanted to target people outside

         10     10,000 foot radius from a central office, and after

         11     having done some ideal customer profiling for them,

         12     identified who their target should be and who their

         13     ideal target should be in that particular

         14     environment.

         15               I am out of time, and the band's about to

         16     start playing, so I'm going to turn it back to

         17     Martha.

         18               MS. LANDESBERG:     Thank you, Johnny.        Our

         19     next speaker is Lynn Wunderman, CEO of I-Behavior,

         20     also serving two roles for us today.

         21               MS. WUNDERMAN:    Actually, I don't know if

         22     it's true, but I heard a rumor here today that the

         23     real reason we've been asked to be here is that

         24     we're being auditioned for participants on a new TV

         25     game show.     It's called "Database Marketing


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          1     Survivor," you know the one where they put a bunch

          2     of database marketers in a room in Washington to

          3     talk about their business models.           Last one

          4     standing wins a million dollars.           Anybody else hear

          5     this?    I think I probably better keep my day job.

          6               Anyway, I'm here to talk to you today about

          7     a company called I-Behavior, and I founded this

          8     company with my father-in-law, Lester Wunderman,

          9     yes, there is a family relationship for those who

         10     have asked, and we created this company largely

         11     with the vision to bring a lot of the art and

         12     science of traditional direct marketing to the web

         13     and to new media.

         14               Now, our formula is really very

         15     straightforward.     Everything that we do, the way we

         16     manage data, the way we structure it, the way we

         17     analyze it, all the products that we create from

         18     data has its roots in a very simple but proven

         19     principle we've known for decades as traditional

         20     direct marketers.     You've heard this theme a lot

         21     today.    Past behavior is the single, strongest

         22     predictor of future behavior.        It's no coincidence

         23     that our name is I-Behavior.

         24               Now, we take for granted gaining access to

         25     behavioral information in direct mail.           We can pick


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          1     up the phone.     We can call a list broker, and we

          2     can rent names from one of any 30,000 plus odd

          3     lists based on what people bought, when they bought

          4     it, how much they spent.

          5              Can't do that today on the Internet.           That

          6     type of behavioral information doesn't exist.            We

          7     have interest categories.       We have product

          8     registration data, but not that level of

          9     behavioral, experiential information.

         10              Beyond that, what's been largely unexplored

         11     is the opportunity to target and understand

         12     consumers based on their multi-channel buying

         13     behavior.    Even though we know that a merchant's

         14     multi-channel shoppers, the buyers, tend to be

         15     their best customers, in fact statistics show that

         16     they're worth an average of over 30 percent more

         17     than their single-channel counterparts, and we know

         18     that those customers that can master these tools

         19     will be the multi-channel winners of tomorrow.

         20              So to fill this gap in the marketplace,

         21     we've created one of the first, if not some say the

         22     first, cooperative database that truly combines

         23     highly detailed, transactional information on and

         24     offline on known direct channel buyers.

         25              Now, before anybody starts slinging arrows


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          1     up here, I will tell you that there are significant

          2     privacy safeguards built into this product, but

          3     before I get to them, I want to make sure that

          4     everyone has an understanding of the business model

          5     so they have the context in which to evaluate them.

          6              First of all, I mentioned earlier for those

          7     of you who are not familiar with the concept of a

          8     co-op database, it's created when marketers pool

          9     all their customer names and related buying

         10     behavior in order to gain access to names of

         11     qualified prospects as well as additional data on

         12     their current customers that would otherwise be

         13     unavailable in the marketplace by which to build

         14     their business.

         15              Now, this is a proven business model in the

         16     offline catalog industry.       I'm sure you're probably

         17     familiar with names of companies such as Abacus.

         18     Experian has a similar offline product catalog

         19     called Z-24.

         20              The reason that these products are so

         21     successful is really two basic things; number 1,

         22     the superior performance of a list.         The fact that

         23     all this rich behavioral information goes in to

         24     fuel the selections, they have significantly higher

         25     response rates than the average mailing list,


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          1     outside mailing list, by which one would normally

          2     have the opportunity to do prospecting in the world

          3     today.

          4              Secondly, in terms of their pricing, they

          5     are offered to members, and by the way only members

          6     have access to these names.       You have to contribute

          7     in order to get data out.       Members get access to

          8     these names at a preferred rate, virtually half the

          9     price of a standard vertical list today.

         10              So what we're doing at I-Behavior is we're

         11     expanding this context so that beyond catalogers

         12     we're including publishers, E-tailers, club and

         13     continuity marketers, virtually anyone who does

         14     direct-channel marketing, and we're creating it in

         15     a way that's a true multi-channel vehicle so that

         16     you can target more efficiently the Email and

         17     postal mail today.      Tomorrow it will incorporate

         18     wireless, interactive television and virtually all

         19     forms of addressable media.

         20              Now, there are two reasons why marketers

         21     want to gain access to the data.           The first and

         22     most obvious is prospecting, and certainly you can

         23     see by the way that we consolidate information

         24     across marketers, across channels, we have a much

         25     more complete portrait of these shoppers, their


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          1     buying patterns and their value.

          2              This thing is bigger, smarter than any

          3     single marketer could ever create on their own.

          4     That's because when we take data in from a

          5     merchant, we get it down to each transaction, the

          6     entire shopping basket of a person's purchases so

          7     that we can collect all the rich recency,

          8     frequency, monetary value information we've been

          9     talking about earlier today as well as we also get

         10     one component that's generally not been available

         11     in co-op databases previously.

         12              Instead of just giving to each marketer who

         13     participates, to all their transactions, some high

         14     level general category associated with the affinity

         15     for that particular property, we actually get item

         16     level data so that we know exact products down to

         17     the SKU level that an individual is buying, and I

         18     can tell you that that is incredibly powerful

         19     information from a predictive standpoint when

         20     you're looking for those subtle predictive patterns

         21     in the data for those kinds of tools that we were

         22     talking about earlier today.

         23              Now, we have proprietary technology that

         24     allows us to create a common language across

         25     marketers that we can really leverage the value of


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          1     this product level information.        We also have

          2     proprietary technology that helps us link multiple

          3     Email addresses back to a single individual and

          4     optimize the match between the on-and the offline

          5     data, but I'm not here to talk to you about some of

          6     our competitive strengths.       I really want to focus

          7     on the business model itself.

          8              There are two key features that I think are

          9     inherent in the kinds of co-op you should be aware

         10     of.   First of all, this is the only place on the

         11     Internet today where you are assured of not talking

         12     to your own customers as prospects.          That's

         13     because, unlike in the traditional direct mail

         14     community where mailers are really familiar and

         15     comfortable with the process of sending their files

         16     to a compiler -- I'm sorry, to a reputable service

         17     bureau, I see I'm getting short on time here,

         18     whereby they can exchange their names, they can

         19     unduplicate them, you can suppress out your current

         20     customers, we already know who your customers are

         21     because we already have them in the database.

         22              Secondly, it's a closed loop process so

         23     when we send an Email to someone about this

         24     product, they may read the Email.          They may not

         25     respond to that particular communication, but if


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          1     they remember the marketer and two or three weeks

          2     later they have a particular need, they go to the

          3     Web site and they buy, we would know about that,

          4     not because we're tracking anything in terms of

          5     cookies.     I don't want to get anywhere near that,

          6     in terms of your surfing of the Web, but we know

          7     because the merchant sends us back their data.

          8                We match that back to our contact history.

          9     We get smarter about targeting you the next time

         10     around in the future, even if we don't get credit

         11     for that response, because we maintain a

         12     professional history on the file.

         13                Now, the fact that we maintain a promotion

         14     history is really of true benefit to both the

         15     consumer and to the merchant.        First of all, it

         16     allows us to identify habitual non responders.

         17     That's very important.      Don't want to keep mailing

         18     to people who don't want to purchase from you.

         19                Secondly, we keep tabs on any correlating

         20     between the volume of mail so we can look at your

         21     individual saturation rate and any negative

         22     correlation against response.

         23                Now, the second way that mailers want to

         24     gain access to this database is to be able to

         25     target their own and mine the value of their own


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          1     customers.     Now, we can do that to help them expand

          2     it into new categories, to reactivate lapsed

          3     buyers, to turn their offline buyers to more

          4     efficient online buyers.

          5              So, for example, if an apparel merchant

          6     comes and says, "We're expanding into swimwear,"

          7     and they may say, "I want to target everybody in

          8     own our file that has bought from us in the last

          9     12 months, who has bought swimwear from any other

         10     merchant in your database.       We'll create a one time

         11     file, do a one time mailing.        Anybody who responds

         12     to that mailing, they own the rights to that data.

         13              But we will not append any information

         14     permanently to that marketer's files, not an Email

         15     address, not a transaction because we don't have

         16     marketing rights, and there are privacy issues

         17     attached to that.

         18              What we will append on an ongoing basis are

         19     model scores.     Remember from our discussion

         20     earlier, it's nothing more than a mathematical

         21     probability.     I have a .8, you have a .4.       I'm

         22     twice as likely to buy swimwear as you are.             Even

         23     if we have the same score, you don't really know

         24     what it is in terms of personally identifiable

         25     information that got us there because it's a


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          1     formula, and it's made up like a Chinese menu.             I

          2     got there because of age and income.          You're there

          3     because you just bought shoes over the Web and you

          4     have kids.     We don't necessarily have the same

          5     profile.

          6                I will also say that there's some other

          7     creative ways to use these tools.          In fact you can

          8     use them to serve up dynamic content right on the

          9     Web site to register users.

         10                Now, I promised you that we would talk

         11     about privacy, and I just want to say that in terms

         12     of the offline data, we follow the industry

         13     standard which is opt-out for direct mail

         14     solicitations.     We're not looking to reinvent the

         15     wheel in direct marketing from that standpoint.

         16     All of our member companies actively notify the

         17     people who buy from them that they share data with

         18     trusted third-parties.

         19                If they choose not to do that, they send a

         20     request to the merchant.       That data comes back to

         21     us in one of their updates, and that information is

         22     removed in the course of our database build.

         23                However, online is a different animal, and

         24     we know that people have different expectations

         25     from a privacy perspective online.          We respect


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          1     that.     We've been extremely proactive on the

          2     privacy front going what we believe is really above

          3     and beyond today's best practices in industry

          4     standard.

          5                First of all, this is a double opt-in

          6     database, so in other words, no consumer will be

          7     targeted for an Email communication unless they

          8     raised their hand, self selected, and said they

          9     actively agreed to participate.         When they do, we

         10     allow them to tell us the maximum number of Emails

         11     that they're willing to receive in any time period.

         12                We will not exceed that.         We give them

         13     access and control to the aggregated level of

         14     information that we utilize for selections, so they

         15     can come in, request a copy of their profile.              They

         16     can say, "Don't use this Email address, use that

         17     one.    I know I bought sports equipment in the past;

         18     but you know what, that was just a gift, please

         19     don't send me any more sports offers."            Obviously,

         20     they can opt-out at any point in time.

         21                I will also tell you that we do not allow

         22     marketers to cherry-pick this file.            They can not

         23     come in and say, We want people of this age and

         24     this income who bought these products in this time

         25     frame."      Not online, because as far as we're


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          1     concerned, anyone who would respond to that kind of

          2     an offer, you could attach that purchase history

          3     and that profile of the individual and you would be

          4     releasing personally identifiable information, and

          5     we don't think you should do that.

          6                So we work with the marketer to understand,

          7     What's the product you're selling, what's your

          8     price point, what's the promotional nature of your

          9     offer.     We construct targeting tools, create a

         10     composite score, rank them on the database.             All

         11     you know is these people had a score of .75 and

         12     above.     That's nothing in terms of personally

         13     identifiable information.

         14                Finally, we do not release any of the data

         15     on this file to -- no addresses -- to anyone for

         16     any purpose beyond a reputable service bureau

         17     offline.     They go seemlessly through our own

         18     service bureau online.      They never get access to

         19     the data.

         20                I will also tell you that we took this

         21     concept into consumer research.        We told them what

         22     kind of data we have, how it benefits them, what we

         23     do with it, what we don't do with it, and they were

         24     not only very positive about the concept, they

         25     actually embraced our privacy policies.


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          1              So, in summary, I just want to say that we

          2     have a proven business model in terms of the

          3     behavior-based co-op, which has been expanded to

          4     meet the unique needs of multi-channel marketers.

          5     We have superior technology and a level of data

          6     that helps us generate superior behavior

          7     predictions at a good value to our clients, and

          8     we're doing it in a way that we believe respects

          9     consumer privacy and is looking to set new

         10     standards in that area.

         11              Thank you.

         12              MS. LANDESBERG:      Thank you, Lynn.     The last

         13     speaker on our panel today is Jerry Cerasale,

         14     Senior Vice President for Government Affairs at the

         15     Direct Marketing Association.        Jerry joined the DMA

         16     in January 1995 and is in charge of the DMA's

         17     contact with Congress, all federal agencies and

         18     state and local governments, a very busy man.

         19              Thanks for being with us.

         20              MR. CERASALE:     Thank you, Martha.      Lynn,

         21     just so you know, for this panel, I'm the last one

         22     standing, so send the check.

         23              Before I get to my slides, I wanted to

         24     just, first of all, thank the FTC for having me

         25     here and for having this workshop.


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          1                I wanted to make three quick points.         The

          2     first is that the information that we're talking

          3     about today is marketing information, information

          4     that's used to send you a solicitation, an offer

          5     for something.     It's not being used to give you

          6     employment or refuse employment or anything of that

          7     sort or for insurance, whether or not you're

          8     eligible for insurance and things like that.

          9                In particular as well, just to get on a

         10     topic that was raised, DMA guidelines would also

         11     say that information that comes from a doctor-

         12     patient or medical provider-patient relationship

         13     should be only on a consent basis, and that's

         14     pretty well standard within the industry as far as

         15     we know.

         16                Second, the information that you gather is

         17     basically to send a solicitation about a particular

         18     product, so it only goes once.        It's a one-time use

         19     that people use to try and find new, prospective

         20     clients.

         21                And third is that, generally speaking, the

         22     information doesn't go to the marketer.          What you

         23     receive is, the information goes to a service

         24     bureau that is either sending out -- making phone

         25     calls or sending out the mail pieces and then


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          1     returned back to the -- it's not used again, so

          2     it's that kind of information that we're talking

          3     about.

          4              Martha asked me to talk specifically about

          5     prospecting and why we do it and how is it used, so

          6     I wanted to use because of my -- to make it simple

          7     so I could understand it, use some hypotheticals,

          8     and if Allison gives me time, I'll go to some more

          9     specifics after the hypotheticals, depending how

         10     nice she is to me.

         11              The first is the idea of a new company.              I

         12     just started something, I have a brand new idea.

         13     Think about Marty's view when he had the list of

         14     what marketers have and what compilers have.            He

         15     said marketers have information on their customers.

         16              Well, I'm brand new.       I haven't got

         17     anything.    I have no customers, nothing.        I have a

         18     new idea for a new golf club, so what am I going to

         19     do?   And the other thing is I'm going to sell it

         20     over the Internet.      That's what I want to try and

         21     do.   So what do I do?

         22              Well, I'm going to go to a golfing magazine

         23     likely and try and see if I can rent the list,

         24     because those are people I would assume would be

         25     interested in golf, and I'm going to use this list


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          1     to mail it because I'm starting to find -- and

          2     we're starting to find that mail, snail mail is

          3     being used successfully to drive customers to Web

          4     sites to make sales.

          5              We find that from our catalogers and so

          6     forth, that it is a very important piece tool in

          7     E-commerce or multi-channel marketing.          So, this is

          8     what I want to do so.

          9              So I go and get the golfing magazine list,

         10     and it's one million names, and that is

         11     outrageously expensive to send, so I can't do it,

         12     so I want to go -- I go to an information compiler,

         13     and I say, Look, I would like to have some more

         14     information from an information provider, I want to

         15     try and narrow this list down.

         16              I think that maybe this piece would likely

         17     be best suitable for women.       I think that it may be

         18     for women probably over 40 because it helps give

         19     distance, and if you really swing hard it messes up

         20     the way the ball goes, so I think that that's what

         21     I want, and I know that likely I think that it's

         22     expensive, higher income, let's see if I can get

         23     that from Census data.

         24              I'm selling it over the net so I want to

         25     use Win's stuff to make sure they're Internet-


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          1     enabled, and I think maybe five miles from a golf

          2     course.      Let's just pick these out of the air.

          3     Maybe we can get these things, and it finally comes

          4     down to 500,000 pieces, people that I can send this

          5     to, and that's within my budget, and that's what

          6     I'm going to use, and that's how a marketer can try

          7     and prospect a new start-up business.

          8               Without the information from third parties,

          9     I can't start.      I cannot start a catalog.       I cannot

         10     start driving people.       I can try, put it up on a

         11     Web site, see if search engines get me some people,

         12     but that's not going to be a viable economic model.

         13               Another idea for prospecting is a current

         14     marketer looking for new customers.          The idea I'm

         15     trying to use here, I'm selling books and probably

         16     I'm selling books online, I'm trying to use online

         17     and offline because this is supposed to be online

         18     and offline information so these are my examples.

         19               And I know because I sell books that

         20     they're upper income, they're Internet-enabled and

         21     these people that purchase from me happen to be

         22     people who live more than 20 miles from a book

         23     store and more than a hundred miles from a discount

         24     book store, so that's my marketplace of my current

         25     set of customers.


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          1              40 percent of Americans never purchase

          2     remotely.    60 percent of Americans do, so I want to

          3     try and reach some new customers, so I'm going to

          4     go and try to find information that matches that

          5     market because it works for me today, and I'm going

          6     to send a mail piece to them.

          7              I may in fact ask for a split on this test,

          8     people who have purchased, those that were in the

          9     60 percent piece of the pie, and those in the 40

         10     percent that have never purchased, to try and see

         11     if I can reach new customers differently through

         12     this mail piece, and so I send it.

         13              This is what I want.       This is the

         14     information I asked for.       The information provider

         15     supplies a list to the letter shop I'm going to

         16     use.   They send it out.      They make sure the current

         17     customers are deleted.      They use hopefully the DMA

         18     mail preference list, and they prepare the pieces,

         19     and they send them out.

         20              I never see the list.       I only know someone

         21     was on the list if in fact they come back and

         22     purchase from me.     Then I would know that they

         23     responded, so that's the only way it happens, and

         24     that's generally how you use prospecting data.

         25     That's to try and find someone new.         You know from


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          1     past behavior or you have a guess, if you're brand

          2     new.     You don't have any past behavior in your --

          3     on your product.     You make a guess:      We think this

          4     is what the market is for.       That's how we use the

          5     prospecting.

          6                Now, let me give you a couple of quick

          7     examples of real life things that have been

          8     testified, to the process has been in Congress, in

          9     testimony before Congress.       One company is Grolier.

         10     It's no longer in existence.        It's been bought out,

         11     but Grolier is a bookseller selling things remotely

         12     out of Danbury, Connecticut, and it basically sells

         13     to children, basically sold discounted Dr. Seuss

         14     books.

         15                The market for this company was rural

         16     Americans who lived more than 50 miles from a book

         17     store, families that had young children and were

         18     low income.     The only way for Grolier to find these

         19     people to give them books that their children can

         20     read or books that they could read to their

         21     children was to have information to find them, so

         22     it was necessary to have a free flow of

         23     information.

         24                And marketers -- the other is stylists, an

         25     after-market automobile company that sells after-


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          1     products for minivans, seat belts that can be

          2     adjusted better for children, back-up warnings on

          3     minivans, so their market, families that own

          4     minivans that have children that are outside of car

          5     seats, to try to give them an offer of some safety

          6     to add to their cars, and that's the market, and

          7     they needed the information to try and find it.

          8              One of the things that I want to make sure

          9     that you also know, my time is now up, I did get

         10     through the two examples, thank you, I didn't get

         11     my million dollar check yet though, but the one

         12     thing that the DMA says, you have to tell people

         13     that you share information with third-parties and

         14     give them an opportunity to say "no."

         15              And that's really the basis, that people

         16     who take the information and share with

         17     third-parties have to tell you that they do that,

         18     and to be a member of DMA you must do that.

         19              Thank you for the time.

         20              (Applause.)

         21              MS. LANDESBERG:      Well, we have just a very

         22     few minutes for questions from the audience.            If

         23     you would raise your hand, and if do you have a

         24     question, we'll bring the mike to you.

         25              MR. HENDRICKS:     Two quick questions.        Evan


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          1     Hendricks, Privacy Times.       In the offline world, a

          2     lot of times people want to know when they receive

          3     a mailing, "Where did you get my name?"

          4              Aren't there a lot of instances where

          5     there's contractual language that prevents

          6     organizations from disclosing that?         That's the

          7     first question.

          8              And the second question is I assume that

          9     the 20 licensees of the NCOA sell new movers' lists

         10     which they're able to produce because of the data

         11     they get from NCOA, but do other companies also

         12     sell new movers' lists?

         13              MR. ANDERSON:     I'll answer the NCOA

         14     question, and one of the restrictions that we have

         15     from the USPS is that we specifically cannot

         16     generate new movers' list, so this is specifically

         17     -- our NCOA services are specifically for people

         18     that are in a database, but we will not, cannot

         19     contractually generate a new movers' list that can

         20     then be sent out to marketers that are interested

         21     in people that have just moved.

         22              MR. HENDRICKS:     How are they generated,

         23     where they're moving?

         24              MR. ANDERSON:     A lot of other different

         25     sources, but none of which come from the USPS.


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          1                MR. ABRAMS:     In terms of the question

          2     about, "Where did you get my name?"         Increasingly

          3     during the 12 years that I was with an information

          4     aggregator, the contractual arrangements that

          5     limited the ability of the marketer to say where

          6     the name came from began to disappear from the

          7     marketplace.

          8                And increasingly organizations are

          9     acquiring data from organizations that have given

         10     notice, and organizations that even if they say,

         11     "No, you can't tell them where the data came from"

         12     they say "Pass on the name to us and we will call

         13     the individual and let them know that we were the

         14     source."

         15                So while that was the norm ten years ago,

         16     that norm has been changing over time.

         17                MS. LANDESBERG:     Jerry, did you have a

         18     comment?

         19                MR. CERASALE:     I was going to just comment

         20     specifically on the NCOA because actually there is

         21     a contract, but no one can use that for marketing

         22     purposes.     It's just to correct mailing lists, to

         23     increase the efficiency of the Postal Service, so I

         24     don't have a lot of those letters.

         25                MS. LANDESBERG:     Other questions?    All


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          1     right, then.    Seeing no more questions, I would

          2     like to thank our panelists for a wonderfully

          3     informative session.

          4              Thank you.     If I could ask you just to bear

          5     with us for a moment, we'll go straight into the

          6     next session -- so don't go anywhere.

          7              (Discussion off the record.)

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          1     SESSION 4:    HOW DO MERGER AND EXCHANGE AFFECT

          2     CONSUMERS AND BUSINESSES?

          3     JESSICA RICH, Assistant Director, Division of

          4     Financial Practices, FTC, Moderator

          5

          6     PANELISTS

          7

          8     FRED CATE, Professor of Law and Harry T. Ice

          9     Faculty Fellow, Indiana University School of Law

         10     JASON CATLETT, President, Junkbusters Corporation

         11     JERRY CERASALE, Senior Vice President, Government

         12     Affairs, Direct Marketing Association

         13     MARY CULNAN, Slade Professor of Management and

         14     Information Technology, Bentley College

         15     EVAN HENDRICKS, Editor/Publisher, Privacy Times

         16     RICK LANE, Director, eCommerce and Internet

         17     Technology, U.S. Chamber of Commerce

         18     GREGORY MILLER, Chief Privacy Officer and Vice

         19     President of Corporate Development, MEconomy, Inc.

         20     BRIAN TRETICK, Principal, eRisk Solutions, Ernst &

         21     Young

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          1                                  SESSION FOUR

          2                  HOW DO MERGER AND EXCHANGE AFFECT

          3                      CONSUMERS AND BUSINESSES?

          4                      -      -       -     -     -   -

          5                MS. RICH:        Hello.   If everyone can take

          6     your seats again, please.            We're going to start

          7     this next panel.        I'm Jessica Rich.           I'm an

          8     Assistant Director in the Division of Financial

          9     Practices here at the FTC, and I'll be moderating

         10     this fourth panel, which will focus on the effects

         11     of merging and exchanging consumer data on both

         12     businesses and consumers.

         13                In other words, how do consumers and

         14     businesses benefit from these practices and what

         15     concerns, if any, do these practices raise.

         16                I think we've heard some references to the

         17     various ways in which people benefit or some of the

         18     concerns that people have, but we're trying to

         19     drill down and talk more specifically about this

         20     particular topic.

         21                We have a great group of panelists for this

         22     session.      We're going to start with brief

         23     statements from each of them, three minutes each,

         24     and we're going to hold everyone to that, but I

         25     don't want to be too -- everyone has been great


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          1     about keeping to their time, so I probably don't

          2     have to lecture them too much.

          3              Then we'll have a discussion among the

          4     panelists so we can examine the issues in greater

          5     detail, and we'll hopefully have time for

          6     questions.    I think for this panel questions are

          7     fairly important, so at about 3:15, if you're in --

          8     get ready to ask some questions if you're in this

          9     room, and if you're in one of the overflow rooms,

         10     please come up to the door here so we can give you

         11     a microphone to ask your question.

         12              I want to emphasize that this is a long

         13     panel, and it's easy to focus on a lot of different

         14     topics, but we really want to focus on the effects

         15     of the particular practices we're talking about

         16     today, which is the merger and exchange of consumer

         17     data, the effects on consumers and businesses, that

         18     specific topic.

         19              We're going to let our speakers go

         20     alphabetically.     I think they may be seated

         21     alphabetically, and we're going to start with Fred

         22     Cate, and I'll introduce him.        He's a professor of

         23     law and Harry T. Ice Faculty Fellow and Director of

         24     the Information Law and Commerce Institute at the

         25     Indiana University School of Law in Bloomington.


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          1               He also serves as senior counsel for

          2     information law with Ice Miller Legal and Business

          3     Advisors and is a visiting scholar at the American

          4     Enterprise Institute.      He specializes in privacy

          5     and information law and appears regularly before

          6     various legislative committees and professional

          7     groups on these matters.

          8               Fred?

          9               MR. CATE:   Great.    Thank you very much, and

         10     thank you also for the opportunity to be here.

         11               I've tried all morning long to condense

         12     this to three minutes, and I think I've got it now,

         13     so let me just make two points.        I'm just going to

         14     take up one of the questions that was asked, and

         15     that is the impact on consumers, and let me talk

         16     about just briefly two points.

         17               One of them is the use of information to

         18     overcome the obstacles of market size and distance

         19     to make it possible to deliver customer service,

         20     customized service and personalized service to

         21     customers, and there are many examples of this,

         22     such as better targeting of what is stocked in

         23     stores.

         24               We've already heard about better targeting

         25     of the type of mail or commercial offers that are


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          1     sent into homes, more accurate decision-making

          2     about customers, about consumers who come seeking

          3     service, greater convenience for consumers in many

          4     ways all the way from having forms pre-filled in,

          5     one call service center being able to change your

          6     or address in multiple accounts with a single call,

          7     loyalty programs.

          8              I think frequent traveler programs are

          9     something we almost all share in common at least in

         10     this room, or returning goods without a receipt.

         11     These are exactly the types of examples of, if you

         12     will, sort of overcoming the type of problem that

         13     large, diverse and particularly online markets

         14     pose.

         15              The second, I think, set of examples of the

         16     real impact on consumers is where we see

         17     dramatically new and different types of benefits,

         18     and maybe the best example is lower cost, and this

         19     is one area in which there's been a fair amount of

         20     studies completed recently showing, for example,

         21     Mike Turner's study, a billion dollars in the

         22     retail apparel industry in cost reduction by the

         23     ability to use personalized information, Walter

         24     Kitchenman's study showing $85 to 100 billion in

         25     annual savings in the mortgage credit market


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          1     because of access to personalized information, the

          2     Staten and Barron Study showing $150 billion

          3     annually in non mortgage credit, the Ernst & Young

          4     study, Ernst & Young will be speaking later, $17

          5     billion a year focusing just on 30 percent of

          6     financial services companies.

          7              The point is this consistent evidence from

          8     these studies about the way in which the use of

          9     personalized information saves consumers money, but

         10     there are other good examples, either dramatically

         11     new and different services, for example, the wider

         12     availability of products and goods and services.

         13              I don't mean simply expanded access to

         14     credit, although we have studies clearly

         15     demonstrating that, but even the points made on the

         16     earlier panel about the way in which a business

         17     operates, the way in which AOL got started by

         18     sending out floppy disks to people who had

         19     computers (and identifying people who had computers

         20     of course was key to that strategy), and finally

         21     the more apt, rapid and efficient, more accurate

         22     fraud detection and prevention.

         23              I think one thing that almost anyone who

         24     works in that field will say is that personalized

         25     information is the key to detecting and preventing


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          1     fraud.   If you don't have access to it, you'll lose

          2     one of those key tools.

          3              Thank you.

          4              MS. RICH:    Next we have Jason Catlett.

          5     He's President and Founder of Junkbusters

          6     Corporation, a computer scientist with a Ph.D. in

          7     data mining.    Dr. Catlett has worked on issues

          8     relating to the interplay between technology,

          9     marketing and privacy at such places as AT&T, Bell

         10     Laboratories, the University of Sydney and various

         11     other academic settings.

         12              In addition to academic publications, Dr.

         13     Catlett has contributed articles to such

         14     publications as the Privacy Journal and Direct

         15     Marketing News.

         16              DR. CATLETT:     Thanks very much, Jessica,

         17     and thanks again to the Commission for inviting me

         18     today.

         19              First let me put a concern to rest of Jerry

         20     and anyone who feels like they're on a survivor

         21     program, or Commissioner Swindle, that I'm not

         22     going to be posting any profiles of people.             I did

         23     go through an exercise that you can read in the

         24     handout out there of asking people if they would be

         25     willing to have their profiles posted and then


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          1     going to companies to actually see the profiles

          2     that the consenting data subjects have.

          3              Unfortunately, though I have a number of

          4     volunteers, I have no company yet willing to place

          5     on the table before us a real profile, which I

          6     think is regrettable.

          7              However, what I'm going to talk about today

          8     is not that.     It's three points.        First, let me

          9     state that Fred is absolutely right that the

         10     benefits of information processing are enormous.

         11              Let's remember, however, that the

         12     overwhelming majority of those benefits come

         13     without personally identifying information.

         14     Wal-Mart is an extremely good example.           It's all

         15     about inventory and forecasting, and most of the

         16     benefits come without PII.

         17              Where you do use personally identifying

         18     information, as Marty Abrams pointed out, the vast

         19     majority of that is about personal information that

         20     the business already has and not that it gets from

         21     third parties.

         22              Now, turning to the question of whether

         23     direct mail actually reduces -- sorry, targeting

         24     that information reduces the amount of junk mail

         25     that people get, in fact it actually increases it.


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          1     If you look at the historical trend from say 70

          2     billion direct mail pieces per year in the United

          3     States, it's been trending up as the technology has

          4     made targeting better and better.

          5                We do see more offers that people respond

          6     to.   This is true, but the typical response rate

          7     being in the low percentage figures as Michael

          8     said, that results in a lot more junk, and Jerry's

          9     example of the golf course magazine is a good one

         10     here because without the information, a lot of

         11     offers are uneconomical and would not be mailed.

         12     So the additional information causes more offers to

         13     be responded to, also causes more unwanted

         14     solicitations because the information isn't

         15     perfect.

         16                Now, let me turn to some of the negative

         17     aspects of personal information.           One that we

         18     haven't discussed yet, I think is important, goes

         19     under the name of dynamic pricing or price

         20     discrimination.     The American public loathes the

         21     idea that the person sitting next to them is

         22     getting a lower price on the same goods that

         23     they're getting.

         24                They loathe the idea that I'm getting a

         25     lower price than Fred is for example, and I think


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          1     Amazon learned this to their distress when it came

          2     out that they were randomly, they said, pricing,

          3     and Amazon very quickly stated that they would

          4     never base price points on demographic information.

          5     They said they didn't really have click stream

          6     data.   I would like to see a clarification on that.

          7              I'll wrap up with my last point, which is

          8     the effect on non-participation.           I would dearly

          9     love to see some figures that talked about the

         10     impact on participation of profiling, but we don't

         11     have those figures.      We just have figures that

         12     Forester put out last year of $12 billion lost in

         13     online commerce due to privacy concerns.

         14              But those privacy concerns were not

         15     specified to the level of particular profiles where

         16     the people were concerned about SPAM, or about the

         17     actual nature of the profiles.        We simply do not

         18     know.

         19              I'll leave it at that.

         20              MS. RICH:    Great.    Jerry Cerasale is next.

         21     He was just on the previous panel, but I'll remind

         22     you that he's Senior Vice President of Government

         23     Affairs at the Direct Marketing Association.

         24              MR. CERASALE:     On this panel, still looking

         25     for my million dollars, but whatever, I wanted to


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          1     just take a look at that study of restriction of

          2     data that was released yesterday and just raise to

          3     you that it's a billion dollars in just the apparel

          4     area, but there's an additional study that's an

          5     overlay on it that says that the individuals -- the

          6     groups that purchase apparel remotely to a greater

          7     extent, a greater proportion than their density in

          8     the population, are rural Americans and

          9     economically disadvantaged intercity, the people

         10     who are not adequately served by brick and mortar

         11     retailers, the people who don't have other choices,

         12     who end up paying a disproportionate share of any

         13     restrictions, cost of restrictions on privacy.

         14              Those who have the fewest choices are the

         15     ones who pay the most based on that study.

         16              I want to add to what Fred had said.            What

         17     we know is that the sharing of information helps

         18     reduce fraud.     We've seen studies where fraud,

         19     credit card fraud over the net in Europe is twice

         20     as great as that in the United States.          We can

         21     attribute that in part I guess because we're more

         22     honest than Europeans, but I'm not certain that

         23     that is the full case.

         24              The real reason is that part of the

         25     restriction in Europe is you can't use information


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          1     collected for purposes other than the specific

          2     reason that information was collected, so a billing

          3     address on a credit card cannot be used for

          4     anything other than billing.

          5              So that in the United States, if you're on

          6     the Internet or even on the phone, if you call or

          7     want to purchase a good and here's the credit card

          8     saying, I'm Jerry Cerasale, give them a credit card

          9     number, and it's being delivered to the billing

         10     address, that's fine.

         11              In Europe they can't check that.         In the

         12     U.S. they can.     If it's not going to the billing

         13     address, I'm sending it to my mother or ostensibly

         14     I'm sending it to my mother, they ask for the

         15     billing address.     If I can't give them the billing

         16     address, then they figure it's probably not Jerry

         17     Cerasale, so it's an added thing for fraud

         18     prevention.

         19              So information flow is important from that

         20     score as well, giving benefits to people.          There

         21     are an awful lot of jobs, low income jobs.              It's

         22     interesting when you go on visits with senators and

         23     representatives that they want direct marketers to

         24     come with them to set up call centers, to set up

         25     warehouses and so forth in areas where there are


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          1     economic downturn areas because they want to try to

          2     build them up.

          3                These are jobs that can be part time.

          4     People can be trained fairly readily, so those are

          5     advantages as well as choices to consumers.              You

          6     also have employees and the efforts there in trying

          7     to do that.

          8                It also allows for easy entry, easier entry

          9     for new businesses so that you can get greater

         10     competition.     I do not have to build the store.              I

         11     can be L.L. Bean in my basement getting a list of

         12     Maine hunters, Maine hunting licenses, out of state

         13     people, sell 15 shoes, have to repair 14 of them,

         14     but that's how I start a billion dollar business.

         15                Those are the things that can happen and

         16     happen readily with the sharing of information.

         17                Thanks.

         18                MS. RICH:     Next we have Mary Culnan.        As we

         19     noted earlier, Mary is the Slade professor of

         20     Management and Information Technology at Bentley

         21     College in Waltham, Massachusetts, where she

         22     teaches and conducts research on information

         23     privacy.

         24                MS. CULNAN:     Thanks, Jessica.     My point I

         25     would like to make in my three minutes is that fair


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          1     information practices should apply to the merger

          2     and exchange of consumer data, that is to

          3     profiling, and it's not clear that it really does

          4     today.

          5               One way I think to close the trust gap and

          6     the misunderstanding that Commissioner Swindle

          7     talked about this morning is through much greater

          8     transparency about how compilers and co-op

          9     databases acquire personal information and what

         10     they do with it.

         11               There's some parallels here to the network

         12     advertising model where in fact consumers do not

         13     have a direct relationship with the compilers and

         14     the co-op databases, and they frequently don't know

         15     who these firms are, so if they wanted to contact

         16     them, they would not know how to start.

         17               So what are some of the things that we

         18     need?    We need much more notice where data are

         19     collected directly from consumers.         I've never seen

         20     a notice that says, "We share your name with

         21     carefully selected companies or carefully selected

         22     third parties and one of America's largest data

         23     compilers."

         24               And I think to the consumer in fact the

         25     idea of a carefully selected company, while in fact


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          1     the information is being shared for marketing

          2     purposes, that is not the same thing to the

          3     consumer as you buy from L.L. Bean and you get a

          4     mailing from Eddie Bauer or something like that.

          5              So I think that all the compilers should

          6     provide an easy way for people to opt-out, and

          7     there needs to be a better way for people to be

          8     pointed to the Web site or however the opt-out is

          9     handled, and I think the companies that enhance

         10     their customer databases should include this fact

         11     in their privacy notices just out of fairness.

         12              There are a couple questions that need to

         13     be answered.     What does opt-out mean for compiled

         14     databases?     Does my personal information stay in

         15     the database?     Is it still used for enhancement

         16     purposes, or does it just mean that my name is

         17     removed from the mailing list when people come to

         18     get a prospecting list and it is just gone?

         19              Should consumers be able to have their

         20     personal information removed from a compiled

         21     database?    And then, second, the always popular

         22     "What kind of access is appropriate?"

         23              In conclusion, I think really there's a

         24     need to bring consumers into the loop.          What I hear

         25     -- it strikes me a lot of it is "We know what's


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          1     good for you" is kind of part paternalistic because

          2     most consumers are smart, and they make good

          3     choices in their own interest when they have

          4     information.

          5              And I think access to personal information

          6     is not an entitlement just because people don't

          7     know about the compilers, and basically then they

          8     don't know about it.

          9              Consumers do benefit a lot from compiling,

         10     and I think the marketing profession needs to

         11     develop some effective strategies to educate and

         12     communicate with consumers the benefits of

         13     profiling and that these benefits outweigh the

         14     risks, which also means that the people that hold

         15     these databases have to make sure that they have

         16     very good privacy policies in place and that they

         17     enforce them.

         18              MS. RICH:    Next we have Evan Hendricks.

         19     Evan is the Editor and Publisher of Privacy Times,

         20     a biweekly newsletter that reports on privacy and

         21     freedom of information law.       He's also the author

         22     of several other publications on consumer privacy,

         23     including his book "Your Right to Privacy" and he's

         24     Chairman of the U.S. Privacy Council.

         25              He regularly lectures on information policy


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          1     issues in the U.S., Canada and Europe.

          2              MR. HENDRICKS:     Thank you, and thank you to

          3     the FTC for the hard work they've put into this and

          4     the opportunity.

          5              In January I had the good fortune of

          6     hearing Commissioner Swindle speak not once but

          7     twice in different gatherings, and he said

          8     something that I strongly agree with.

          9              He said that when we talk about this issue,

         10     we should not talk about it emotionally because it

         11     can be an emotional issue, and it doesn't really

         12     help.   This is something we need really more light

         13     than heat, so I made a commitment to him that when

         14     I come before the FTC, I will not discuss this

         15     emotionally.

         16              And then I started thinking about it this

         17     morning, and I started getting really mad because I

         18     love to talk about this emotionally, but I'm a man

         19     of my word, so I can't do that.

         20              Seriously I think that we should speak

         21     about this in cool and analytical ways, and I

         22     think, first of all, there's a greater irony here,

         23     and one of the ironies is that the direct marketing

         24     industry was subsidized by the taxpayers.          The

         25     direct marketing industry was able to get public


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          1     records at low or no cost, which was a great way to

          2     start a business if you can get your primary source

          3     that makes your business possible paid for by

          4     taxpayers.

          5              We've seen it -- and that's not such a bad

          6     thing.   We've seen it with investment in computer

          7     chips by the Defense Department has led to the

          8     computer revolution, but let's recognize that as

          9     people speak against government regulation, what

         10     got them to a point where they can speak about

         11     that.

         12              Second of all, I think already from today

         13     and all the years I've seen leading up to this, on

         14     the issue of warranty cards, I think there's enough

         15     evidence to justify an investigation of unfair and

         16     deceptive trade practices.

         17              I think it's widely understood that

         18     consumers fill out warranty cards thinking that

         19     they need to do this for the warranty to be good,

         20     and in fact you do not need to fill out a warranty

         21     card for the warranty to be good.

         22              The purpose of warranty cards is generally

         23     to collect information by database companies.           It

         24     is then sold and used for other purposes, and

         25     warranty cards are one of the primary sources of


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          1     unlisted phone numbers, which people are unable --

          2     companies are unable to buy from phone companies,

          3     but they can get them.

          4               And I think it shows that people who pay

          5     extra for an unlisted phone number would not be

          6     giving their unlisted phone numbers if they knew

          7     that information was going to be sold on the open

          8     market, so I think we have a real problem there

          9     that deserves official attention.

         10               I think another example -- since I only

         11     have three minutes, another example of something

         12     that cries out for concern is say a company like

         13     American Student Lists based in New York.

         14     Factually, for instance, they have over 12 million

         15     names of children ranging in age from 2 to 13 years

         16     representing PK through 8th grade.         All names are

         17     selectable by age, birth date and heads of

         18     households, and approximately 25 million age birth

         19     through 17 compiled from numerous direct response

         20     sources selectable by age, birth date, head of

         21     household, income and geography.

         22               Well, I doubt that most of the people in

         23     those categories or their parents really had a

         24     chance to exercise much in the way of notice and

         25     choice.


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          1              A third area of I think concern which now

          2     -- finally the good thing about the workshop -- is

          3     it is being described as a very routine process and

          4     it has been for years, but that is not known to

          5     consumers, is the idea of enhancing your database,

          6     which really means by virtue of being a customer of

          7     a bank or of an Internet provider or whatever,

          8     because you're a customer, then they go to outside

          9     sources of data and fatten their file on you

         10     saying, This is what kind of car you drive, this is

         11     what kind of home you own, this is your estimated

         12     income, do you have children.

         13              And I think that there is again no notice,

         14     awareness or education to consumers about what's

         15     happening and certainly no rights for individuals

         16     to do anything about it; and I think that is a very

         17     significant privacy issue because if you join a

         18     company, you know they're going to have information

         19     on you as a customer, but when they merge

         20     information, they're basically creating a whole new

         21     file that you don't know about.

         22              I think also the whole issue of public

         23     records, I think that in public records, it's a

         24     difficult issue.     As a FOIA advocate, I think there

         25     should be public access to public records, but when


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          1     it's personal data, I think we should apply the

          2     purpose test that we find in Fair Information

          3     Practices and that if it's a driving record, it can

          4     be accessed for driving purposes.

          5              Well, if it's a voter record, and in answer

          6     to one of the earlier questions, Are there

          7     restrictions on public records, half the states

          8     have laws that say you cannot use voting records

          9     and the other half don't, but I think the idea is

         10     that if it will interfere with people's right to

         11     vote, if they're concerned that their information

         12     will be used for commercial purposes, that's the

         13     purpose of the privacy law there.

         14              I think we have to apply that kind of

         15     purpose test where people can get access to a

         16     voter's list if they're doing a campaign.          How do

         17     we do that?    I think one way to do it is that I

         18     think we should have to certify to the record

         19     holder that you're using it for this purpose and

         20     then have a notice sent to the data subject so they

         21     know that someone has accessed their record.

         22              That can be done either by postcard or

         23     electronically to reduce cost, but I think that's

         24     the direction we need to go to handle the public

         25     records issue.


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          1              My final point is that I think there's a

          2     lot of important players missing at this workshop

          3     starting with Acxiom, which has records on over a

          4     hundred million Americans, something like 120

          5     million Americans pulled from all sorts of sources.

          6     I commend you to two articles in the Washington

          7     Post that dealt with Acxiom over the last couple

          8     years.

          9              I think a lot of hard work goes into

         10     putting a workshop together like this all the way

         11     up and down the Commission, and I think it's a

         12     disservice to the Commission and the American

         13     public if a major player like Acxiom and other

         14     players like that don't participate to shed light

         15     on what they do.

         16              Thank you.

         17              MS. RICH:    Our next panelist is Rick Lane.

         18     He's the director of E-Commerce and Internet

         19     Technology for the U.S. Chamber of Commerce, where

         20     he's responsible for coordinating the development

         21     and implementation of the Chamber's E-commerce and

         22     technology, legislative, and policy initiatives.

         23              Mr. Lane has served in leadership positions

         24     on a variety of federal, state and local

         25     commissions and committees, including the


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          1     Montgomery County Cable and Communications Advisory

          2     Committee.

          3                Rick?

          4                MR. LANE:   Thank you very much.       I just

          5     have a quick question.       How many people in the

          6     audience have started a small business, have

          7     started their own business?

          8                That's what this is all about.        That's what

          9     we're talking about in the free flow of information

         10     and being able to have entrepreneurialism in this

         11     country.

         12                I started my own business called Cyber

         13     Sports.      We spent a lot of money in development of

         14     a product, and basically what the product was was a

         15     database that college and university sports

         16     programs could use to help track the college

         17     recruits that they were recruiting through the

         18     recruiting process.

         19                In the old days they had paper files, and

         20     they had problems complying with NCAA requirements,

         21     but how did I get that product to market?           It was

         22     easy for the most part to develop the product, but

         23     how did we target our audience?         Our audience was

         24     college coaches.

         25                What we did was, first, we looked and


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          1     thought, Well, we can call every college and

          2     university sports program in the country.           I think

          3     there are about 5,000 colleges.         We were four

          4     people.      We couldn't afford to do that.

          5               So what we did was we found a list that was

          6     already available, that had information on all the

          7     college coaches in every sport across the country.

          8     It made our life easier.        Then we got additional

          9     information from other sources that put on top of

         10     it the coaches win-loss records.

         11               So we saw those coaches that were losing

         12     would be a better potential market for our product

         13     than those that were winning because the ones who

         14     were winning figured, Hey, we already understand

         15     this game.

         16               And then on top of that, we took the

         17     information of size of school because what we found

         18     was the smaller the school, the more kids that they

         19     had to recruit because they didn't have name

         20     recognition.

         21               I have a nephew who is six-three, 215, the

         22     fastest kid on the team.        He's not hard to find.

         23     He's going to be recruited by Michigan and Ohio

         24     State and other schools are going to find him and

         25     probably offer him a scholarship, but what about


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          1     the kids who are in the smaller towns and how do we

          2     get information about them?

          3              Here's the next part of the process, which

          4     is people send information on college kids

          5     throughout the country into these coaches'

          6     databases which they search on grade point

          7     averages, height, weight, positions and they fill

          8     them.

          9              Now, what we're talking about is, Is that a

         10     bad thing?    Is offering kids scholarships a bad

         11     endeavor?    We have information, these college

         12     coaches, on thousands of kids based on public

         13     information through newspaper articles and so on

         14     and so forth.

         15              Yet they are using it to offer kids

         16     scholarships, and those of us who enjoy March

         17     Madness think, well, maybe it's not a bad idea at

         18     all, but what we found is the academic side of the

         19     colleges liked it because we were tracking grades

         20     and other information for the kids that were being

         21     sent in, but then other departments who were

         22     offering scholarships began using our software to

         23     offer kids scholarships for music and academic

         24     scholarships and drama and so on and so forth.

         25              So the information flow is critical.           We


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          1     looked at it in Acxiom, yes, big macro, large

          2     company, important to look at, but there are also a

          3     lot of smaller, targeted uses of information

          4     database and flow that is beneficial to the

          5     foundation of this economy and how we operate.

          6              So from our standpoint, we look at this

          7     issue from a small business perspective.          Let's

          8     give small businesses the opportunity to grow and

          9     survive and to create competition in the markets

         10     unlike in the EU, and let's not arbitrarily just

         11     cut that information flow off.

         12              Thank you.

         13              MS. RICH:    Greg Miller is Interim Chief

         14     Privacy Officer and Vice President of Corporate

         15     Development for MEconomy, an Internet privacy

         16     infrastructure venture.       Before joining that

         17     company, Mr. Miller was Medicologic Netscape's

         18     chief Internet strategist of governmental affairs

         19     and a director of strategic marketing for Netscape.

         20              Mr. Miller has worked on issues involving

         21     technical Internet infrastructure, online marketing

         22     strategy, including personalization and data

         23     warehousing, and Internet security and privacy

         24     policy issues.

         25              Greg?


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          1              MR. MILLER:     Thank you, and I want to thank

          2     the Commission for inviting me to participate this

          3     afternoon.

          4              Actually a little bit beyond MEconomy, I

          5     have the privilege of being a venture capitalist,

          6     not to be confused with capitalist, so MEconomy is

          7     one of my portfolio companies.

          8              But in the process of doing that, I

          9     facilitate the development of emerging security and

         10     privacy companies in the digital economy and advise

         11     up-starts on issues of consumer privacy and

         12     information security, and two very different, yet

         13     perhaps paradoxically complementary sectors of

         14     digital entertainment and U.S. health care.

         15              I've been asked here today to participate

         16     with my esteemed colleagues on an exploratory

         17     discussion on the effects to business and consumers

         18     of the merger and exchange of consumer information

         19     and digital economy.

         20              And of potential applicability to this

         21     discussion, I spent the last six months working

         22     with a client start-up to engineer an inflow

         23     mediation and user registration system that was

         24     designed specifically to address required

         25     consorting of offline and online consumer


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          1     information for multiple sources in order to create

          2     the best possible user experience and online

          3     digital entertainment while simultaneously

          4     respecting the privacy of those subscribers.

          5              Our solution, which we dubbed JOIN for

          6     "just opt-in," addressed many of the issues raised

          7     by this workshop, so the net of my work there, as

          8     it may contribute to today's discourse, can

          9     probably be summed up as follows:          Over time the

         10     convergence, Consortium and brokering of personally

         11     identifiable information, or PII, we believe will

         12     require a balancing test between the needs of

         13     business and the needs of consumers, nothing too

         14     profound there.

         15              And I can see the broken smiles of the

         16     lawyers among us.     I call it YABT, "yet another

         17     balancing test," and thankfully for all of us I'm

         18     going to avoid going down that particular rat hole

         19     of jurisprudence.

         20              But anyway, what we learned last year in

         21     this online music start-up was that consumers might

         22     not worry about privacy per se as much as they

         23     worry about surprises and uninvited interruptions,

         24     and apparently Seth Goddin this week concurs at

         25     least in part with that finding in the current


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          1     issue of Red Herring Magazine.

          2              So I submit that consumers simply want to

          3     be left alone and are not interested in being

          4     interrupted, unless they've agreed to such as part

          5     of the deal for receiving the information, product

          6     or service that they're seeking.

          7              I also submit that the majority of

          8     businesses are not interested in snooping but

          9     simply selling more products and services.              For

         10     business success in the digital economy means

         11     gathering information to improve the customer

         12     experience and relationship.

         13              Compiling information on consumers from

         14     whatever source is legally available should be

         15     intended to improve the customer experience and

         16     nothing more, and this may mean not only sharing

         17     and consorting of PII, but synthesis of data into

         18     homogenized databases.

         19              This can raise potential concerns.             The

         20     ease with which PII can be extrapolated is

         21     improving -- it's proving really possible to be a

         22     very powerful thing and perhaps to one's detriment.

         23              Witness Web M.D.'s move last week or the

         24     week before to rescind their contractual

         25     obligations to provide certain data to Quintiles,


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          1     one of their supply chain trading partners, due to

          2     the technical wherewithal to ascertain an identity

          3     with only a date of birth and a postal code.

          4               I submit there are demonstrative benefits

          5     to PII compilation and the downside in terms of

          6     consumers' lack of confidence in business to do the

          7     right thing or unwillingness to participate I think

          8     can be addressed through what we call permission

          9     based approaches to the data gathering use.             Of

         10     course, consumers should be aware of the possible

         11     misuse of PII but also understand the cost benefit.

         12               So through that work we also came to the

         13     conclusion that unless and until the incentives of

         14     business and consumers are matched in a manner that

         15     encourages and authorizes the compilation and usage

         16     of PII, something we're studying right now at

         17     MEconomy, this so-called digital economy we think

         18     may stall.

         19               For the consumer the concern should

         20     probably run to security more than privacy as the

         21     real threat may lie in identity theft.

         22     Unfortunately we weren't able to find a lot of

         23     empirical evidence last year on the use or misuse

         24     of PII.

         25               I think the digital economy is still fairly


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          1     nascent, but I think prospectively industry should

          2     focus on the now well settled principles of notice,

          3     choice and access, and as they're equally important

          4     in the compilation of PII, we think the consumer

          5     should be notified of information gathering

          6     practices and policies whenever they're used in any

          7     service, online or not, and where appropriate or

          8     practical given the choice to participate in

          9     advance of such gathering.

         10              We think the compiled PII by business

         11     should be accessible to the consumer's review, too,

         12     and we think applying these three principles with

         13     equal force and meaningful standards for each

         14     empowers the consumer to take an active role in

         15     protecting their own identity and its uses.

         16              So as we grapple with the complex issues of

         17     the underlying and I think most valuable commodity

         18     of a digital economy, PII, I believe that notice,

         19     choice and access can serve as safeguards for over-

         20     reaching data collection, and I think that that

         21     would be the basis for my contributions today, if

         22     any, that are hopefully useful.

         23              Thank you.

         24              MS. RICH:    Thanks.    Lastly Brian Tretick is

         25     a principal with Ernst & Young, who works in the


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          1     area of global privacy assurance and advisory

          2     services.    He serves clients in the online

          3     financial services, retail and software industries

          4     focusing on the technological, organizational,

          5     regulatory and third-party relationship aspects of

          6     data privacy.

          7              He also works in the firm's global privacy

          8     practice where he helps to provide various

          9     consolidated services, technical, advisory, and

         10     legal, to Ernst & Young's global clients.          Brian?

         11              MR. TRETICK:     Thank you, Jessica.      Prior to

         12     this panel, you heard from marketers, and I

         13     represent here the assurance industry.

         14              I want to talk a little bit about what

         15     companies are doing, especially companies that hold

         16     on to marketing information, hold on to information

         17     about their customers, merge third-party

         18     information with that to get to know their

         19     customers better and perhaps then provide an avenue

         20     for other parties, their merchant partners,

         21     business partners, to reach the company's customers

         22     with those third-party messages.

         23              First off, I would like to talk a little

         24     bit about the organizational issues, namely, the

         25     appointment of privacy officials, and these aren't


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          1     the privacy officials, the celebrity CPOs that were

          2     appointed over the last year, year and a half.

          3              These are people with a lot less glamor.

          4     They have assurance, audit and compliance

          5     responsibilities, so what we're doing, we're seeing

          6     a push, an evolution of privacy and privacy

          7     responsibilities out of the PR, the business

          8     development type environments and down into the

          9     business.

         10              We're seeing an emergence of the roles and

         11     responsibilities, the policies and procedures out

         12     of marketing groups for marketing data, although

         13     they need to keep executing those policies and

         14     procedures.    There's someone with authority and

         15     accountability in companies who is much more,

         16     pardon the expression, humorless about the use of

         17     information because they're much more regimented

         18     and disciplined in their backgrounds.

         19              So we're seeing those again

         20     accountabilities and authorities extending outside

         21     of the marketing arrangement, marketing groups, and

         22     into business development, into other compliance

         23     and auditing functions.

         24              We're seeing the extension of security and

         25     controls, again not just on Web sites.          All this


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          1     data is back in enterprise systems and increasing

          2     technical, procedural controls in these situations,

          3     and also assurances where management needs to

          4     establish confidence among themselves that their

          5     technology groups, that their business development

          6     groups, customer service groups, marketing groups,

          7     sort of fulfillment groups, are all meeting these

          8     policies and procedures, these internal policies

          9     and procedures.

         10              So they're seeking assurance internally and

         11     externally on these practices.        They're providing

         12     training and awareness for their employees and

         13     third-party vendors on their policies, on their

         14     detailed practices, dos and don'ts, what they

         15     should and should not do regarding the use of

         16     collected data.

         17              And they're also reregulating their

         18     dealings with third parties, with people who they

         19     receive information from and people who they

         20     provide information to, vetting them, selecting

         21     them carefully and doing due diligence and

         22     including specific terms of use in contracts with

         23     third parties and also then various verification

         24     and monitoring.

         25              The final point here is that these


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          1     companies are working again internally or with

          2     third parties to establish assurances that their

          3     controls are in place to prevent bad things from

          4     happening, to discourage bad things from happening,

          5     and to put controls in place to encourage the right

          6     things, the appropriate business practices to

          7     happen.

          8               Thank you.

          9               MS. RICH:    Thanks to everybody for your

         10     prepared statements.

         11               We thought it would be useful next to open

         12     up the panel for a discussion of some of the issues

         13     you touched on in your opening statements.              Some of

         14     you have identified ways in which consumers and

         15     businesses benefit from the merger and exchange of

         16     data, for example, better targeting of ads, lower

         17     costs, better customer service, lowering end

         18     barriers for start-up, other examples.

         19               I think it would be useful if the panelists

         20     expanded on some of these points and had a chance

         21     to comment on others' points that were made in this

         22     area, and also if anybody has data to support or

         23     even contradict the points they're making, if you

         24     could mention it now, I think it would make for a

         25     better discussion if there was any data and


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          1     everyone could hear about it.

          2                I guess Jason is putting his tent up, so he

          3     would like to start it off.

          4                DR. CATLETT:   Thanks very much.      Let me

          5     talk about dynamic pricing a little.          There's very

          6     little data on this because companies don't put out

          7     press releases saying," We are able to gouge our

          8     customers to the extent of $6 million."

          9                However, I would point you to an article in

         10     Harvard Business Review last month that says that

         11     an unnamed consumer electronics store was able to

         12     differentiate between price sensitive consumers and

         13     price insensitive consumers who were in a hurry and

         14     to charge the more hurried customers a 20 percent

         15     premium over the more diligent shopper, so that's

         16     the only empirical data point that I have about

         17     dynamic pricing, an area that's shrouded in

         18     secrecy.

         19                What could we possibly do about dynamic

         20     pricing?     Well, there's a diversity of opinion

         21     about whether this is a good thing.         The airline

         22     industry does differential pricing, not based on

         23     personal information, but whether, for example, you

         24     want to be home with your wife and children on

         25     Saturday night.


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          1              A benefit to rationing that, and I think

          2     there's a diversity of opinion on whether dynamic

          3     pricing is a good thing.

          4              What privacy protections are necessary in

          5     that environment?     I believe the appropriate one

          6     here is that adopted in the EU's data directive

          7     which gives the data subject not only the right to

          8     see the base data on which the decisions are made,

          9     but also to have an automated decision-making

         10     process explained to him or her.

         11              So that, for example, if an E-commerce

         12     merchant is charging Fred $2 less for a paperback

         13     book than it is charging me, then I can, in

         14     principle, ask to have that decision-making process

         15     explained to me, and then the merchant can say,

         16     "Well, it's because of your past behavior in this

         17     area," and then at least I have some understanding

         18     on which to base my future behavior.

         19              MS. RICH:    Is that Rick down there?

         20              MR. LANE:    Yes.    Just a couple points.       On

         21     the dynamic pricing issue, obviously that just puts

         22     up red flags for us in terms of you're dictating

         23     how businesses are going to charge particular

         24     customers for particular items.        Does it mean

         25     dynamic pricing includes presenting certain


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          1     customers with coupons that provide a 10 percent

          2     discount over maybe my neighbor who doesn't get

          3     that and based on my buying habits, and so that is

          4     obviously of concern.

          5               Also market forces, if what happened at

          6     Amazon.com is accurate and all this brew-ha-ha

          7     erupted, obviously there is concern in the

          8     marketplace that reacted very quickly and swiftly

          9     that consumers weren't ready for that or did not

         10     appreciate that, and it stops, so there are market

         11     forces already out there.

         12               Also the direct marketing that Jason put

         13     forth in his discussion about the increase in

         14     direct marketing over the course of time, well,

         15     yes, obviously there's been more mailings done.

         16     There are more people in the country.

         17               So, of course, you're going to have more

         18     mailings.      There's more businesses.      There's more

         19     small businesses, and we've had a dynamic growth

         20     over the past couple years.        It's called economic

         21     growth.      I thought it was a good thing.

         22               So, yes, you're going to have more direct

         23     marketing out there, but the fact is you're getting

         24     less mail that's not of interest to you, and that's

         25     a critical point, and that's what this is all


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          1     about.

          2                DR. CATLETT:   Could I respond to that

          3     quickly?     There are several factors at work, the

          4     increase in population, the increase in the price

          5     of paper and the price of postage, which Jerry I

          6     guess constantly is working on, all work to cause

          7     the total number of solicitations to vary for a

          8     number of different areas.

          9                But I think if you learn DM Math 101, you

         10     will find that more information means more total

         11     solicitations, more accepted solicitations, but

         12     also more unwanted solicitations.

         13                And on the issue of dynamic pricing, I

         14     didn't seek to say that the Federal Trade

         15     Commission should stop dynamic pricing or stop a

         16     company from offering a coupon to a subset of its

         17     customers based on the Claritas Prism rating or

         18     whatever criterion.

         19                I simply think that from the point of view

         20     of privacy and fair information practices, the

         21     consumer should have the right to see the

         22     information that that decision is being based on.

         23     The information may be incorrect, and they may be

         24     missing out on something that they might otherwise

         25     be entitled to, and the decision-making process


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          1     should be transparent.

          2              If there is a trust gap, and I agree with

          3     Commissioner Swindle and the many other speakers

          4     who have said that there is a trust gap here, the

          5     way to close that gap surely is greater

          6     transparency, to give the consumer the right to see

          7     what's going on and the right to delete it if they

          8     don't want it.

          9              MS. RICH:     Evan, you've been waiting

         10     patiently, calmly.

         11              MR. HENDRICKS:     And unemotionally too.

         12              MR. RICH:     Unemotionally, yes.

         13              MR. HENDRICKS:     Well, let's talk about

         14     small business.      If you look -- I commend everyone

         15     to the latest study from Forrester.          Jason cited

         16     one earlier in our Privacy Times.          It's out on the

         17     table.   We report on the latest Forrester which

         18     looks at wireless, how privacy is not only integral

         19     to wireless, but privacy is integral -- it's the

         20     core business issue, and that it has to be dealt

         21     with top to bottom or businesses will suffer.

         22              And Forrester staff are not consumer

         23     advocates or political.       They're just worried about

         24     their clients' bottom line, and I think it's a very

         25     important analysis.


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          1              Let's talk about small business.         I mean,

          2     so much of being in business depends on your

          3     judgment as a businessman and what is your business

          4     model, and so sometimes you need information to

          5     make your business go, and sometimes you can

          6     configure your business so you don't need to rely

          7     on people's personal data.

          8              I started my small business in January

          9     1981, and I had $3 in my pocket, and I've not

         10     borrowed money, and I'm still in small business

         11     and -- is the business you described still going?

         12              MR. LANE:    It's the number 1 recruiting

         13     software in the country.

         14              MR. HENDRICKS:     Excellent, excellent.       So

         15     we like that, but I think the other thing that

         16     happened to be in the 1980s is when the federal

         17     agencies were making a lot of claims about computer

         18     matching and that computer matching -- when I

         19     wanted to match databases from different agencies

         20     to fight fraud, they would make these projections

         21     about how bad fraud was among federal agencies.

         22              And I was part of studies that actually

         23     drilled down and looked at the numbers, and we

         24     found that the costs and the fraud projections were

         25     completely specious.      There was no basis in fact to


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          1     them, and that they were just pulling numbers out

          2     of the air.

          3              So I look in today's Wall Street Journal,

          4     and I see that the cost of the 90 largest financial

          5     institutions will be $17 billion for some sort of

          6     restrictions on sharing or selling customer

          7     information, and Fred is quoted as saying that the

          8     costs run into the trillions, so I look forward to

          9     looking at those numbers too.

         10              I'm very skeptical that these will hold up

         11     to objective analysis and that the one thing when

         12     you hear about Gramm Leach Bliley, notices will be

         13     going to customers by banks of information

         14     practices and privacy policy.

         15              But Gramm Leach Bliley, the provisions in

         16     there were -- that's what the banking lobby wanted.

         17     They got what they wanted in this bill, and the

         18     other proposals advocated by the consumer advocacy

         19     community were rejected.

         20              So this is a case where maybe they didn't

         21     think out long enough what really were the best

         22     privacy standards and the most cost efficient ones.

         23              MS. RICH:    Fred?

         24              MR. CATE:    Thank you very much.       I think

         25     one of the points Evan makes, he raises one, and


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          1     frankly this goes to something Jason said which

          2     might be worth following up on, several people have

          3     mentioned, and Evan just did then, the question of

          4     how many people don't engage in an activity because

          5     of privacy fears and trying to put numbers, and

          6     Forrester certainly tried to do that.

          7              I think there's some reason to be a little

          8     skeptical of that, and I think Europe is the reason

          9     for that.    Europe offers the most restrictive set

         10     of privacy laws we have on the books.

         11              The polling data on reasons for staying

         12     offline is just as high as in the U.S., so in the

         13     presence of very high legal protection, you have a

         14     very high anxiety rate.

         15              Moreover, something else we seem to know is

         16     that there's a certain disconnect here between what

         17     you want to be worried about and what you are

         18     worried about, that what we might perceive because

         19     we don't know, because we don't understand, and

         20     that this is also reflected frankly in a lot of

         21     these -- a lot of these numbers.

         22              And if you read the whole survey you see

         23     what they were really talking about was something

         24     different.    They were talking about security or

         25     they were talking about some specific issue, not


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          1     the question of, Is this information going to be

          2     shared.

          3               They're worried about, Is the information

          4     even going to get to the end point, but this

          5     reminds me -- this is my segue alert.          This reminds

          6     me of Jason's point, which I think actually is

          7     excellent, dynamic pricing is an issue.          If it's a

          8     problem, it's a problem that should be looked at as

          9     a phenomenon itself.

         10               And if Commissioner Swindle can get me a

         11     cheaper fare home because I'm not going to be

         12     subject to the sort of pricing that the airlines

         13     use, I think that would be terrific.

         14     Unfortunately, I guess jurisdiction doesn't extend

         15     there.

         16               But it highlights the sort of need to focus

         17     on what is the use of the information that causes

         18     the problem; in other words, not what's the specter

         19     of uncertainty.     What's the way in which you can

         20     sort of look across sort of all possible uses of

         21     information.

         22               But if in fact there is a use of

         23     information, for example, we have all sorts of laws

         24     in this country prohibiting discrimination, that

         25     you would use information to discriminate in.           We


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          1     don't have nearly as many laws restricting the flow

          2     of that information.      We have laws restricting the

          3     use of that information.

          4              You cannot use it to discriminate in

          5     certain ways, housing, public accommodations and so

          6     forth, and so I think really both of these points

          7     highlight the importance of focusing on

          8     demonstrated behavior and real harms as opposed to

          9     sort of speculation and system wide regulation of

         10     information flows.

         11              MS. RICH:     Mary?

         12              MS. CULNAN:     This is another segue alert,

         13     but I think for the business people in the

         14     audience, I mean, one way to think about privacy,

         15     it's not really privacy, it's really disclosure.

         16     You want consumers to be comfortable disclosing

         17     information and allowing it to be used for

         18     marketing.

         19              And there have been a couple of good Harris

         20     surveys that have looked at people's willingness to

         21     disclose.    There was one done in 1997 so these were

         22     mostly computer geeks in the sample because at that

         23     time everybody wasn't on AOL like they are now.

         24              But they asked some questions about, Have

         25     you ever either lied or not disclosed information


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          1     to a Web site when they asked for it, and everybody

          2     knows the numbers.      A huge number of people say,

          3     Yes, at some point I did do this.

          4              So then they asked, Well, what if the Web

          5     site told you, gave you notice and choice, and a

          6     huge -- about half the people who did not disclose

          7     before or lied say, "Yeah, I'll disclose my

          8     information then," or if you already had a previous

          9     relationship with a firm, then a lot of people

         10     would disclose.

         11              I think what it says is you've got to get

         12     at least notice and choice into the equation, and

         13     it does make people more comfortable.

         14              Now, the other interesting side to this is

         15     there is still a clump of people that under any

         16     circumstances are still not comfortable disclosing,

         17     and the issue is, What is it that would make these

         18     people disclose or, in fact, is this just how

         19     marketing works, and there's a segment of people

         20     that don't want to do business online.

         21              MS. RICH:    Jason?

         22              DR. CATLETT:     Let me go from those

         23     habitual, non responders, who comprise

         24     approximately half of the United States, back to

         25     the dynamic pricing issue.


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          1              Rick said that market forces have corrected

          2     that, and in the case of Amazon, I would feel a lot

          3     more comfortable if Amazon disclosed the fact that

          4     they were doing dynamic pricing.           This was not the

          5     case.   It was discovered by someone who talked

          6     about it on an Internet discussion group, and then

          7     it went out to the media.

          8              So I think again the problem we have is a

          9     lack of transparency here.       If we want to

         10     investigate the practice, we have a very difficult

         11     time doing so, if we don't have a right of

         12     consumers to see what information is being held

         13     about them and how it is specifically being used in

         14     their case.

         15              MS. RICH:    Since we seem to be moving

         16     partly into what effect this has on consumers, let

         17     me just go back to a point made earlier, which is

         18     if there are cost efficiencies and lower costs

         19     generally from being able to share data, are any of

         20     these cost efficiencies passed on to consumers?

         21     Has anyone measured that or thought about that?

         22     No.

         23              Another point I just wanted to go back to

         24     before we move into effects on consumers completely

         25     is I heard different statements being made about


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          1     whether the number of solicitations is really

          2     reduced when you can share data and target more

          3     efficiently with some people saying that, Yes,

          4     people will get fewer solicitations and others

          5     saying, Well, they'll be targeted more.

          6              Does anyone have any data on that or any

          7     information that would be useful in talking about

          8     that issue?

          9              Evan?

         10              MR. HENDRICKS:     Well, in the credit cards,

         11     we do have data out, just in the last few months,

         12     showing that the response rate for pre approved

         13     credit card is plummeting, and I think that deals

         14     -- I mean, here's a situation where they're able to

         15     use credit bureau data, highly targeted, and it's

         16     just a question of the market is so saturated, and

         17     there's not much differentiation anymore among the

         18     credit card offers.

         19              So I can't remember, someone told me it was

         20     .4 percent or something was the response rate, so

         21     the customer acquisition is going much higher, and

         22     that's many factors.

         23              DR. CATLETT:      They key point there is the

         24     number of credit card solicitations is going up.

         25              MS. RICH:    Jerry?


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          1              MR. CERASALE:     The basic -- this isn't

          2     precise data, but the basic use of mail

          3     solicitation tends to be standard mail, although

          4     there are solicitations that go out first class,

          5     and standard mail growth is growing faster than the

          6     rest of the mail volume is growing, but

          7     significantly below what would be expected in

          8     the -- what was expected in the growing economy.

          9              The Postal Service is coming in and asking

         10     for new rates and so forth based on new market

         11     forces, so that the amount of total volume of

         12     standard mail is not growing, what would be

         13     expected in the economy.

         14              One of the things you can see has changed

         15     over time, however, is what used to be known as

         16     resident or occupant mail, that in standard mail

         17     the non resident, non occupant mail percentage of

         18     standard mail is growing, meaning that the

         19     targeting has increased.       It's not just the

         20     saturation shock on hitting every house everywhere,

         21     even though those have the lowest postage rates

         22     offered by the Postal Service.

         23              So that type of data we have seen as well,

         24     and the solicitations also tend to follow a pattern

         25     of the economy, that if the economy turns down, you


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          1     tend to get a significant increase in standard mail

          2     solicitations to try to drum up the business that's

          3     being lost, and that lags the drop in the economy

          4     about six months to nine months before that

          5     plummets down as it follows the economy.

          6              So that's what's happening.        You have an

          7     increase in targeted pieces, less saturation pieces

          8     going through the mail, but they are growing less

          9     rapidly than they have historically based upon

         10     what's happening in the economy.

         11              DR. CATLETT:     Jerry, could you just clarify

         12     that standard mail is what used to be called third

         13     class mail?

         14              MR. CERASALE:     Yes, that's what the Postal

         15     Service used to call third class mail.          They now

         16     changed it to standard.

         17              MS. RICH:     Before we get too deep into

         18     consumers, I realize I left out the piece of -- we

         19     talked about the benefits for businesses of these

         20     practices.

         21              Does Greg or Brian or anyone else want to

         22     talk about some of the downsides or the risks for

         23     businesses of these practices?

         24              MR. MILLER:     We both probably have

         25     interesting remarks to make about this, and just


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          1     perhaps as a segue from the business side over to

          2     the consumer side, I want to speak to you a moment

          3     about infrastructure cost on the business side and

          4     then how that transitions over to consumers.

          5              And I have two quick case points for you

          6     that would be great for you to comment on too, and

          7     I will start with health care, which is where I

          8     spent a lot of time in the medical records space,

          9     and what we were trying to do at Medicalogic was

         10     give to the consumer for the first time in history

         11     a secure, authorized access to their authentic

         12     medical history.

         13              Well, it turns out that for most of us, our

         14     medical history is comprised of several records,

         15     our primary care physician and at least a couple of

         16     specialists, and so what we were trying to do was

         17     give a view port to that comprehensive medical

         18     history, and that required literally the opt-in of

         19     several physicians and the proactive relationship

         20     building that went on with the patient to encourage

         21     them to allow that.

         22              That required a lot of infrastructure cost

         23     for us in the consorting and homogenizing of that

         24     data and creating the necessary safeguards to even

         25     create Chinese walls, if you will, between the


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          1     dermatologist and the OB-GYN and the primary care

          2     physician, so there was a view port challenge

          3     there.

          4               In the entertainment space, the most recent

          5     case, we had a very challenging one with -- another

          6     one of our panelists, Ted Wham and I worked

          7     together on a project in the music space, and the

          8     problem we had there was when you go buy music, you

          9     don't say to yourself, I've got to go get me one of

         10     those Sony records.      You say, I want to go buy a

         11     Dave Matthews album.

         12               You, the consumer, purchase by artist, but

         13     the music industry, by which I mean the five record

         14     labels that control 90 percent of the music that's

         15     distributed worldwide, have their view of the world

         16     on you.

         17               So we literally had to engineer what we

         18     called a data escrow service to ensure that privacy

         19     policies across five labels actually reconciled

         20     with one another and then the JOIN, the just opt-in

         21     program, was the means by which we encouraged the

         22     consumer to get the experience that we're really

         23     looking for which was a unified locker service

         24     which allowed them to compile all music they've

         25     ever purchased across any label from any retailer


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          1     in history into one homogenized database.

          2              This really presented a lot of problems

          3     because all the labels jumped up immediately and

          4     said, Not on my watch are you going to be mixing my

          5     data with the data of Universal without my customer

          6     explicit opting in says BMG, so we literally had to

          7     create this membrane.

          8              This produced some substantial costs, and I

          9     dare say it may have been the straw that broke the

         10     camel's back because unfortunately that company is

         11     now in receivership.      They spent tons of money on

         12     infrastructure to build the data escrow service

         13     that would ensure the privacy policies of five

         14     labels were maintained and protected and then still

         15     get the subscriber, the consumer, opting in to

         16     participate.

         17              And I think that put a lot of pressure on

         18     them from the standpoint of ensuring privacy as

         19     well as building infrastructure that would support

         20     and then shield them from a certain amount of

         21     liability which I think segues over to you.

         22              MR. HENDRICKS:     Also, Greg, wouldn't an FTC

         23     standard, a uniform standard solve that problem

         24     across those five Web sites?

         25              MR. MILLER:     I think to a certain extent


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          1     that's possible, yeah, but it's interesting the

          2     challenge of being a lawyer, working with lawyers

          3     and their view of each of their privacy policies.

          4              MR. TRETICK:     I think there are always some

          5     risks in the exchange of any valuable asset, both

          6     upstream and downstream from a marketing data

          7     provider to a marketing data consumer company.

          8              The providers are looking to make sure that

          9     the information that they provide is going to

         10     reputable and responsible parties and going to be

         11     used in reputable and responsible manners, that

         12     children's information that is being offered up

         13     about all these school kids and college kids isn't

         14     going out to market them, drugs, liquor, cigarettes

         15     to athletes, things like that upstream.

         16              Downstream is the same thing.         We want to

         17     make sure that when we receive information it's

         18     coming from sources that got this data under again

         19     a reputable and responsible regime and that we can

         20     reach out and touch these customers and make sure

         21     then that they're not annoyed by our message, that

         22     the frequency of being able to be touched is

         23     reasonable, that the method of touching these

         24     customers is reasonable and responsible and

         25     appropriate for that.


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          1              So these are the risks that are faced both

          2     upstream and downstream.

          3              MR. CERASALE:     I think we're switching to

          4     some risk to businesses.       I think the first risk a

          5     business has is they promise more than they can

          6     deliver, so that you have to make sure that you

          7     promise to do certain things and that you can and

          8     will be able to do it.

          9              The risk -- the real risk you have, a

         10     business has in sharing information is to become

         11     complacent and sloppy.      If you don't treat the

         12     information that's given to you as part of a trust

         13     relationship, ensure that you have safeguards to

         14     keep the data secure, you want to make sure -- as

         15     you just said, you want to make sure to whom data

         16     is being shared, what type of procedures, what type

         17     of marketing piece is going out.

         18              If you're just sharing data from one

         19     marketer to another, you want to see what the

         20     marketing piece is.      You want to make sure if

         21     you're -- for a one time use that the list is

         22     seeded so you can see, to make sure the person you

         23     dealt with actually does, in fact, live up to his,

         24     her, its agreement they had with you.

         25              So that those -- and you have to train your


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          1     employees as they work with -- we've seen that way

          2     back with -- an example that was publicly stated

          3     here with Metro Mail where on the 13th phone call,

          4     an untrained person gave information out.          You have

          5     to make sure that you work that way because you can

          6     quickly lose consumer trust.

          7                A 60 Minutes program, something like that,

          8     can destroy your business, so I think that that's a

          9     big downside for businesses.

         10                The upside is that you can try and grow and

         11     expand and give people who don't have as many

         12     choices more choices and so forth, but you can, if

         13     you are reckless, totally destroy your business

         14     with some mistakes.

         15                MS. RICH:   I'll take Jason, and we'll move

         16     on.

         17                DR. CATLETT:   Thanks.    Building on Jerry's

         18     point there, it's not any danger to the individual

         19     company.     It's a danger to the collective trust by

         20     consumers of companies and the technologies.

         21                I would refer you to another Harvard

         22     Business Review article by Susan Fornia called

         23     "Preventing the Premature Death of Relationship

         24     Marketing" in which she tells -- gives an example

         25     of a supermarket with a loyalty card that would


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          1     send out personalized letters saying, You haven't

          2     bought X lately, why don't you come in and buy some

          3     more.

          4                And of course, inevitably some woman became

          5     pregnant, and the company -- the supermarket sent

          6     out a solicitation saying, Why don't you come in

          7     and buy some more tampons.

          8                There are a number of similar horror

          9     stories.     We heard the miscarriage example this

         10     morning.     We've heard the prison inmate sending the

         11     personal letter to Beverly Dennis.

         12                It's very difficult to quantify the degree

         13     to which the average consumer is aware of these

         14     horror stories, but I think that the American

         15     public is largely aware that they have very few

         16     rights in these cases.      The company takes a PR hit.

         17     They change supplier, but what about the individual

         18     whose data was used inappropriately?

         19                And I submit that the American consumer,

         20     under current law in the U.S., has inadequate

         21     recourse.

         22                MS. RICH:   Well, in addition to these

         23     issues Jason has just raised about how consumers

         24     are affected, I think the main concern for

         25     consumers that I heard identified in the opening


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          1     statements was whether the practices are

          2     transparent to consumers.

          3              Mary, you're nodding.       Would you like to

          4     expand on the points you raised earlier in the

          5     panel?

          6              MS. CULNAN:     I just don't think people know

          7     what's -- the average consumer knows what's going

          8     on, and then the problem is, and it exacerbates the

          9     trust gap, that people are surprised.          Then they

         10     become unhappy.

         11              And it's when -- wasn't what they were

         12     expecting, wasn't the bargain that they bought

         13     into, and so then they write to their members in

         14     Congress or they do whatever, there end up being

         15     stories in the newspaper, et cetera, and it causes

         16     a lot of problems for the collective business

         17     community.

         18              One of the things I forgot to mention

         19     before too, the people who were sort of the least

         20     trusting and the more concerned about privacy and

         21     the least willing to disclose were also the ones

         22     who were most likely to favor legislation, so I

         23     think there's a take-away there.

         24              I think the industry can do a lot to help

         25     educate people as they've done in other areas,


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          1     online privacy, kids privacy.        There were some

          2     terrific presentations at today's sessions.             Why

          3     not put them up on the Web?       Why not try to get

          4     people to go there?

          5              I think the DMA can play a big role in

          6     terms of trying to push your members along to do

          7     better disclosures by putting -- changing the model

          8     disclosures in the compliance manuals to be more

          9     forthcoming about what is really happening to your

         10     information when it's shared or when you provide

         11     it.   I think -- go ahead.

         12              MS. RICH:    Before we talk about this issue,

         13     could somebody, Jerry, Brian, somebody describe

         14     what kind of notice is being provided regarding

         15     these practices?

         16              MR. CERASALE:     I can start this at least.

         17     Notice has been provided by catalogers, for

         18     example, for an awful long time, and the notices

         19     generally -- I have a box of catalogs I was going

         20     to give Martha, I forgot to do it, I'll do it later

         21     now, that show on the order forms, basically is

         22     where they are, mailing, preference service

         23     information, so forth on how to, and they state

         24     basically that information is shared with third

         25     parties to send you -- to market to you offers that


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          1     you might be interested in, and if you don't want

          2     that, either call this number or write to us here.

          3              MS. RICH:    Does that encompass --

          4              MR. CERASALE:     That's the notice that

          5     generally comes in the off -- I would say in the

          6     offline world.

          7              Online is a little different in the sense

          8     that there's more space.       The real estate is fairly

          9     inexpensive, and some privacy policies are very

         10     lengthy, as some people have heard when they went

         11     to testify up on the Hill, a little bit too long,

         12     so they can -- some of them are a little bit more

         13     detailed in the offline world.

         14              Plus if you have a network advertiser on

         15     there, you have to add -- there's a whole slough of

         16     more notices that are required.

         17              MS. RICH:    When you say the notice says we

         18     share with third-party, does that include sharing

         19     with compilers?

         20              MR. CERASALE:     Yes, that's the way it is

         21     today, sharing with third parties for marketing

         22     purposes to send you offers, and it does say for

         23     marketing purposes, and that's where DMA requires

         24     it be for marketing purposes as well, but that

         25     would include that at this point, yes.


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          1              MS. RICH:     Do the notices talk about

          2     bringing in data from third-party sources and to

          3     provide overlays or other enhancements?

          4              MR. CERASALE:     Generally the examples I

          5     have with catalogers, they do not.

          6              MS. CULNAN:     I would say, first of all, I

          7     think again saying you share for marketing

          8     purposes, most consumers understand that if you buy

          9     X, you get Y where Y is the same industry as X, but

         10     they don't understand compilers.

         11              Second thing -- and now I've forgotten what

         12     I was going to say.

         13              MS. RICH:     We'll come back to you.

         14              MS. CULNAN:     Oh, oh, oh.       The enhancement

         15     thing, I have seen -- there was one excellent

         16     financial services notice about enhancement that

         17     basically said, We do profiling, we do data mining,

         18     we acquire third-party data, non credit report

         19     data, to understand how you use our card and we use

         20     this to serve you better, and they had an opt-out

         21     form right with the notice, and you could mail that

         22     back or call the 800 number.

         23              Unfortunately, with the Gramm Leach Bliley

         24     requirement, that doesn't cause companies to have

         25     to specify how they're going to use information,


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          1     just what they collect and who they disclose it to.

          2     That very nice statement disappeared from the Gramm

          3     Leach Bliley notice that this company has sent out,

          4     which is now their de facto privacy notice.

          5              So I think that's an issue that's probably

          6     not going to get Congress to act on it, but again

          7     more disclosure I think makes people more

          8     comfortable.

          9              MS. RICH:    Fred, were you going to address

         10     this point?

         11              MR. CATE:    Yes, and I have to say I am

         12     genuinely confused, and that is we talk a lot about

         13     transparency and that we all want transparency and

         14     we want more transparency, we want more disclosure.

         15              On the other hand, we know as a statistical

         16     matter people don't read these, and therefore we're

         17     saying we're going to make ourselves feel better

         18     about privacy because we're going to mail a lot

         19     more notices to people so they can throw those

         20     away, but we can then say we've met disclosure

         21     obligations.

         22              And what I wonder is if there isn't a

         23     better way, in other words, if there isn't a way to

         24     make -- to go back to that point.

         25              I mean, two things that have been said.


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          1     One is people don't want to be bothered, period.                    I

          2     think you could just stop there.           It doesn't need

          3     to be qualified.     They don't want to be bothered

          4     with privacy notices any more than they want to be

          5     bothered with anything else.

          6              And if you want empirical evidence of that,

          7     just go home and set your own browser so it asks

          8     you every time you get a cookie and see how long

          9     you live under that system.

         10              You just don't want to be bothered.             I

         11     mean, it's that simple.       You will set the default

         12     to accept all cookies or you will stop browsing on

         13     the Internet.      I'm only describing 97 percent of

         14     the population.     I know there are three of you out

         15     there who will be different.

         16              So is there a better way to provide to get

         17     rid of the surprises, if you will, yet recognizing

         18     people really don't want to be sort of educated

         19     generally about this?      I mean, as a professional

         20     educator, I know how hard it is to hold the

         21     attention of anybody at any time, but the idea of

         22     providing sort of a lesson on privacy at point of

         23     sale, it's a little easier maybe on the Internet.

         24              But it also comes back to that problem of

         25     thinking specifically about when are we talking in


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          1     a transaction and what is the impact on the

          2     consumer depending upon when that is?

          3              At time of collection it's probably much

          4     easier, Why am I asking you for this information,

          5     here's why I'm asking, but that requires of course

          6     that we're only talking someone who is dealing

          7     directly with the consumer.       We're not talking

          8     about any third-party activity there, and we're

          9     talking about they're going to anticipate all

         10     possible uses at that moment.

         11              And of course remember that notice, if it's

         12     complete, will be criticized as being overly

         13     detailed, and if it is incomplete will be

         14     criticized as forming a contract that doesn't

         15     include all of its correct terms.

         16              But what I worry about is the later use.

         17     Back to the AOL example, AOL decides it wants to

         18     start mailing disks to people's houses.           It didn't

         19     have any dealings with any of those people.              It had

         20     no chance to talk about consent with any of them.

         21     It can't mail them notices for consent because to

         22     do that, it would have to use the very information

         23     we want them to get consent before they use.

         24              What are they to do, buy ads educating

         25     people, I'm a start-up business.           You have $3 in


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          1     your pocket but you can buy an ad in the New York

          2     Times saying, let me educate you about something we

          3     know the public is not interested in generally

          4     being educated about?

          5              I think it's a real conundrum that frankly

          6     none of us, and I'm certainly including me, have

          7     done a very good job getting at.

          8              MS. RICH:    Evan?

          9              MR. HENDRICKS:       That's why I brought up

         10     earlier, I think it has to be case by case.             I

         11     think we have to be practical here because nobody I

         12     know in the privacy advocacy community wants to see

         13     bad things done in the name of privacy.

         14              That's why I brought up with the magazine

         15     publishers, How about putting a box at the bottom

         16     of the card?    It's not going to cost you anything.

         17     A lot of people -- and it's opt-out, which is the

         18     altar that many people here are praying at, and

         19     still there was no willingness to commit to

         20     anything like that, and I think that evidence is a

         21     certain level of bad faith, to be frank.

         22              I think the one -- the other thing I fear

         23     is like the two real harms to privacy, the most

         24     extreme harms are identity theft which is supposed

         25     to be the fastest growing crime in the U.S., and


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          1     information brokers, the guys that get your

          2     information.

          3              And for many years the credit reporting

          4     agencies have been the easiest target for those

          5     people, and I think because of litigation under the

          6     Fair Credit Reporting Act and business cases and

          7     settlements and losses, the credit reporting

          8     agencies, you're going to see them tightening and

          9     tightening and tightening the procedures and

         10     protections against those two threats.

         11              And what you're going to see is the

         12     identity thieves are going to be turning to these

         13     other sources of data, and so when the marketing

         14     material says this will only be used for marketing

         15     purposes, I think there's a real warning cloud out

         16     there about these existing threats that you can

         17     anticipate.

         18              And finally, I have to point to the

         19     ToySmart case which the FTC is familiar with.           I

         20     mean, here's a company that had a privacy policy.

         21     It went bankrupt, and its privacy policy lost out

         22     to its fiduciary duty to in that case the trustees

         23     and the bankruptcy, that they had to sell their

         24     data.

         25              And I think that if a marketing company


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          1     basically says they only want to sell this

          2     information for marketing, but if certain revenue

          3     streams and opportunities come up which says that,

          4     Well, you can sell more individual profiles for

          5     different purposes for screening, then that's going

          6     to create the same quandary because that

          7     corporation will have a fiduciary duty to its

          8     shareholders to go after those revenue streams.

          9               MS. RICH:     We'll take Greg and then Jason,

         10     and then we'll open it up for questions.

         11               MR. MILLER:     Just a quick couple of points.

         12     One, I also was sort of surprised this morning

         13     about the response with regard to the check box on

         14     the bottom of the card.

         15               For some empirical data from the

         16     entertainment industry from the focus groups we've

         17     been working on, we actually got quite a different

         18     result.      We discovered that if we engage consumers,

         19     a trust relationship was built.

         20               We started to minimize the notion of

         21     surprising, and we actually found there was an

         22     updraft or an uptake in people opting in if you

         23     gave them the permission to opt-in.

         24               I think one of the big fears about this,

         25     from the marketers is that, Gosh, if we start


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          1     asking people for permission, they're going to say

          2     no.   That was a suggestion this morning that was

          3     made that, no, people won't fill it out.          They'll

          4     actually not opt-in.      In fact, we find -- we have

          5     empirical data that shows they will.

          6              Another point we found out is nobody reads

          7     the privacy policies, as Professor Cate observed

          8     correctly, and we once we started describing to

          9     people the notions of data gathering and what can

         10     be done with it, that was really what started

         11     sending people into a tizzy because, let's face it,

         12     people have no idea what an aggregator is.

         13              They don't know the difference between an

         14     aggregator and a marketer.       They couldn't recite

         15     that slide up there to make a conscious decision

         16     about whether they should participate or not, and

         17     as you begin to educate them, you end up drifting

         18     into this rat hole of technicalities and nuances.

         19              So we had that problem, and to speak to Mr.

         20     Cate's notion of what do we about it, one thing

         21     that we have been experimenting with is the sort of

         22     interactive privacy policy, and it was because on

         23     advice of legal counsel, somebody started saying,

         24     Guess what, it turns out it's not really a policy,

         25     it runs more like an agreement, like a terms of


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          1     service agreement.      We're going to find that a

          2     privacy policy is in fact a contract, and that sent

          3     up the red flag.

          4              And we said, Okay, so we need to reengineer

          5     the privacy policy and be an interactive document,

          6     so what we did with the JOIN program is that we

          7     asked people to actually read through the policy,

          8     meanwhile in the back while we're consorting their

          9     data and setting up their locker, and we asked them

         10     to click off a check box between each major section

         11     in the privacy policy.

         12              And we started compiling that data to see

         13     which sections people were reading and what they're

         14     doing with it.     It also gave us some affirmation

         15     that they had at least seen the privacy policy,

         16     whether they were going to do anything about it or

         17     not, and we found that that was pretty instructive.

         18              And then finally the last thing was that in

         19     the focus groups that we ran, and they were in New

         20     York and Texas and North Carolina and Seattle,

         21     Washington, Los Angeles as I recall, it turned out

         22     that the most common thing that people reacted to

         23     about what would happen with their data was again

         24     being surprised, being bothered, not being left

         25     alone.


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          1               They didn't give permission to get that

          2     piece of mail or that announcement or whatever, and

          3     the second thing, identity theft.          The second most

          4     popular concern turned out to be identity theft,

          5     and this is data, talking to people who are

          6     consumers of musical and video entertainment and

          7     are looking for ways to get that through the

          8     Internet.

          9               MS. RICH:   Jason?

         10               DR. CATLETT:    Thanks.    I think the solution

         11     to Fred's conundrum about transparency is to

         12     guarantee each individual access to the data about

         13     them.    If you think transparency means putting up a

         14     long notice, I think that's very much mistaken.

         15               Let's take the analogy with the federal

         16     government departments.        I don't read the mission

         17     statement of every federal government department

         18     that might have personal data about me, but I know

         19     that if I think they're doing something wrong, I

         20     can put in a FOIA request, find out the specific

         21     data they have and see if I need to fix something

         22     there.

         23               So I think a similar principle of

         24     transparency would provide a lot of assurances

         25     about direct marketing companies.          Unfortunately,


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          1     and other trade groups and companies have refused

          2     not only to give general access to marketing data,

          3     but also even at this workshop to show us specific

          4     examples of known individuals who have consented to

          5     it.

          6              I think that's astonishingly arrogant, and

          7     that the FTC should have a forceful response to

          8     open up that transparency to the degree people

          9     want.

         10              MS. RICH:    Let me follow up.       Jerry, when

         11     you said that the privacy policies, when they in

         12     general talk about sharing with third-parties and

         13     that encompasses sharing with compilers, is that --

         14     some of the comments here made me realize we may

         15     not have -- I didn't understand your response.

         16              Does it actually discuss sharing with

         17     compilers?

         18              MR. CERASALE:     No, no.    It's sharing with

         19     third parties.     The view of DMA is that data that

         20     is shared should be subject to a notice and an

         21     opportunity to say no, and that data can be shared

         22     with third-parties for marketing purposes and

         23     compilers.

         24              And I think Win talked about making sure

         25     the information they received had come from


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          1     marketers that had given notice and opt-out, so

          2     that's where it's at.

          3              As far as the general common notice, there

          4     is no statement concerning compilers at this point.

          5              MS. RICH:    We'll go to questions, but if

          6     Fred and Evan could -- did you want to say

          7     something?

          8              MR. HENDRICKS:     Go to questions.

          9              MS. RICH:    Fred, did you have something

         10     very quick to say.

         11              MR. CATE:    I just wanted to say, there is

         12     now a data set, which Jason has reminded me of, and

         13     that is if we're going to talk about the federal

         14     FOIA, there's excellent data under what access

         15     under FOIA costs, about the litigation it generates

         16     and about the amount agencies spend on it.

         17              At some point in the late 90s the agencies

         18     stopped collecting data because the process of

         19     collecting that data was high, but certainly for

         20     the preceding 20 years, there's excellent data

         21     which would be easily available to the Commission

         22     on what complying with an access regime costs.

         23              MS. RICH:    I saw some questions in the

         24     audience, lots of questions.        This gentleman right

         25     here was holding his hand up earlier, right here


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          1     with the gray or the -- I can't see in the light.

          2              MR. O'HARROW:     I don't know if this is

          3     going to work.     I'll talk into it.

          4              MS. RICH:    Could you say your name?

          5              MR. O'HARROW:     Robert O'Harrow.      I'm a

          6     reporter at The Washington Post, and I have written

          7     a little bit about this over the last couple years.

          8              MS. RICH:    I didn't know who he was when I

          9     called on him.

         10              MR. O'HARROW:     That's okay, and excuse me,

         11     and one thing I thought was very interesting, and

         12     I've actually noticed it for several years is the

         13     discussion oftentimes found its way back to the

         14     question of whether or not the use of data

         15     warehousing, data mining and so on increases or

         16     reduces the mail that an individual receives at

         17     home.

         18              And then the discussion sort of surrounds

         19     that for quite awhile, and I guess I wanted to sort

         20     of raise a question of whether that's really the

         21     issue.   It seems to me that in some ways it used to

         22     be the issue, but in many cases it might be a

         23     canard that tends to distract us from the larger

         24     issue at hand, which I think is profiling.

         25              And so I wanted to sort of raise that as an


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          1     open ended question, of whether or not that's

          2     something that's salient at this point.

          3              Secondarily, there was an assertion up

          4     there that people don't want to be educated, and I

          5     think what I've found in interviewing many, many

          6     people and industry folks, academics and so on is

          7     that the reality is that people don't want to read

          8     legalistic privacy policies that are written to

          9     meet a very low threshold for privacy disclosure.

         10              I find it very difficult, and I've read a

         11     lot of them, and some of them I've actually

         12     understood.    In fact, I would have to say as gently

         13     as possible that I don't think anything could be

         14     further from the truth, and that at my paper, it's

         15     one of the most widely read subjects that we've

         16     written about and that people can't seem to get

         17     enough of true, clear, explanation.

         18              And oftentimes a clear explanation will

         19     create a great deal of anxiety which, to loop back

         20     to my original assertion about the direct marketing

         21     and the mail and so on, the real issue, is the

         22     question is, Do people want to feel like they're

         23     being watched, and charted without their

         24     permission?

         25              Just some food for thought or if anybody


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          1     wants to address that.

          2              MS. RICH:    Evan?

          3              MR. HENDRICKS:       Yes, thank you.    I think it

          4     is because some of the steadiest pollings by Lou

          5     Harris and through the 1990s was, "Do you feel like

          6     you're losing control of your data," and that was

          7     the issue.

          8              And, of course, the direct marketing

          9     industry is in the business of sending out mail, so

         10     they're going to try to refocus the issue there,

         11     but the truth of the matter is what's driving this

         12     issue is people feel they're losing control of

         13     their data, and they don't like it, and they would

         14     like something to be done about it.

         15              MS. RICH:    Fred?

         16              MR. CATE:    Yes.     I think on the education

         17     point, of course it's exceptionally well taken.            If

         18     you write it in language that people don't

         19     understand, they're less likely to perceive it.

         20              I think, however, the issue goes much

         21     farther than that, and I think probably everyone in

         22     the room would know it, and if you want to try a

         23     test, have The Washington Post when people call to

         24     subscribe or to buy classified ads read the first,

         25     say, page of their privacy policy on the phone to


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          1     them, people aren't overly interested.

          2              They really didn't want to go on.         They

          3     want the service.     They couldn't care less.          Let's

          4     move ahead.    It might be different if you were

          5     going to a doctor or something, very contextual.

          6              I understand that, but I think the problem

          7     is, is when we talk about transparency, whether we

          8     mean notices or that you tell everything you do or

          9     you make it possible for them to find it, that

         10     there really is a reality that people are not that

         11     interested in that they love great stories.             They

         12     love human interest stories and all of that.

         13              But to describe the data processing

         14     operation of a corporation, to have anyone do it,

         15     the best marketer in the world, I just don't think

         16     it can be done.

         17              MR. O'HARROW:     If I could add one follow up

         18     thought, which I think is interesting.          One of the

         19     things that's interesting here is without a doubt

         20     that without a doubt, people love the services,

         21     even if they don't know how it's done.

         22              There's no question, people are loving the

         23     personalized services.      They're climbing on to the

         24     stuff like crazy, and it's definitely the future of

         25     business in our time.


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          1              Yet, when they find out how that service is

          2     provided, and not just necessarily in a human

          3     interest story, but let's say an analytical story,

          4     they find -- we find that oftentimes they get

          5     freaked out, and they're not so sure they like the

          6     service under the terms that they've taken it.

          7              MS. CULNAN:     Jessica, can I add just one

          8     quick point?    I think we don't really know a lot

          9     about sort of the consumer process of learning

         10     about this and what really works.          We haven't done

         11     a lot of research, and I think it's an area where

         12     now that we've moved past sort of the, yes,

         13     everyone is concerned about privacy kind of surveys

         14     that are coming in, is to really do some academic

         15     research.

         16              What are the trade-offs people make?           What

         17     kind of notices make sense?       I think the idea that,

         18     well, notices are too hard to understand so let's

         19     not have any notice at all is a bad idea, just my

         20     personal preference.

         21              There's also a lot of research that's

         22     looked at justice, fairness, because this is what

         23     this is really about, treating people fairly, and a

         24     lot of times people may not want to read the policy

         25     or they may not want to exercise their rights under


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          1     some kind of a justice system, but they want to

          2     know that they have the rights, and that then makes

          3     them more comfortable in participating, and it

          4     makes them think things are fair.

          5               So even if they don't click on the privacy

          6     policy, they may want to see that link.

          7               DR. CATLETT:    Just to comment on Robert's

          8     observation that people like the product but when

          9     they found out how it's made, they're not so sure,

         10     it reminds me of Prince Von Bismark's remark that

         11     the less people know about what goes into making

         12     laws and sausages, the better they'll sleep at

         13     night.

         14               I think that the food analogy is a useful

         15     one here.    Congress passed the Pure Food Act in

         16     1904.    It didn't actually say you couldn't put

         17     cocaine into the Coca-Cola.       They said you just

         18     have to label the fact that you're putting it in.

         19               And I think that transparency in terms of

         20     actually showing us the data about you and what

         21     goes into making it is part of enabling consumers

         22     to have a real choice about whether they want to

         23     buy or participate in that product.

         24               MS. RICH:   Let's take the next or a few

         25     more questions.


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          1                MR. LE MAITRE:   I'm sorry, I was going to

          2     respond on the point, Am I losing control of my

          3     data.     My name is Marc Le Maitre.       I work at

          4     Nextel.

          5                I moved to the U.S. about four years ago,

          6     and I started from ground zero literally.          Nobody

          7     had anything on me, including the credit reporting

          8     or anything, and the first pieces of mail and the

          9     first unsolicited phone calls were actually quite

         10     welcome.     My wife engaged the gentleman on the

         11     phone for an hour and a half.        She didn't buy

         12     anything but was delighted to receive the phone

         13     call.

         14                It actually taught me a lot about the

         15     community that I moved into, so I actually welcomed

         16     it, but it's now got to the point now where I can't

         17     sit down in the evenings to dinner with my children

         18     without getting an unsolicited phone call.

         19                And I think it's got to the point now where

         20     I -- at first I knew exactly who it was who was

         21     abusing it.     The first company I gave my

         22     information to was my bank.       I will not say which

         23     bank, unless you ask me afterwards, but it's now

         24     got to the point where I bought a DVD player two

         25     weeks ago, and I was getting unsolicited requests


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          1     to join clubs to buy DVDs.

          2              And so some of it is good.        My question is:

          3     Where is it going to end?       I don't have a great

          4     deal in the way of health information in this

          5     country yet, so I still don't know whether that's

          6     being abused.

          7              Financial information I'm fairly confident

          8     is being used without my knowledge, but working in

          9     the wireless industry, things like location

         10     services, where will it end?        At which point do I

         11     say, This data is sacrosanct, you cannot have

         12     access to it, or will I have the opportunity, or

         13     will it just be taken for granted that this is just

         14     another piece of information that can be used to

         15     market to me?

         16              MS. RICH:    Does anyone want to respond?

         17              DR. CATLETT:      Your video rental records

         18     are sacrosanct according to Congress.

         19              MR. LE MAITRE:     But not DVDs.

         20              DR. CATLETT:     I know the fact that you

         21     bought a DVD is not sacrosanct.

         22              MR. HENDRICKS:     Okay.    I think that to

         23     answer your question in the short run, no, you will

         24     not have that right.      I don't there's any realistic

         25     chance in the next six months to nine months that


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          1     significant legal protections for privacy and

          2     individual's personal information will be passed.

          3              I don't think the current power machine and

          4     the administration in the Republican leadership is

          5     interested, and so I think this is more of a long

          6     term struggle.

          7              MS. RICH:     The gentleman on the left there?

          8              MR. BEHRENS:     If this is working, I'm Ed

          9     Behrens with the Progress and Freedom Foundation.

         10              I wanted to follow up briefly on Mr.

         11     Miller's comments on providing notice, choice, et

         12     cetera, in the interest of serving consumers, but I

         13     think there's two dimensions to the question.

         14              One is:     Should they be provided?      The

         15     second is:    Should they be mandated?        And I think

         16     that's a separate question.

         17              And I would like to draw out the panel on

         18     the practical ramifications of mandated principles

         19     versus not, both beneficial and adverse.

         20              Thank you.

         21              MS. RICH:     Who would like to respond?

         22              MR. CERASALE:     Sure, what the hell?         I like

         23     to use an example of a business model that would

         24     not be allowed by the DMA guidelines and decide

         25     whether or not we want to outlaw that business


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          1     model.

          2              You go to my Web site, Jerry Cerasale.com,

          3     and the first thing you see, notice, and I sell

          4     radios, so it's a commodity.        I try and sell you,

          5     provide you these radios at the lowest price

          6     possible.    I hold down costs as much as possible.

          7     In that light I share and rent your information to

          8     others and provide the savings on to you.

          9              I do not provide you the opportunity to not

         10     participate in this sharing.        I do not provide

         11     access opportunity to you because both of those

         12     things will increase my costs and therefore

         13     increase the cost of my goods to you.          If you don't

         14     like this, please, please shop elsewhere.

         15              Is that business model illegal?         And that's

         16     what most -- a lot of people discussing would make

         17     that an illegal business model.        I don't think

         18     that's where we should be.

         19              MS. RICH:    If people are willing to go a

         20     little bit into the break, we could take some more

         21     questions, and it looks like everyone wants to ask

         22     questions.

         23              MR. HENDRICKS:     And, Jessica, just quickly,

         24     the OECD guidelines were adopted in 1980 and

         25     endorsed by the United States government and all


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          1     Western, European and Japan and Canadian.

          2              Yes, I would say we want to see those

          3     guidelines incorporated into law across the board,

          4     yes.

          5              MS. LEGIEREM:      (Phonetic)     My name is Ann

          6     Legierem with a banking agency, and my question's

          7     really with as far as I'm a consumer, this morning

          8     there were statements made that best practices

          9     would have it that marketing associations disclose

         10     that you're going to share the information or

         11     whatever.

         12              And I was wondering if there's any kind of

         13     figures that you collect that you really have an

         14     idea of how many do really make disclosures to

         15     their consumers.

         16              And then as a consumer, a mother and all, I

         17     saw an article on the CNN Web site recently, about

         18     two weeks ago, about how schools had -- the kids

         19     were surfing the Internet I think as part of their

         20     classroom studies, and there was a marketing

         21     company who had software on the computers.

         22              They were following the click streams.

         23     Well, the parents didn't know about it, but then

         24     that, like the dynamic pricing, somebody tripped

         25     over it, found out about it, caused an uproar, it


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          1     was pulled.

          2                So I guess what I'm saying is this morning

          3     representations were made about -- representations

          4     were made about, Well, our best practices are that

          5     we disclose to consumers but I'm wondering in

          6     reality how many really do.

          7                MS. RICH:   Would anyone like to respond?

          8     Jerry's on the hot seat.

          9                MR. CERASALE:    DMA has a privacy promise

         10     that requires disclosure.       We have an FTC letter

         11     exempting us from antitrust problems as long as we

         12     can kick people out.       There are 3,000 marketers,

         13     3,500 marketers that have signed it.

         14                I would say that 80 percent of the mail you

         15     receive is probably from members of the Direct

         16     Marketing Association, and so we have -- so those

         17     are the numbers we've got.       We have our own mail

         18     preference service, telephone preference service to

         19     pull people off of lists.

         20                There are well over 3 million names on each

         21     of them.     They're free to consumers to get on, and

         22     so those are the numbers that we have, so the major

         23     marketers who are members of ours do direct

         24     marketing, which are some of the largest marketers

         25     in the country, do provide notice and an


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          1     opportunity to say no.

          2              They in a sense would not follow that

          3     business model I just mentioned.

          4              MR. LANE:    Can I just make a comment

          5     getting back to Mr. Behrens' comments about

          6     federally mandated laws?

          7              I think what this panel has shown, for the

          8     most part because it was supposed to be empirical

          9     evidence about the effects of mergers and

         10     acquisitions or mergers and exchange on consumer

         11     businesses, and there are reports that are

         12     beginning to come out to highlight what some of the

         13     costs are.

         14              But I think what we have found is we don't

         15     have a lot of information, that we are just looking

         16     at the impact that information sharing has on the

         17     overall economy.     Who is in Mary's first survey on

         18     Web sites and who has privacy policies and who

         19     doesn't and what impact that has on consumers.

         20              We have the Forrester research that says $2

         21     billion lost on Internet sales.        Are they real?

         22     What other information do we have?

         23              So from our point of view, what our biggest

         24     concern to get to federally mandated legislation is

         25     that we don't have enough information on what harms


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          1     are we trying to address specifically and how those

          2     harms -- and the cost benefit ratio of those harms

          3     and where really are the American people.

          4              We know the American people are concerned

          5     about privacy.     We all know that.       That's why this

          6     room is filled.      Yet we don't have the details of

          7     what are those concerns, the next five layers below

          8     that, and I think before we move forward in any

          9     federal legislation, we need -- or state

         10     legislation -- we need to get a little more

         11     dynamics and not the rhetoric that we constantly

         12     hear across the board on both sides, but some real,

         13     factual data of what are we talking about.

         14              And I don't think we're there yet, and this

         15     panel is a perfect example.       We don't have a lot of

         16     facts.   We're all saying the same rhetoric that

         17     we've been saying for five years now.          Yet nothing

         18     has improved, but we're beginning slowly to get

         19     information, and that's critical.

         20              MS. RICH:     The gentleman back here?

         21              MR. MEISINER:     Thank you, Madam Chair.

         22     Speaking of facts, my name is Paul Meisiner from

         23     Amazon.com.    I have to do this stand up routine

         24     now.

         25              Maybe it's the lack of oxygen in this room,


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          1     but I understand it was alleged that we engaged in

          2     dynamic pricing last fall.       In fact, there was

          3     apparently some long description of how this

          4     so-called dynamic pricing was discovered.

          5                But let me assure you that policy making is

          6     difficult enough based on facts, but when it's

          7     based on fiction, it cannot go right.          We did not

          8     engage in dynamic pricing.       We never have, and we

          9     actually have promised never to do it, even though

         10     it would be perfectly legal for us to do so.

         11                Let me repeat, back last fall we engaged in

         12     some random price tests where we would serve up

         13     different prices to consumers based on when they

         14     came on.     If you were the same person sitting at

         15     the same terminal, same browser, you hit our site

         16     several times, you're going to get a different

         17     price for the same item.

         18                The whole idea was to figure out where to

         19     price the item.     Well, random, again based not on

         20     demographic information.       It was not a privacy

         21     issue, full stop.

         22                Well, we got a lot of flack for it and

         23     rightfully so.     It confused our consumers, our

         24     customers, and we regretted doing it.

         25                As a result what we did is we promised


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          1     never to engage in dynamic pricing ever again,

          2     something that would be perfectly legal for us to

          3     do, and then we went and refunded all of our

          4     customers, even the ones who had paid willingly 12

          5     bucks for a CD.

          6              We went and refunded them the difference to

          7     the very lowest price, and we said, If we ever in

          8     the future ever do this random price testing again,

          9     we'll do the same thing so that everyone will

         10     always pay the lowest price.

         11              Frankly we're being held to a much higher

         12     standard than other businesses are being held to,

         13     but I think frankly it really pains us all when we

         14     have to sit through one of these meetings and find

         15     out that what has been discussed here is factually

         16     inaccurate.

         17              DR. CATLETT:     Paul, I don't think I

         18     misrepresented that Amazon did the random pricing.

         19     I think I said that it was accused of -- we'll have

         20     it in the record.

         21              MS. RICH:    Ted Wham has a quick comment,

         22     and then we'll take one more question, and I think

         23     everyone wants to splash water on their face, it's

         24     so hot in here.

         25              MR. WHAM:    Ted Wham with Database Marketing


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          1     for the Internet.     I had one quick statistic I

          2     wanted to share.     I previously worked at

          3     Excite@Home, and when I was there, I was the Chief

          4     Privacy Officer among several hats that I wore at a

          5     rapidly growing company.

          6              There was a segment on 60 Minutes regarding

          7     Internet privacy.     It was approximately two years

          8     ago, two and a half years ago.        Jason Catlett

          9     actually was one of the speakers on that session

         10     just describing -- so you hold it closer, it works

         11     -- describing the risks to the consumer on the

         12     Internet basis.

         13              We were asked by 60 Minutes to participate

         14     as one of the companies being interviewed, and we

         15     originally said yes, and then we went, Oh, God, we

         16     don't want to do this, and we said no.

         17              And because we additionally owned a

         18     third-party ad serving firm, MatchLogic, we were

         19     concerned that we were going to be targeted within

         20     the segment and wanted to be very prepared, so we

         21     went full out and made certain everything was

         22     aboveboard, and we went through the privacy policy

         23     links, privacy policy on absolutely every page of

         24     the site, where they remain I believe to this day,

         25     and really tried to make certain that we were


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          1     ready.

          2              The day immediately following the airing of

          3     one of the top five most watched television shows

          4     in the United States where portions of our site

          5     were shown and the risks to consumers of privacy,

          6     Excite@Home, as it does every day for the past year

          7     or so forth, received over 20 million unique users

          8     visiting the site that day.       If my recollection is

          9     correct fewer than 100 of them accessed our privacy

         10     policy links.

         11              The notion that consumers want to take --

         12     now, you can argue whether the privacy policy that

         13     I wrote was easily readable and comprehensible and

         14     so forth, but only a hundred people got there to

         15     find out.

         16              The notion that the consumer is interested

         17     in learning about this and spending the investment

         18     I think is mistaken.      I think the comments that

         19     Fred brought up, Fred Cate brought up that most

         20     consumers want to have, quote, privacy, don't

         21     bother me with the details, is much, much more

         22     accurate.

         23              MS. RICH:    One more quick question, and the

         24     gentleman over here.

         25              MR. SMITH:     Yes, Richard Smith, The Privacy


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          1     Foundation.    One thing we're hearing a lot about,

          2     how profiling and gathering of consumer information

          3     benefits businesses.

          4              I've heard very little about cost, other

          5     than two very interesting numbers.         One person said

          6     acquisition costs today for E-commerce sites was

          7     $2,000 a customer, which is probably on the high

          8     side, but I don't know of really any business,

          9     other than maybe the yacht business, that could

         10     afford that.

         11              And then also the issue of the credit card

         12     offers, that the number that are going out is going

         13     up dramatically in the last two or three years.                At

         14     the same time the response rate inversely

         15     proportional is going down at the same rate.

         16              So I'm wondering here in business how much

         17     feedback in the process is really going on.             Were

         18     these online and data gathering things cost

         19     effective really or is it just we're on a sled here

         20     and we're heading in this direction and we'll go

         21     on?

         22              Thanks.

         23              MR. LANE:     I think a lot of businesses, and

         24     if you look at the downturn in ad revenue on the

         25     Web sites, as we all know, they're hurting, in the


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          1     newspaper industry where San Jose Merc is laying

          2     off hundreds of people because ad revenue is

          3     dropping, and companies are beginning to

          4     reevaluate, Is it worth spending $2 million

          5     advertising on the Super Bowl.

          6              I think there's a wholesale looking at what

          7     is the best way to reach out to your customers, and

          8     that is the whole goal, but what I think is great

          9     though, having said that, there hasn't been a lot

         10     of facts in terms of pure data and research from

         11     this panel.

         12              What I think has been very important, and

         13     one of the reasons why I was one who supported the

         14     FTC putting this workshop together, was we do have

         15     an education process to consumers of how

         16     information is used in the economy.

         17              And I think the other previous panels were

         18     better at doing that than maybe this one, but I

         19     think once you have a better understanding, I think

         20     there will be less fear, and the trust deficit will

         21     be reduced once there is again an educated

         22     consumer.

         23              And so I appreciate and I wanted to thank

         24     the FTC for putting this forth to begin our efforts

         25     at having the business community focus our efforts


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          1     on educating consumers on I think these critical

          2     issues because they are all about how our economy

          3     is going to grow and work in the future.

          4               MS. RICH:   Thank you.     Finally we're at our

          5     break.    If you could keep it at a short break since

          6     we did get into the break, maybe five minutes, and

          7     then come back, maybe we can try to open the

          8     window.

          9               (A brief recess was taken.)

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          1     SESSION 5:     EMERGING TECHNOLOGIES AND INDUSTRY

          2     INITIATIVES:     WHAT DOES THE FUTURE HOLD?

          3

          4     DANA ROSENFELD, Assistant Director, Bureau of

          5     Consumer Protection, FTC, Moderator

          6

          7     PANELISTS:

          8

          9     JOHN KAMP, Counsel, CPExchange

         10     LAWRENCE PONEMON, Founding Board Member,

         11     Personalization Consortium

         12     BECKY RICHARDS, Director of Compliance and Policy,

         13     TRUSTe

         14     ARI SCHWARTZ, Senior Policy Analyst, Center for

         15     Democracy and Technology

         16     RICHARD SMITH, Chief Technology Officer, Privacy

         17     Foundation

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          1                               SESSION FIVE

          2       EMERGING TECHNOLOGIES AND INDUSTRY INITIATIVES:

          3                     WHAT DOES THE FUTURE HOLD?

          4                       -   -      -      -    -   -

          5              MS. ROSENFELD:          Okay.   Everybody, we're

          6     getting ready to start our last panel of the day.

          7     Please take your seats.           Please take your seats.

          8     Thank you.

          9              Welcome, everyone, to our last panel of the

         10     day.   I'm Dana Rosenfeld.          I'm an Assistant

         11     Director in the Office of the Director and the

         12     Bureau of Consumer Protection.

         13              Our final panel is entitled emerging

         14     technologies and industry initiatives, what does

         15     the future hold, which I think will be a very

         16     interesting panel.

         17              We are going to discuss whether new

         18     technologies are emerging that will increase the

         19     sharing of detailed consumer data, and also we will

         20     focus on what self-regulatatory initiatives are

         21     underway to address the privacy of consumer data in

         22     the merger and exchange process.

         23              Our first presenter today is John Kamp.

         24     John is an attorney with Wiley, Rein & Fielding in

         25     town and serves as counsel for CPExchange.                He has


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          1     extensive experience in privacy and other

          2     regulatory issues through his work of over more

          3     than ten years as senior vice president with the

          4     American Association of Advertising Agencies, the

          5     four As, and from his ten years at the FCC before

          6     that.

          7                CPExchange Network is a volunteer

          8     Consortium of over 90 business organizations.           It's

          9     dedicated to developing a vendor-neutral open

         10     standard to facilitate the exchange of privacy-

         11     enabled customer information across enterprise

         12     applications.

         13                CPExchange facilitates the management and

         14     promotion of customer relationships by businesses

         15     across industry sectors.

         16                Special data elements of the CPExchange

         17     specification support the development of privacy

         18     policies by companies consistent with Fair

         19     Information Practices.

         20                And with that, I will turn the podium over

         21     to John.

         22                MR. KAMP:   Thank you, Dana.     As I'm

         23     bringing this up, I must remind some of you, many

         24     of you know that I'm a former college professor,

         25     and as such, we former college professors know that


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          1     there is only one class in the day that's worse

          2     than teaching an eight o'clock in the morning

          3     class, and that's a four o'clock class.

          4              So we're going to make this quick.             We're

          5     going to keep it lively and go forward from there,

          6     and we also, as professors, know that we learn more

          7     from our students, and thank you to the FTC for

          8     organizing this today because I know that we all

          9     have learned a lot.

         10              The CPExchange is about consumers

         11     generally, and one of the things I think as we've

         12     listened today through the morning, we heard people

         13     talking about it, was businesses who were doing

         14     most of this, but they were doing it in order to

         15     reach consumers.

         16              And looking at our sort of then and now

         17     kind of yin and yang here, this is about long-term

         18     customer-focused relationships, about new business

         19     processes, but it's mostly about high consumer

         20     knowledge, mass customization, multiple channels,

         21     proactive, integrated and highly responsive to

         22     consumer preferences.

         23              We want to know who are our customers, what

         24     are their wants and needs, what are the economic

         25     value of those needs, and how do we apply that


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          1     knowledge and how do we focus on those consumers.

          2              So the successful enterprise interacts with

          3     consumers through many channels such as -- and has

          4     many opportunities to understand those consumers.

          5              The imperatives in all of this, this

          6     customer driven, are protection of privacy, the

          7     sensing and responding to consumers' needs,

          8     satisfying those needs, reducing those costs to

          9     consumers and increasing the shareholders' equity

         10     of the company.

         11              Looking at this, the CPExchange was really

         12     designed to facilitate an enterprise's ability to

         13     share consumer information internally in large

         14     companies.    Of course it's gone forward.        It's no

         15     longer just used, designed for consumers.

         16              If you look at this model here, the

         17     schematic here, the CPExchange core, the group got

         18     together to look at the preferences, business

         19     objects, whatever, also added the functionality of

         20     the Web, most importantly through Dan Jaye, also

         21     someone who is very familiar in these quarters, at

         22     Engage Technologies, was part of the FTC Advisory

         23     Committee on Access and Security, worked very hard

         24     to develop the CPExchange privacy principles, which

         25     are P3P compatible, and all this is an XML


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          1     schemata.

          2              Looking at just the privacy declaration

          3     component in the P3P compatible, you see in that,

          4     you see very specific data elements for purpose,

          5     retention and access, and looking just at one of

          6     those, the retention component, you can see that

          7     there are many data elements that make it possible

          8     for this system, this protocol to ensure that there

          9     is a face with the consumer.

         10              Now, remember, CPExchange is not a data

         11     aggregator or a business that's in the business of

         12     aggregating these data.       It essentially is the

         13     development of a protocol that people can use, may

         14     use.   It's wholly voluntary, can be used by

         15     companies for the purposes they wish.

         16              But because in this -- in these late data

         17     sensitive times, privacy times, it was created

         18     during the period that the FTC was looking at these

         19     privacy principles and customers were making their

         20     preferences so apparent to companies, these privacy

         21     elements were contained in it.

         22              So quickly our summary slide, CPExchange

         23     facilitates that customer awareness and focus,

         24     enables corporate privacy policy implementation and

         25     addresses the privacy preferences of the consumer.


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          1                It's platform, vendor and application

          2     independent, provides a comprehensive view of the

          3     customer and the way that customer interacts with

          4     the many facets of the enterprise, provides

          5     granular privacy and an authorization model and is

          6     designed to promote optimal query and reporting

          7     systems.

          8                We suggest that you, as you look at this,

          9     remember that it's neutral, and it's open, and you

         10     also can find more information about it by going to

         11     the Web site CPExchange.org.

         12                Thank you.

         13                MS. ROSENFELD:     Thank you, John.    That was

         14     very succinct.

         15                Our next presenter is Ari Schwartz.          Ari is

         16     a policy analyst at the Center for Democracy and

         17     Technology, CDT.        His work focuses on protecting

         18     and building privacy protections in the digital age

         19     by advocating for increased individual control over

         20     personal information and expanded access to

         21     government information via the Internet.

         22                Ari also serves on the advisory committee

         23     of the Worldwide Web Consortium and is a monthly

         24     columnist for Federal Computer Week Magazine.

         25                Ari?


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          1              MR. SCHWARTZ:     Thank you.       This is the

          2     first time I've ever seen the windows opened up in

          3     this room, and I kind of like it actually.

          4              I'm going to talk about how technology has

          5     both -- kind of the positive ways that these new

          6     technologies can be used to protect privacy.              The

          7     story with most of these new technologies is always

          8     bad news for privacy and good news for privacy.

          9              In this case the bad news is you look at

         10     XML technologies, technologies that allow companies

         11     to tag information and exchange it more clearly and

         12     more openly means that there's greater sharing and

         13     that there's going to be greater profiling.

         14              Richard Smith will go into this in a little

         15     bit more detail, but the good news is that these

         16     same technologies open the door for new types of

         17     privacy enhancing technologies.

         18              I'm just going to give you two examples of

         19     this to kind of kick things off.           At CDT we don't

         20     build technologies, and that's for other people to

         21     come up with those kind of -- these kind of

         22     applications, but just to give some ideas of what

         23     people have been talking about and what they've

         24     been thinking about.

         25              The first one is the idea of tagging data


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          1     collections with a current privacy policy using the

          2     P3P vocabulary.     John talked about this a little

          3     bit, but I'm going to try to explain a little bit

          4     more what P3P is and how other technologies can use

          5     this.

          6              P3P was really designed originally to do

          7     business to-consumer transactions, to get at the

          8     question that we heard on the last panel asked

          9     maybe seven or eight times, about how consumers are

         10     having trouble reading privacy policies, that

         11     they're seven pages long, that they don't go there.

         12              Ted Wham brought up the point that people

         13     aren't going to a page.       Well, having read many,

         14     many, many privacy policies over the past six

         15     years, I can tell you that I find them difficult to

         16     read, and therefore I know how consumers must feel,

         17     that you go to one, you don't really feel the need

         18     to go to the next one if you're not going to be

         19     able to understand it.

         20              The idea of P3P was to allow a consumer to

         21     put in their preferences, their expectations of

         22     what they want to see out of a site and have the

         23     site put in what their privacy policy is.          When the

         24     browser gets to that site, they match up, and at

         25     that point the consumer has more control, and they


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          1     can decide whether to block that site.          They can

          2     decide whether to provide information.          They can be

          3     prompted.

          4              Really that's up to the browser

          5     manufacturer right now, and we're going to be

          6     seeing some of these applications in the next few

          7     months, but in order to do this, we had to create a

          8     vocabulary because we went around looking for

          9     vocabularies for privacy that went in to the real

         10     details about retention, as John showed us.

         11              And no vocabularies existed that really

         12     gave kind of multiple choice answers in the way

         13     that a Web site would need to be able to describe

         14     it if P3P were going to work.

         15              So we created this vocabulary.         Let me see

         16     if I can get it open now.       I lost the mouse.       Oh,

         17     here it is.    This mouse, okay.

         18              So this is just the basic P3P vocabulary,

         19     and we came up with these questions based on the

         20     Fair Information Practices.       The eight Fair

         21     Information Practices in the OECD guidelines were

         22     the starting point, but we really instead of --

         23     because those are really at a high level and we had

         24     to go into the detail and answer the multiple

         25     choice questions underneath, we worked with -- this


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          1     is a P3P working group, worked with data

          2     commissioners in the EU and in Canada, privacy

          3     advocates, companies and others, and really built

          4     this kind of -- the kind of questions that would

          5     need to be answered.

          6               But the idea here is that this is -- while

          7     this was -- we originally came up with this

          8     vocabulary to be used for business to consumers,

          9     people quickly found out you can use this for

         10     business to business as well, for sharing of

         11     information.

         12               You can tag this on and use it to help

         13     companies audit internally or have third parties

         14     come in and audit for them, to set up software that

         15     controls the use of information so that you can't

         16     send out, put people's Email addresses in the "to"

         17     field when it has -- when individuals sign up to a

         18     policy saying that their Email address would not be

         19     shared.

         20               There's a company called Privacy Wall

         21     that's building this kind of software right now, so

         22     there's a whole bunch of uses for this technology

         23     not originally envisioned, but you can use this

         24     vocabulary to answer that.

         25               Also, there's the ability of access that


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          1     these new technologies provide.        We heard a lot in

          2     the last panel again about cost and how cost -- how

          3     this was going to be -- that access was too

          4     expensive for consumers, this was discussed a lot,

          5     to provide to consumers.

          6               Well, if companies can provide the sharing

          7     between companies and make that less expensive,

          8     then they can also make it less expensive to

          9     provide it to consumers as well, and we shouldn't

         10     be overlooking the fact that making it cheaper in

         11     one aspect is also making it cheaper in another

         12     aspect.

         13               And then the final point here is the

         14     question of how this is really going to work and

         15     whether there will be market incentives for

         16     companies to use this vocabulary, to use the new

         17     access features, and that's still really

         18     questionable.

         19               This is obviously all stuff that happens

         20     behind the scenes, and right now responsible

         21     companies seem to be taking up these ideas, but

         22     will it be wide spread practice?           And the answer to

         23     that is that we still don't know.

         24               MS. ROSENFELD:    Thank you.       Ari.

         25               Our next presenter is Richard Smith.


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          1     Richard is the Chief Technology Officer for The

          2     Privacy Foundation, where he directs The

          3     Foundation's research activities.          He also has

          4     primary responsibility for explaining The

          5     Foundation's research findings to the media and at

          6     public events like this.

          7              Richard?

          8              MR. SMITH:     First of all, I want to thank

          9     the FTC for inviting me to speak today, and I was

         10     asked to actually look into the crystal ball here

         11     to see where technology is heading in terms of

         12     sharing more data, this idea of emerging

         13     technologies increasing the sharing, and very

         14     fortuitously yesterday, Steve Ballmer, the CEO of

         15     Microsoft Corporation, gave a speech for the

         16     Association of Computing Machinery, that's sort of

         17     like the Bar Association for the lawyers in the

         18     group here, gave a talk about XML which was going

         19     to be my topic so I thought that was very good.

         20              And I would like to quote from the article

         21     that ZDNet wrote which said that XML as the lingua

         22     franca of cyberspace would affect -- and it would

         23     effectively clear away lingering barriers blocking

         24     companies from exchanging information over the

         25     Internet.    And then the article goes along to talk


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          1     about the tools that are being developed to support

          2     XML and so on.

          3              What I found very interesting was there was

          4     really no discussion of what kind of data is going

          5     to be going back and forth, and pretty obviously

          6     some of it is going to be about widgets, about

          7     cars, packages and whatever, but it also is going

          8     to be personal information, so the answer here,

          9     looking into the crystal ball, is clearly yes,

         10     we're going to see more sharing because tools are

         11     being developed to make it easier to do.

         12              There's nothing magical about XML.             It's a

         13     particular specification of how companies agree to

         14     communicate data from one place to another, just

         15     like English is a way that humans communicate.

         16              The nice thing about it, it's very easy to

         17     understand, and it's also human readable, so for

         18     folks like myself who kind of like to look at

         19     privacy practices of companies, it's actually going

         20     to make it easier to look into things, but clearly

         21     we're going to see it's -- XML is going to help in

         22     the sharing of data, but it's also going to help in

         23     some of these areas like P3P and CPExchange,

         24     providing some privacy controls.

         25              The question is is, Will they be


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          1     implemented?      Just because they're in a

          2     specification there's still the issue of, Will they

          3     be implemented.

          4               Now, another issue, if you want to predict

          5     the future, I believe in looking in a crystal ball,

          6     you have to also follow the money.          We first follow

          7     the technology, but then we also follow the money.

          8               And pretty clearly in the Internet I think

          9     the most ardent cheerleader would now say that

         10     we've had a dot com meltdown of companies literally

         11     wasting billions of dollars on business models that

         12     are not going anywhere.

         13               But one thing is very clear is that the

         14     Internet is a very good place to get information on

         15     things.      If I wanted to go to the Google Search

         16     Engine, I could get information about anyone in

         17     this room probably, except for myself because I

         18     have a common name.

         19               But if you have a not so common name, it's

         20     a lot easier to find out information, and I think

         21     that really shows a good business model here, which

         22     is the idea that people are going to go to the

         23     Internet to make purchase decisions but then go to

         24     the offline world and buy stuff, like buy a car.

         25               And so I really see that as sort of the


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          1     money starting to focus people and business models

          2     in that direction, and what that's going to mean is

          3     the people that provide the information on the

          4     Internet are going to want a piece of the action

          5     when the sale is made in the offline world.

          6               So I see technologies like XML and

          7     CPExchange being done for that, so let me give you

          8     a quick example here.       We've all bought cars, and

          9     it's always an interesting experience.           Now that

         10     I'm older, I actually feel fairly confident about

         11     going in the showroom but at a younger age, it was

         12     sort of like me against them, and they had the

         13     information, and I think that's going to get more

         14     interesting here.

         15               For example, we go to a car Web site,

         16     research three different models of cars that we're

         17     interested in, and the Web site remembers that

         18     information.

         19               Well, the fun thing is going to be I

         20     believe in the future is you can walk into the car

         21     dealer.      They ask for your driver's license in

         22     order to do a test drive, and the other thing

         23     they're using that for is to go find out what

         24     you've been researching on the Web here, for what

         25     kind of cars you're interested in.


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          1              And that gives the salesman one up on you,

          2     which is he knows the other competitive models

          3     you're looking at, and he can have computer

          4     software that recommends how to sell against these

          5     cars.   You can also be scored on the likelihood of

          6     buying a particular model that you express interest

          7     in and so on.

          8              So I think we're going to see this very

          9     strong economic push, and I think it's basically

         10     inevitable that when we have one part of the market

         11     which seems to be dollar poor and another part of

         12     the market where the money is being spent, that the

         13     business models are going to have to go that

         14     direction.

         15              And we're going to see -- be forced into

         16     more information sharing.       It's just an inevitable

         17     part of this economics, much more so than we've

         18     seen on the Internet itself.

         19              Thank you very much.

         20              MS. ROSENFELD:     Thank you, Richard.

         21              Our next panelist is Lawrence Ponemon, who

         22     is the president of Guardent, a services and

         23     technology company enabling security, privacy and

         24     data protection.

         25              Prior to joining Guardent, Larry was the


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          1     founder of the PricewaterhouseCoopers global

          2     privacy practice.     Larry is a founding board member

          3     of The Personalization Consortium, and he will talk

          4     about that organization today.

          5               MR. PONEMON:    Thank you.       Everyone looks

          6     really hot and really tired.        Is that true or is

          7     that just a perception that I have?           I need to

          8     personalize on you.

          9               How many people worry about personalization

         10     and privacy?    Raise your hand.       Oh, come on.       I

         11     know it's late, everyone.       How many people worry

         12     about personalization privacy in the wireless Web?

         13     Let's see if we can get those hands a little bit

         14     higher?

         15               Quite frankly, there is actually a lot to

         16     worry about, in my opinion, and I know I sound like

         17     a heretic as a founding member of the

         18     Personalization Consortium.       I have good news.           I'm

         19     going to be fast in my presentation, and I do not

         20     have Power Point slides so you can actually watch

         21     me.

         22               The bad news is I'm going to read to you

         23     our blurb about what the Personalization Consortium

         24     is, and I'm going to tell you where we are and what

         25     we are trying to achieve.


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          1              The Personalization Consortium is an

          2     international advocacy group formed to promote the

          3     development and use of responsible one-to-one

          4     marketing technology and practices on the worldwide

          5     Web.

          6              The Consortium encourages the growth and

          7     success of electronic commerce that delivers the

          8     benefits of personalized electronic marketing while

          9     articulating best practices and technologies that

         10     protect the interest of consumers, and I want to

         11     underscore consumers.

         12              To achieve its goal of expanding the scope

         13     and use of personalization technology that respects

         14     consumer privacy, the Consortium has many

         15     functions, for example, to provide a forum for

         16     industry discussion and information, sponsor

         17     research, foster standards for technology and best

         18     practices and work towards consumer understanding.

         19     And toward this end the Consortium has established

         20     ethical information and privacy management

         21     objectives that articulate its goal to create a

         22     solid process that enables consumers to confidently

         23     use personalization technology for their benefit.

         24              Now, the Consortium was established about a

         25     year ago chaired by Don Peppers and a few other key


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          1     folks.     I was co-oped into joining the Consortium

          2     because of my very strong and very weird views on

          3     privacy.     So like you, I was pretty suspicious.

          4                So I attended my first board meeting, and

          5     at the first board meeting were about 30 or 40

          6     company representatives, and I saw a sincere

          7     interest to do it right, and I had this kind of

          8     vision in my mind.

          9                If someone could invent a cigarette that

         10     didn't cause cancer, wasn't habit forming, maybe it

         11     won't be so bad to smoke, right, and maybe that's

         12     where we are in the evolution of personalization.

         13     It's probably a bad analogy unfortunately, unless

         14     you're a smoker.

         15                But the idea is that we've grown from a

         16     small group of good companies to 67 great

         17     companies, and there are many, many other companies

         18     that are taking a wait and see attitude.

         19                Let me tell you a little bit about some of

         20     the challenges.     First, we set high standards.         If

         21     you read the Personalization Consortium and you go

         22     to our Web site which is www.Personalization.org, I

         23     don't know how to spell personalization, but my

         24     friend Jason can spell it for you.         And I think at

         25     the end of the day though when you go to that Web


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          1     site, you're going to find that these principles

          2     are about equal, not better than, not worse than,

          3     but about equal to many wonderful statements about

          4     privacy.

          5                So then you scratch your head and you say,

          6     "What's the difference here."        The difference is

          7     we're basically holding our members to a very high

          8     standard.     That is, it's not just good enough to

          9     say you're going to comply with these principles,

         10     but you have to undergo an audit, the A word,

         11     audit.

         12                And that's pretty scary because if you're a

         13     small organization or a large organization and you

         14     say you're going to be a member and suddenly you're

         15     no longer a member, you're basically killed or

         16     kicked off the membership list, it's a signal that

         17     basically suggests -- not suggests, that tells the

         18     universe that the company failed to comply.

         19                Let me just tell you the courage of

         20     members.     The founding members are very courageous

         21     because right now they just generally assume that

         22     they're going to pass this audit, but my guess is

         23     many will fall by the wayside and that the end

         24     result will be that some members will not make the

         25     grade.


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          1                Now, let me just tell you it's not for pure

          2     altruism, it's not because we're good guys.

          3     There's a real economic value proposition,

          4     something a little bit different than regulation

          5     and lawsuits, and that is if we do it right,

          6     becoming a member is going to be a good thing.

          7     It's going to be something that is of great value.

          8     It's going to be a way to differentiate your

          9     services and product in this ever evolving

         10     marketplace.

         11                Now, if that's so, then people will knock

         12     the door down to become a member.          To become a

         13     member will have real substantive meaning, and

         14     that's really what we're trying to achieve through

         15     the independent verification.

         16                Also, some people are confused, and the

         17     next speaker will talk about TRUSTe.          The next

         18     speaker will also discuss the issue of seals.            This

         19     is not just a seal.      It's not a new form of a seal

         20     program.     It is in fact about an independent audit

         21     conducted by a trusted party.

         22                So that's all I want to say about the

         23     Personalization Consortium.       I'm very proud to be a

         24     member, even though I was co-oped to becoming a

         25     member originally.      It's a great group, and I


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          1     really encourage everyone here, as well as in the

          2     spillover rooms, to go to our Web site and to find

          3     out more about what we are and what we want to

          4     become.

          5               Okay so without further ado, I'll sit down.

          6     Thanks.

          7               MS. ROSENFELD:     Thanks.    Thank you, Larry.

          8     Our next panelist is Becky Richards.          Becky is the

          9     Director of Compliance and Policy for TRUSTe, an

         10     Internet privacy seal program.         She oversees all

         11     aspects of enforcement operations and policy

         12     developments for the TRUSTe program, including

         13     TRUSTe's compliance operations and the TRUSTe Watch

         14     Dog Dispute Resolution Process.

         15               Prior to joining TRUSTe, Becky was an

         16     international trade specialist on the electronic

         17     commerce task force at the U.S. Department of

         18     Commerce's International Trade Administration.

         19               Becky?     That's a mouthful.

         20               MS. RICHARDS:     It is a mouthful.     I don't

         21     have a Power Point presentation either, so being

         22     the last person to speak on the last panel, I hope

         23     we'll get through this quickly.

         24               I'm actually not going to really talk about

         25     seals today.       Most of you probably know what they


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          1     are.   Instead, I'm going to talk -- we've heard

          2     today a lot about merging and exchanging of

          3     consumer data and what the benefits are and what

          4     the risks are.

          5              And at TRUSTe, we've been following the

          6     practices of merging and exchanging consumer data

          7     closely, but TRUSTe's main focus in the past has

          8     been on the explicit and inexplicit collection of

          9     information from consumers and the sharing of such

         10     information.

         11              TRUSTe's monitored the increasing practice

         12     of merging and exchanging and has been and will

         13     continue to work to ensure that consumers are aware

         14     of these practices.

         15              Mary Culnan in the previous panel brought

         16     up a very good point.      Transparency is very

         17     important.     If we're going to continue to increase

         18     growth via E-commerce, we need to have consumers'

         19     trust, and trust comes through transparency and

         20     understanding of what those practices are.

         21              Currently because we've really been looking

         22     at how information is collected from the consumer

         23     as opposed to the other way around, our license

         24     agreement doesn't -- does not explicitly address

         25     the disclosure of merging and exchanging of


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          1     information, although depending upon the practices,

          2     it could be required.

          3              As we look to the future, we will

          4     explicitly require companies to disclose the

          5     practices of merging and exchanging information, to

          6     increase the transparency and to increase trust.

          7              Our current practices are that we ask Web

          8     sites whether they're combining information from

          9     third parties by asking in the self-assessment," Is

         10     your company supplementing the information that you

         11     receive directly from users with information

         12     received by an offline means or from a third-party?

         13     If so, explain."

         14              So if a Web site states that information is

         15     being supplemented from such sources, this should

         16     be disclosed in the privacy policy.

         17              TRUSTe has a model privacy statement that

         18     is currently used by a number of companies as a

         19     privacy resource, and in this model privacy

         20     statement, we provide two different examples of how

         21     a company can address the supplementation of

         22     consumer information from third parties.

         23              The first example is really more

         24     appropriate for gathering of financial information,

         25     and so I won't go over that specifically.


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          1                Our second example deals with the combining

          2     of marketing information with consumer information.

          3     It states:     "In order for this Web site to enhance

          4     its ability to tailor the site to an individual's

          5     preference, we combine information about the

          6     purchasing habits of users with similar information

          7     from our partners, Company Y and Company Z, to

          8     create a personalized user profile."           So this is

          9     the disclosure.

         10                Now, for perhaps maybe a more real world

         11     example.     I have three examples.        The first one is

         12     one of our licensees that states explicitly that

         13     they do not supplement consumer information by

         14     stating that all information excluding our user

         15     passwords originates solely from our primary

         16     client.

         17                Now, in the case of a company that does

         18     supplement consumer information, one of our

         19     licensees states:     "We may research demographics,

         20     interests and behavior of our customers based on

         21     the information provided to us upon registration."

         22                And finally, a third example that gets

         23     lengthier; and as we've discussed, privacy policies

         24     can be rather long:      "The combination of offline

         25     and online information provided by the customer has


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          1     the ability to enhance the customer experience and

          2     make customers' interaction more meaningful and

          3     relevant.    Company X requires that any consumer

          4     profiling or purchasing behavior captured online

          5     and combined with offline information be clearly

          6     stated to the consumer at the time of the online

          7     data collection.     The consumer will have the

          8     ability to choose not to be part of a subsequent

          9     marketing campaign."

         10              So in this last disclosure, the company is

         11     giving the individual the opportunity to opt-out of

         12     being profiled.

         13              I would like to thank the Commission for

         14     having today's workshop.       I think it's been very

         15     informative as to both the benefits and risks

         16     involved in merging and exchanging information

         17     across businesses.

         18              The important part of each of these, in

         19     thinking about this for both businesses and

         20     consumers, is that the consumer needs to be

         21     informed of the practice if we are going to

         22     continue to increase transparency and trust and

         23     continue to see increase in business on the

         24     Internet.

         25              And as I mentioned at the beginning, TRUSTe


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          1     will be changing our license statement to

          2     explicitly address this particular practice in the

          3     future.

          4               Thank you.

          5               MS. ROSENFELD:    Thank you, Becky.      I have a

          6     few questions, we want to try to stick to the time

          7     frame here, and then we'll open up the floor to

          8     questions from the audience.

          9               John, we know CPExchange is an open and

         10     it's a voluntary standard, and I think that means

         11     that the privacy related features also have to be

         12     voluntarily adopted by the users.

         13               How likely is it that companies are going

         14     to deplore the privacy-related features of the

         15     specification in your view?

         16               MR. KAMP:    I hope they don't deplore them.

         17     It is getting late though.

         18               MS. ROSENFELD:    Did I say deplore?

         19               MR. KAMP:    Deploy.

         20               MS. ROSENFELD:    I'm sorry, the heat is

         21     getting to everyone here.

         22               MR. KAMP:    We don't know.      In fact, we have

         23     reason to believe that they don't deplore them,

         24     that they will deploy them, but because it's a

         25     voluntary standard, as Jason once described it,


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          1     it's a safety that may or may not be used.

          2                We expect though, because remember the

          3     whole point of all of this day has been businesses

          4     are interested in customization because consumers

          5     are demanding it.

          6                As consumers demand more and more privacy

          7     transparency, the privacy transparency will be used

          8     by the successful companies, and they will use that

          9     part of the CPExchange protocol.

         10                MS. ROSENFELD:   Is there any effort

         11     underway to develop a code of best practices for

         12     those users of the specification?

         13                MR. KAMP:   We worked first of all to make

         14     sure it was P3P compatible because we believe

         15     that's really very important, and we have, just in

         16     the last week, sat down again with the P3P people,

         17     CDT, and are exploring alternatives, ways in which

         18     we can continue to ensure that the protocol is as

         19     multifunctional in this regard as possible and will

         20     be looking at those very kind of things going

         21     forward.

         22                MS. ROSENFELD:   I guess on a related note,

         23     in terms of being multifunctional, will the

         24     specification be used to facilitate merger and

         25     exchange of consumer data across media, for


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          1     example, into wireless space?

          2                MR. KAMP:   Again, it's a neutral protocol.

          3     It was designed for internal data sharing within

          4     companies, and as we went forward, we added the

          5     other functionality.

          6                My guess is that all of the things that

          7     will be possible and will be used by companies are

          8     likely to use this protocol because we think that

          9     it's valuable in that regard, and, yes, it could

         10     very well be used for wireless or whatever other

         11     scary things that might happen in privacy going

         12     forward.

         13                But because of the kinds of focus there has

         14     been on privacy by this agency and others going

         15     forward, I'm convinced that the American public are

         16     learning what privacy is all about and learning how

         17     to use, how to make their choices, and that those

         18     kinds of things will automatically develop as the

         19     industry develops.

         20                The important point here is not that the

         21     functionality will be required, but that it's built

         22     into the system so that it can be used and the

         23     commitment by CPExchange to make sure that the

         24     system does have that functionality.

         25                MS. ROSENFELD:   Go ahead, Ari.


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          1              MR. SCHWARTZ:     In terms of functionality of

          2     CPExchange and whether that alone will spur

          3     individual -- spur companies to use it, I do think

          4     that the regular P3P that I was talking about

          5     earlier in terms of Web sites, Web browsers going

          6     to Web sites and seeing whether they have privacy

          7     policies that match consumers' policy, that has a

          8     -- direct impact on the consumer.

          9              There's direct feedback that a consumer

         10     will want to see a privacy policy because it will

         11     show up in their browser.       CPExchange doesn't have

         12     that ability to be right in the consumer's face

         13     like that, so there is that missing step there.

         14              It really does have to be a responsible

         15     company to take that on, and I look forward to

         16     working with the CPExchange people, but we have to

         17     recognize that there is that missing piece with all

         18     of this behind the scenes type transaction.

         19              MS. ROSENFELD:     Larry, can you just

         20     describe the kinds of companies that are members of

         21     the Personalization Consortium and what kinds of

         22     companies you expect will join in the future?

         23              MR. PONEMON:     Good question.      Of our

         24     members today, we have a combination of tool

         25     makers, people who are inventing new technologies,


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          1     both in the wired and the wireless area, and

          2     they're the largest chunk of members.

          3              We also have vendors, companies that are

          4     not actually making the technology but selling that

          5     technology or embedding that technology into other

          6     tools, so for example in the CRM universe we see

          7     companies fall into that space.

          8              Then we have end users, companies that, for

          9     example, like AMR, American Airlines or Charles

         10     Schwab, that are actually the users of this

         11     technology.

         12              If you kind of think about the model, the

         13     model is a little bit weird because it's a

         14     B-to-B-to-C model.      We're adding now a new element,

         15     and so the key is to get to the consumer.

         16              Even if you are in a business mode, and you

         17     personally -- as an organization you do not have

         18     direct access to personal information, there's

         19     still a chain of trust and responsibility, and

         20     that's really what the audit is attempting to

         21     prove.

         22              So you can't say," Well, we passed but

         23     guess what, the audit was simple because we don't

         24     have personal information, we don't collect any

         25     information because we're a tool maker."          You can't


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          1     get away with that.

          2                That's obviously a very slippery slope, but

          3     that's not what the audit is about, so the members

          4     are primarily in those three categories, and we're

          5     really -- to answer your question about what is the

          6     future, if you'll look at all of the users of

          7     personal information, there's a huge body of end

          8     user organizations that would love to learn more

          9     and become a member and to make sure that they're

         10     using the technology that is ethical and that is

         11     being managed at a high level.

         12                Unfortunately to get there, we really have

         13     to have those rigorous standards in place, and it's

         14     ultimately the responsibility of the tool maker to

         15     ensure that the process is a fair one, is a good

         16     one, and so we would encourage end users as well as

         17     tool makers and vendors to participate in this

         18     process.

         19                MS. ROSENFELD:     Thank you.   What about

         20     enforcement with the guidelines?

         21                MR. PONEMON:     You had to ask the

         22     enforcement question, end of the day, we're all

         23     sweating here.     Now I'm really sweating.

         24                Basically if you don't comply with this,

         25     and you know my favorite word, we're going to kill


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          1     our members.    We have a license.         They've agreed

          2     to -- no, we're not going to kill our members, but

          3     what we're going to do is you're going to get

          4     kicked off the membership scroll.

          5              And we're actually in the final stages of

          6     establishing a disclosure standard.           While it has

          7     not been defined as yet, the plan is to have a

          8     status report on our Web site to show where members

          9     are in the auditing process, so obviously if you're

         10     not there, if you mysteriously disappear one day,

         11     you could reach your own natural conclusion.

         12              But understand that enforcement is very,

         13     very important for this to work.           Without

         14     enforcement, it is a wasted effort.           It is

         15     virtually a wasted effort, so self regulation means

         16     that the organizations that have become members

         17     have to work hard to maintain their membership, and

         18     enforcement is going to be very costly for some

         19     organizations that don't make the grade.

         20              MS. ROSENFELD:     Becky, you talked about

         21     TRUSTe intending to revise your licensing

         22     agreements to require disclosures about data merger

         23     and exchange of information, and I'm wondering if

         24     you have a time table for that.

         25              MS. RICHARDS:     We last updated ours I think


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          1     in August, September, and I'm told that the legal

          2     fees have to stay lower so I'm not supposed to give

          3     it to our lawyers for a couple more months, and we

          4     also want to have a certain level of stability in

          5     the program.

          6              And we're actually on the sixth version

          7     right now, we'll be going to the seventh, and there

          8     will be a number of revisions, not just this one

          9     but also to sort of-- what we have done always is

         10     to follow along what the privacy debate is, where

         11     are we going with things and make sure we're a step

         12     ahead.

         13              And so I think that we can anticipate to

         14     see those sometimes in the July/August time frame

         15     as we move forward.

         16              MS. ROSENFELD:     I think now I'm going to

         17     open up to audience questions.        The gentleman back

         18     there, and again please identify yourself and your

         19     organization.

         20              MR. LE MAITRE:     Hi.   I'm Marc Le Maitre.          I

         21     work with Nextel Communications.

         22              Larry, I agree absolutely, entirely with

         23     you that privacy without enforcement doesn't fly.

         24     During the B-to-B world, very few businesses would

         25     do anything without signing a contract, and I'm


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          1     aware that P3P is policy based, no need for a

          2     contract in P3P, how do you get from policy based

          3     to contract based so that you've got some basis on

          4     which to place -- to put some enforcement around?

          5              MR. PONEMON:     You're asking a very good

          6     question, and we've tried to address this over the

          7     course of the last few years, especially with my

          8     involvement with the FTC and the Advisory

          9     Committee.

         10              Quite frankly, one of the problems you have

         11     is a policy, doesn't necessarily suggest truth, so

         12     you have a lot of organizations that are very quick

         13     to post a policy, and P3P by the way is kind of an

         14     offshoot of that.

         15              P3P is good, but unless you have an ability

         16     to say, Okay, you have this policy, how do we know

         17     you're complying, it's kind of an interesting

         18     problem because a lot of organizations aren't

         19     really evil and they're really not trying to dupe

         20     the consumer.     It's not that at all, but they're

         21     not actually digging deep enough into their own

         22     business models or into their own organizations to

         23     determine where they have vulnerability and risk.

         24              And in many cases, in most cases

         25     unfortunately, the legacy of being an auditor,


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          1     right, you basically stumble on some incredible

          2     problems.     Bad news doesn't necessarily get up to

          3     the right people.     That's the job of an auditor is

          4     to communicate it ultimately to the board, and I've

          5     been in many board meetings to say to major

          6     companies," You know what, what you say you do on

          7     privacy, you're just not doing, and it's going to

          8     be very costly to fix it."

          9              So then that's the other issue.         What's the

         10     accountability on the other side to actually now

         11     fix the problem now that you have that information.

         12              Audits are a good thing though.         If there's

         13     self regulation you might be able to move the bar.

         14              MR. LE MAITRE:     I think there's some

         15     direction on it.     The notice and choice aspects of

         16     Fair Information Practices are well understood.            My

         17     own feelings are that it may take some sort of

         18     binding between notice and choice.

         19              This is the notice you gave me, this is the

         20     choice I gave back to you, and some notion that

         21     that forms a bond, a contract, that has some legal

         22     status that we can both rely upon in an audit

         23     situation.

         24              MR. PONEMON:     Can I just make one comment

         25     about that?     If you just look at the current


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          1     implementations around GLBA, Gramm Leach Bliley,

          2     we've seen a lot of organizations having a very

          3     difficult time just operationalizing choice.            We're

          4     starting to see evidence that companies are

          5     failing.

          6                They're getting the reply back, but

          7     companies are having a difficult time making sure

          8     that it sticks in their legacy systems, and they're

          9     spending virtually no resources to fix the problem,

         10     so I think we're going to have a lot of interesting

         11     issues on the horizon in terms of lawsuits,

         12     organizational culpability, but that's a problem.

         13                And so even if you have a contract, even if

         14     it's a legally binding contract, I'm not sure

         15     that's going to change behavior in the short term.

         16                MS. ROSENFELD:   John?

         17                MR. KAMP:   I just wanted to mention, and

         18     not in any way to slight the FTC enforcement

         19     authority or even the authority of auditors, that

         20     perhaps the most important thing that will happen

         21     in the marketing space is happening, and that is

         22     privacy is becoming part of the brand, and as part

         23     of the brand, it's part of that image of the

         24     product and the company that is part of the

         25     relationship that the customer has with the brand,


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          1     and either a company is going -- going forward, I

          2     think either companies are going to respect the

          3     privacy of their consumers and treat them

          4     appropriately or they're not, and that consumers

          5     are going to take it out on them, and that the

          6     value of the brand and the need to ensure that the

          7     brand stands for something in the privacy space as

          8     well as in the basic historical places where it

          9     talks about quality, product quality and

         10     consistency and value proposition, that privacy is

         11     going to stand along that, and the American

         12     consumers are going to make sure that their privacy

         13     is protected in ways that they consider

         14     appropriate.

         15              MS. ROSENFELD:     You in the back.

         16              MR. KAMINSKI:     Hi.   My name is Jim Kaminski

         17     from Arent Fox.     This is a question for Ms.

         18     Richards.    I was wondering if you had a sense -- I

         19     have two questions actually.        My first question is:

         20     Do you have a sense of what the industry practice

         21     is for disclosing the company's enhancement

         22     practices, and also when that new standard is in

         23     place, are you going to require the companies to

         24     provide access on the Web site to the data

         25     collected offline to keep that parallel?


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          1              MS. RICHARDS:     The lovely question access.

          2     This is always difficult to answer.         Let me maybe

          3     revise a little of how I answered Dana's question.

          4              Right now there isn't an explicit

          5     requirement for you to disclose, but if we go

          6     through your privacy practices and we find that

          7     it's very appropriate and you should be disclosing

          8     it, we will force you to disclose that information.

          9              So it's sort of an implicit requirement if

         10     you could have that, and so -- and what we have

         11     been working with our account managers is to make

         12     sure that they know this is an important aspect and

         13     they need to be probing more about the questions,

         14     and so I think on that aspect it's something that

         15     we're -- as the practice becomes more prevalent,

         16     we're seeing more disclosures.

         17              When I asked the question around the office

         18     of if they can give me some different examples, we

         19     came out with some different ones, and it was a

         20     really good learning experience for everybody to

         21     see what is happening.

         22              I would say that there's -- I can't give

         23     you any numbers in terms of how prevalent it is or

         24     how not prevalent it is in terms of how many

         25     companies are doing it at this point.          It's just a


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          1     sense that it's definitely increasing and that it's

          2     something we're addressing as we go along.

          3              I don't have a good answer for your access

          4     question at this point.

          5              MS. ROSENFELD:      There in the middle.

          6              MR. TUROW:      Joe Turow from the University

          7     of Pennsylvania.      I just wanted to know if anyone

          8     has a sense of whether what you guys have been

          9     talking about is going to change when things go in

         10     the not too terribly distant future to a much more

         11     broadband, very dynamic environment where people

         12     will be watching television, doing the Web stuff,

         13     doing this, constantly moving between sites at such

         14     a rapid speed with so many parties involved in a

         15     transaction that the kind of privacy policy issues,

         16     I'm just wanting to know, might be totally

         17     irrelevant, the ones that we've been talking about.

         18              If you have four or five parties that have

         19     an interest in dealing with the data at the same

         20     time who have very different notions of what's

         21     acceptable, is that a scenario that's realistic,

         22     and then what do you do?

         23              MS. ROSENFELD:      Would anyone like to take a

         24     shot at that?     Ari.

         25              MR. SCHWARTZ:      Well, I was just about to


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          1     say that's why XML technology, people are focusing

          2     on XML technology, because it's really the only

          3     realistic way the different parties can come in at

          4     different points, and that's why I focus so much of

          5     my time on P3P because I see it as the only

          6     realistic way to provide notice in that realm.

          7              Now, obviously Larry brought up the point

          8     that P3P has a weakness that it doesn't do

          9     enforcement.    P3P, that's not what P3P was meant to

         10     do.   It's not supposed to do enforcement.         It's

         11     supposed to do notice and do it well, and that's

         12     what we've tried to focus on.

         13              So of course tying in all these access

         14     points is going to make it very difficult for the

         15     consumers to follow, it's difficult enough to

         16     follow on the Web the way they do it today.             In a

         17     pervasive computing environment only XML

         18     technologies will help do that so we need to map

         19     everything to some --

         20              MR. TUROW:     Can you explain how?      I don't

         21     see how it's helping to solve the problem.

         22              MR. SCHWARTZ:     How will XML help to solve

         23     it?

         24              MR. TUROW:     Yes.

         25              MR. SCHWARTZ:     Well, what's going to happen


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          1     is that you'll have -- it's a complex system, and

          2     there's a few different ways that schemas will

          3     work, but basically that everyone will be relating

          4     to the same basic vocabulary or schema, and then

          5     information will be flowing into points back and

          6     forth using this same underlying data, using the

          7     same tags.

          8              So that we don't have the confusion that we

          9     have today where everyone has different databases

         10     labeled in different ways and uses the information

         11     in different ways.      It's a whole new infrastructure

         12     that Tim Berners-Lee from the World Wide Web

         13     Consortium calls the semantic Web.

         14              MS. ROSENFELD:     Jason?

         15              DR. CATLETT:     I have a quick question for

         16     Larry.   Does the Personalization Consortium require

         17     its members to provide access to consumers about

         18     the data they hold, and does it require an

         19     opportunity to delete the information?

         20              MR. PONEMON:     That was probably again one

         21     of the most contentious issues with our principles,

         22     but we ruled.     We prevailed.      Basically access and

         23     accuracy are actual principles, and that means that

         24     you have to provide access, reasonable access which

         25     means that -- I don't like that word reasonable


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          1     because it opens up for interpretation.

          2               We're going to have to be really smart as

          3     auditors in terms of finding what's the line

          4     between reasonable and unreasonable, but more

          5     importantly, if someone finds a problem, you have

          6     to be able to provide that individual the proper

          7     approach for fixing those problems as well as

          8     redress if that is not being handled well.

          9               But also this is opening up a can of worms

         10     in terms of security and authentication issues that

         11     have to be built into the system.           From that point

         12     of view it could be very costly to members, but

         13     that's just what we have to do.

         14               DR. CATLETT:     But it was a requirement that

         15     was accepted by the 67 companies.

         16               MR. PONEMON:     All but one company agreed to

         17     it, and that one company basically has agreed to go

         18     along with it so it was amazing, but it was a

         19     battle.      It wasn't like, Gee, it makes a lot of

         20     sense.    It had to be -- it took weeks and months,

         21     as Win knows, a lot of work to kind of get us to

         22     that point.

         23               MS. ROSENFELD:     Any other questions?        No.

         24     I want to -- was there anybody else?           No?

         25               I want to thank the panelists.         This was an


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          1     excellent panel, and it's not over yet.          I want to,

          2     first of all, commend all of you for staying

          3     throughout the day.      I apologize for our air

          4     control problems, but after this panel can step

          5     down, we have some closing remarks by Joel Winston.

          6              (Applause.)

          7              MR. WINSTON:     I think it's fitting that we

          8     were able to get these curtains and windows open,

          9     because the purpose of this workshop was to shed

         10     some light and bring in some fresh air on a very

         11     important subject, data merger and exchange, and I

         12     hope we were able to accomplish that today.

         13              I did notice that it took a crow bar to get

         14     some of those windows open, and I don't want to

         15     carry the metaphor too far, but actually I think

         16     people were very open and honest with us, and we

         17     really appreciate that.

         18              I want to thank all of our panelists today

         19     and our audience for a very lively and interesting

         20     day.   I also want to express my appreciation to the

         21     FTC staff who really worked tirelessly to put this

         22     workshop on and to do so really in record time.

         23              Specifically I want to thank Martha

         24     Landesberg, Allison Brown, Jessica Rich, and Ellen

         25     Finn from the Financial Practices Division, Lou


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          1     Silversin from the Bureau of Economics, and Dana

          2     Rosenfeld from the Bureau Directors Office, and of

          3     course our intrepid team of support staffers who

          4     really made this possible today.

          5              Let me just close with a few brief remarks.

          6     The Commission's been studying online data

          7     collection for over five years now, and we've

          8     hosted several workshops on a variety of topics

          9     related to collection issues, but I think the

         10     subject matter of this workshop is an especially

         11     timely one.    It seems like every day we hear or

         12     read about new ways in which consumer data are

         13     being collected and combined and put together for

         14     various purposes.

         15              It's been a very educational day for us and

         16     we hope for all of you.       Although some of the

         17     practices we've heard about today are practices

         18     that have been going on for many decades, new

         19     technologies and other recent developments have

         20     increased the speed and amount of data that

         21     businesses exchange both online and offline, so

         22     being able to discuss these practices really helps

         23     us keep up with all of these recent developments.

         24              We learned today, for example, about

         25     various sources of consumer data used for creating


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          1     profiles such as public records, census data,

          2     survey data, warranty cards and consumer

          3     transactions.

          4              In addition, many companies described their

          5     business models and how the merger and exchange of

          6     data benefits both the businesses and consumers.

          7     For example, by purchasing third-party data,

          8     companies are able to target their advertising more

          9     effectively and efficiently and to personalize Web

         10     content, so that consumers may get more advertising

         11     that they want to see and fewer advertising offers

         12     that they don't want to see.

         13              Several panelists raised questions about

         14     the transparency of these practices to consumers,

         15     in particular, whether consumers know about the

         16     existence of data compilers and the practice of

         17     enhancing consumer information with data from

         18     third-party sources.      Do consumers know how and why

         19     this data is exchanged between companies?

         20              Well, I would harken back to what

         21     Commissioner Swindle said this morning and many of

         22     the panelists raised throughout the day, this

         23     notion of the trust gap and the information gap,

         24     the misunderstanding gap.

         25              From what I heard today it seems like the


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          1     key problem here is that there's a gap between what

          2     businesses are actually doing in their collection,

          3     merger and exchange of data versus what consumers

          4     think they're doing.

          5              I haven't seen any specific survey

          6     evidence, and I would certainly welcome it, but I'm

          7     willing to bet that most people either dramatically

          8     underestimate or dramatically overestimate the

          9     scope and detail of information that businesses are

         10     compiling about them.

         11              On the one hand, I suspect that there are

         12     lots of consumers who really have no idea that

         13     hospitals and government offices and bankruptcy

         14     trustees and lots of other people are selling or

         15     providing personal information to businesses, all

         16     of which may be combined and enhanced in various

         17     ways to form consumer profiles.

         18              On the other hand, I imagine there are lots

         19     of consumers who think that their every action is

         20     being traced, recorded, combined and deposited into

         21     some mega database for anyone to use and see.           What

         22     I heard today is that the information that's

         23     actually being compiled and combined out there is

         24     not nearly that comprehensive or nearly that

         25     granular.


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          1               To me this raises a real challenge.           Alan

          2     Westin did a survey several months ago on consumer

          3     attitudes toward privacy.       He found that there are

          4     a fair number of people who simply don't want their

          5     information shared or used by anyone for any

          6     reason.

          7               On the other side of the equation, he found

          8     that there were some people who really didn't care

          9     about their information.       They were happy to allow

         10     it to be used for any purpose whatsoever.          But,

         11     what he also found is that there are about

         12     two-thirds of the survey participants who fit into

         13     the category of what he called privacy pragmatists;

         14     that is, people who are willing to share their

         15     information under certain circumstances for certain

         16     reasons and if they're promised certain benefits.

         17               Now, the task for business is to convince

         18     these pragmatists that in particular situations,

         19     it's to their benefit for the businesses to combine

         20     and use the information that they're putting

         21     together about them.

         22               My hope is that through workshops like

         23     this, we can help bridge the information and trust

         24     gaps and enhance public and business awareness of

         25     what is and what is not going on out there.


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          1              I'm not going to get into the debate about

          2     the value of privacy policies, but I think we can

          3     all agree that shedding more light and fresh air on

          4     this subject has to be a good thing.

          5              Again, I just want to thank all the

          6     panelists for contributing to this workshop and to

          7     remind you that we do have a record that will

          8     remain open for 30 days, and I encourage you to

          9     file comments.

         10              Thank you very much for coming.

         11              (Timed noted:      4:51 p.m.)

         12                       -     -     -     -      -

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          2

          3     CASE TITLE:     MERGING AND EXCHANGING CONSUMER DATA

          4     WORKSHOP

          5     MATTER NO.:     P014803

          6     HEARING DATE:     MARCH 13, 2001

          7

          8                We HEREBY CERTIFY that the transcript

          9     contained herein is a full and accurate transcript

         10     of the notes taken by us at the hearing on the

         11     above cause before the FEDERAL TRADE COMMISSION to

         12     the best of our knowledge and belief.

         13

         14                                   DATED: MARCH 26, 2001

         15

         16                                   SALLY J. BOWLING

         17

         18                                   DEBRA L. MAHEUX

         19

         20     C E R T I F I C A T I O N       O F    P R O O F R E A D E

         21                I HEREBY CERTIFY that I proofread the

         22     transcript for accuracy in spelling, hyphenation,

         23     punctuation and format.

         24

         25                                   DIANE QUADE


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